                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 1 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                            Joint Trial Exhibit List
                                                                                                       October 17, 2017
Trial Ex.                                                                                                                                                                 Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                   Depo. Exhibit(s)                                                 Limitations on Use
  No.                                                                                                                                                                         Evidence            Evidence
                                                                                                                                              Triana (4-18-17) Ex. 3;
                                                                                                                                              Martorana Ex. 3;
   1           UBHWIT0014654          UBHWIT0014731   3/28/2011   2011 Level of Care Guidelines, start 03/28/2011, end 03/26/2012             Niewenhous Ex. 1;
                                                                                                                                              Fishman Ex. 5; Plakun
                                                                                                                                              Ex. 7
                                                                                                                                              Martorana Ex. 4;
                                                                                                                                              Niewenhous Ex. 2;
                                                                                                                                              Triana (4-18-17) Ex. 4;
                                                                                                                                              Fishman Ex. 6
   2           UBHWIT0000001          UBHWIT0000081   3/26/2012   2012 Level of Care Guidelines, start 03/26/2012, end 03/19/2013             (UBHWIT0246105-85);
                                                                                                                                              Plakun Ex. 8
                                                                                                                                              (UBHWIT0343463-
                                                                                                                                              543); Simpatico Ex. 6
                                                                                                                                              (excerpt - no bates)
                                                                                                                                              Allchin (1-18-16) Ex. 2;
                                                                                                                                              Niewenhous Ex. 3;
                                                                                                                                              Pfeifer Ex. 9; Plakun Ex.
                                                                                                                                              9; Triana (4-18-17) Ex.
                                                                                                                                              5; Martorana Ex. 5
   3           UBHWIT0000082          UBHWIT0000169   3/19/2013   2013 Level of Care Guidelines, start 03/19/2013, end 01/21/2014             (missing 2 pgs); Fishman
                                                                                                                                              Ex. 7 (UBHWIT0246186-
                                                                                                                                              273); Matusko Ex. 11
                                                                                                                                              (shown excerpt at
                                                                                                                                              UBHWIT0000113-16)

                                                                                                                                              Plakun Ex. 10;
                                                                                                                                              Martorana Ex. 6;
                                                                                                                                              Fishman Ex. 8
                                                                                                                                              (UBHWIT0246274-
   4           UBHWIT0000170          UBHWIT0000267   1/21/2014   2014 Level of Care Guidelines, start 01/21/2014, end 01/20/2015             371); Niewenhous Ex. 4
                                                                                                                                              and Regan Ex. 8 and
                                                                                                                                              Triana (4-18-17) Ex. 6
                                                                                                                                              (UBHWIT0117807-911)

                                                                                                                                              Fishman Ex. 9 and
                                                                                                                                              Martorana Ex. 7 and
                                                                                                                                              Plakun Ex. 11
                                                                                                                                              (UBHWIT0253006-
                                                                                                                                              119); Niewenhous Ex. 5
   5           UBHWIT0354266          UBHWIT0354398   1/20/2015   2015 Level of Care Guidelines , start 01/20/2015, end 01/19/2016            and Regan Ex. 9 and
                                                                                                                                              Triana (4-18-17) Ex. 7
                                                                                                                                              (UBHWIT0351404-
                                                                                                                                              536); Triana (1-28-16)
                                                                                                                                              Ex. 12 and Urban Ex. 1
                                                                                                                                              (no bates)
                                                                                                                                              Niewenhous Ex. 6 and
                                                                                                                                              Rockswold Ex. 7 and
                                                                                                                                              Triana (4-18-17) Ex. 8
                                                                                                                                              (all w/bates
   6           UBHWIT0353748          UBHWIT0353891   1/19/2016   2016 Level of Care Guidelines (January), start 01/19/2016, end 06/20/2016   UBHWIT0489863-
                                                                                                                                              490008); Wetherbee Ex.
                                                                                                                                              3 (w/bates
                                                                                                                                              UBHWIT0353146-291)

                                                                                                                                              Fishman Ex. 10; Plakun
                                                                                                                                              Ex. 12; Alam Ex. 8 and
                                                                                                                                              Allchin (4-26-17) Ex. 2
                                                                                                                                              and Martorana Ex. 8
   7           UBHWIT0656347          UBHWIT0656491   6/20/2016   2016 Level of Care Guidelines (June), start 06/20/2016, end 03/12/2017      (UBHWIT0353447-
                                                                                                                                              591); Chenven Ex. 3
                                                                                                                                              (intro & common criteria
                                                                                                                                              only at 353447-461);
                                                                                                                                              Simpatico Ex. 1 (excerpts
                                                                                                                                              - no bates)




                                                                                                                  1 of 40
                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 2 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                        Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                          Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                                Evidence            Evidence
                                                                                                                                                      January 2017:
                                                                                                                                                      Fishman Ex. 11;
                                                                                                                                                      Martorana Ex. 9; Plakun
                                                                                                                                                      Ex. 13; Rockswold Ex. 9;
                                                                                                                                                      Rockswold Ex. 11;
               UBHWIT0606928          UBHWIT0606931                                                                                                   Rockswold Ex. 13 (all
               UBHWIT0622889          UBHWIT0622892               2017 Level of Care Guidelines, start 03/12/2017, end Present, attached as Exhibit   are different excerpts)
   8                                                  3/12/2017
               UBHWIT0606932          UBHWIT0606963               B to Stipulations of Fact filed on June 9, 2017 (Wit ECF No. 257).                  March 2017:
               UBHWIT0622943          UBHWIT0622957                                                                                                   Triana (4-18-17) Ex. 9 -
                                                                                                                                                      appears to be complete
                                                                                                                                                      copy; excerpts at
                                                                                                                                                      Niewenhous Exs. 8-11
                                                                                                                                                      and Rockswold Exs. 10,
                                                                                                                                                      12, 14
                                                                  CDG for Outpatient Treatment of Obsessive Compulsive Disorder, start
   9           UBHWIT0009571          UBHWIT0009580   6/1/2010
                                                                  06/01/2010, end 02/01/2012
                                                                                                                                                      Included in Fishman Ex.
   10          UBHWIT0009652          UBHWIT0009659   8/1/2010    CDG for Custodial Care and Inpatient Services, start 08/01/2010, end 12/01/2011
                                                                                                                                                      13 (no bates)
                                                                  CDG for Residential Rehabilitation for Substance Use Disorders, start 08/01/2010,
   11          UBHWIT0011205          UBHWIT0011220   8/1/2010
                                                                  end 12/01/2011
                                                                  CDG for Residential Treatment Center for Major Depressive Disorder, start
   12          UBHWIT0010945          UBHWIT0010957   9/1/2010
                                                                  09/01/2010, end 04/17/2012
                                                                  CDG for Intensive Outpatient Program for Major Depressive Disorder, start
   13          UBHWIT0011023          UBHWIT0011035   10/1/2010
                                                                  10/01/2010, end 04/03/2012
                                                                  CDG for Outpatient Treatment for Major Depressive Disorder (MDD), start
   14          UBHWIT0009601          UBHWIT0009615   10/1/2010
                                                                  10/01/2010, end 04/03/2012
   15          UBHWIT0010940          UBHWIT0010944   10/1/2010   CDG for Conduct Disorder, start 10/01/2010, end 04/17/2012
   16          UBHWIT0011187          UBHWIT0011191   10/1/2010   CDG for Personality Disorders, start 10/01/2010, end 04/17/2012
   17          UBHWIT0010966          UBHWIT0010974   11/1/2010   CDG for Extended Outpatient Treatment Visits, start 11/01/2010, end 05/01/2012
   18          UBHWIT0011036          UBHWIT0011040   11/1/2010   CDG for Learning Disorders, start 11/01/2010, end 05/01/2012
                                                                  CDG for Outpatient Treatment of Anorexia Nervosa, start 11/01/2010, end
   19          UBHWIT0011057          UBHWIT0011069   11/1/2010
                                                                  11/01/2012
                                                                  CDG for Intensive Outpatient Program for Anorexia Nervosa, start 11/01/2010,
   20          UBHWIT0010984          UBHWIT0010999   11/1/2010
                                                                  end 12/01/2012
                                                                  CDG for Residential Treatment Center for Anorexia Nervosa, start 11/01/2010,
   21          UBHWIT0010909          UBHWIT0010924   11/1/2010
                                                                  end 12/01/2012
                                                                  CDG for Outpatient Treatment of Attention-Deficit/Hyperactivity Disorder, start
   22          UBHWIT0011041          UBHWIT0011056   11/1/2010
                                                                  11/01/2010, end 07/01/2011
   23          UBHWIT0011240          UBHWIT0011244   12/1/2010   CDG for Motor Skills Disorder, start 12/01/2010, end 05/01/2012
                                                                  CDG for Residential Treatment of Bipolar Disorder, start 01/01/2011, end
   24          UBHWIT0011631          UBHWIT0011652   1/1/2011
                                                                  06/01/2012
                                                                  CDG for Intensive Outpatient Treatment of Bipolar Disorder, start 01/01/2011,
   25          UBHWIT0011653          UBHWIT0011673   1/1/2011
                                                                  end 08/01/2012
                                                                  CDG for Intensive Outpatient Treatment of Posttraumatic Stress Disorder, start
   26          UBHWIT0011434          UBHWIT0011451   1/1/2011
                                                                  01/01/2011, end 08/01/2012
                                                                  CDG for Outpatient Treatment of Generalized Anxiety Disorder, start 01/01/2011,
   27          UBHWIT0011722          UBHWIT0011733   1/1/2011
                                                                  end 08/01/2012
                                                                  CDG for Outpatient Treatment of Posttraumatic Stress Disorder, start 01/01/2011,
   28          UBHWIT0011380          UBHWIT0011395   1/1/2011
                                                                  end 08/01/2012
                                                                  CDG for Residential Treatment of Posttraumatic Stress Disorder, start 01/01/2011,
   29          UBHWIT0011416          UBHWIT0011433   1/1/2011
                                                                  end 08/01/2012
                                                                  CDG for Outpatient Treatment of Bipolar Disorder, start 01/01/2011, end
   30          UBHWIT0001234          UBHWIT0001252   1/1/2011
                                                                  08/01/2012
                                                                  CDG for Intensive Outpatient Treatment for Bulimia Nervosa, start 02/01/2011,
   31          UBHWIT0011818          UBHWIT0011833   2/1/2011
                                                                  end 01/01/2013
                                                                  CDG for Residential Treatment of Bulimia Nervosa, start 02/01/2011, end
   32          UBHWIT0011869          UBHWIT0011885   2/1/2011
                                                                  03/01/2013
                                                                  CDG for Intensive Outpatient Treatment for Schizophrenia, start 03/01/2011, end
   33          UBHWIT0011851          UBHWIT0011868   3/1/2011
                                                                  11/01/2012
                                                                  CDG for Outpatient Treatment for Schizophrenia, start 03/01/2011, end
   34          UBHWIT0011675          UBHWIT0011691   3/1/2011
                                                                  11/01/2012
                                                                  CDG for Residential Treatment for Schizophrenia, start 03/01/2011, end
   35          UBHWIT0011576          UBHWIT0011594   3/1/2011
                                                                  11/01/2012
                                                                  CDG for Outpatient Treatment of Bulimia Nervosa, start 03/01/2011, end
   36          UBHWIT0011964          UBHWIT0011977   3/1/2011
                                                                  03/01/2013




                                                                                                                   2 of 40
                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 3 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                            Joint Trial Exhibit List
                                                                                                       October 17, 2017
Trial Ex.                                                                                                                                                                     Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                       Depo. Exhibit(s)                                                 Limitations on Use
  No.                                                                                                                                                                             Evidence            Evidence
                                                                  CDG for Outpatient Treatment of Dysthymic Disorder, start 03/29/2011, end
   37          UBHWIT0011708          UBHWIT0011721   3/29/2011
                                                                  11/01/2012
                                                                  CDG for Not Otherwise Specified (NOS) Conditions, start 04/01/2011, end
   38          UBHWIT0012011          UBHWIT0012018   4/1/2011
                                                                  09/01/2012
                                                                  CDG for Outpatient Treatment of Panic Disorder, start 04/01/2011, end
   39          UBHWIT0011950          UBHWIT0011963   4/1/2011
                                                                  10/01/2012
                                                                  CDG for Outpatient Treatment of Adjustment Disorders, start 04/01/2011, end
   40          UBHWIT0011997          UBHWIT0012010   4/1/2011
                                                                  11/01/2012
                                                                  CDG for Outpatient Treatment of Oppositional Defiant Disorder (ODD), start
   41          UBHWIT0011734          UBHWIT0011748   4/1/2011
                                                                  04/01/2011, end 11/01/2012
                                                                  CDG for Intensive Outpatient Treatment of Oppositional Defiant Disorder (ODD),
   42          UBHWIT0011913          UBHWIT0011928   5/1/2011
                                                                  start 05/01/2011, end 11/01/2012
   43          UBHWIT0011784          UBHWIT0011790   5/1/2011    CDG for Mental Retardation, start 05/01/2011, end 11/01/2012
                                                                  CDG for Residential Treatment of Oppositional Defiant Disorder (ODD), start       Allchin (1-18-16) Ex. 7
   44          UBHWIT0000421          UBHWIT0000436   5/1/2011
                                                                  05/01/2011, end 11/01/2012
                                                                  CDG for Outpatient Treatment of Attention-Deficit/Hyperactivity Disorder, start
   45          UBHWIT0000386          UBHWIT0000403   7/1/2011
                                                                  07/01/2011, end 06/01/2013
                                                                  CDG for Autism Spectrum Disorders & Intensive Behavior Therapy, start
   46          UBHWIT0000273          UBHWIT0000291   9/1/2011
                                                                  09/01/2011, end 08/01/2013
                                                                                                                                                    Included in Fishman Ex.
   47          UBHWIT0001135          UBHWIT0001144   12/1/2011   CDG for Custodial Care and Inpatient Services, start 12/01/2011, end 01/01/2013
                                                                                                                                                    13 (no bates)
                                                                  CDG for Residential Rehabilitation for Substance Use Disorders, start 12/01/2011,
   48          UBHWIT0001118          UBHWIT0001134   12/1/2011
                                                                  end 03/05/2013
                                                                  CDG for Intensive Outpatient Program for Substance Use Disorders, start
   49          UBHWIT0000292          UBHWIT0000308   1/1/2012
                                                                  01/01/2012, end 10/01/2012
                                                                  CDG for Outpatient Treatment of Substance Use Disorders, start 02/01/2012, end
   50          UBHWIT0000496          UBHWIT0000513   2/1/2012
                                                                  03/05/2013
                                                                  CDG for Outpatient Treatment of Obsessive Compulsive Disorder, start
   51          UBHWIT0000454          UBHWIT0000472   2/1/2012
                                                                  02/01/2012, end 06/01/2013
                                                                  CDG for Intensive Outpatient Program for Major Depressive Disorder (MDD),
   52          UBHWIT0000437          UBHWIT0000453   4/3/2012
                                                                  start 04/03/2012, end 07/01/2013
                                                                  CDG for Outpatient Treatment of Major Depressive Disorder (MDD), start
   53          UBHWIT0000608          UBHWIT0000624   4/3/2012
                                                                  04/03/2012, end 07/01/2013
                                                                                                                                                    Urban Ex. 12
                                                                  CDG for Residential Treatment Center for Major Depressive Disorder (MDD),
   54          UBHWIT0001091          UBHWIT0001109   4/17/2012                                                                                     (UBHWIT0083151-168)
                                                                  start 04/17/2012, end 07/01/2013
   55          UBHWIT0001110          UBHWIT0001117   4/17/2012   CDG for Conduct Disorder, start 04/17/2012, end 08/01/2013
   56          UBHWIT0000943          UBHWIT0000949   4/17/2012   CDG for Personality Disorders, start 04/17/2012, end 08/01/2013
   57          UBHWIT0000850          UBHWIT0000858    5/1/2012   CDG for Extended Outpatient Sessions, start 05/01/2012, end 04/01/2013
   58          UBHWIT0001145          UBHWIT0001153    5/1/2012   CDG for Learning Disorders, start 05/01/2012, end 09/01/2013
   59          UBHWIT0000926          UBHWIT0000930    5/1/2012   CDG for Motor Skills Disorder, start 05/01/2012, end 09/01/2013
                                                                  CDG for Residential Treatment of Bipolar Disorder, start 06/01/2012, end
   60          UBHWIT0001050          UBHWIT0001070   6/1/2012
                                                                  11/01/2013
                                                                  CDG for Outpatient Treatment of Generalized Anxiety Disorder, start 08/01/2012,
   61          UBHWIT0000832          UBHWIT0000844   8/1/2012
                                                                  end 09/01/2013
                                                                  CDG for Intensive Outpatient Treatment of Posttraumatic Stress Disorder, start
   62          UBHWIT0000695          UBHWIT0000713   8/1/2012
                                                                  08/01/2012, end 10/01/2013
                                                                  CDG for Outpatient Treatment of Posttraumatic Stress Disorder, start 08/01/2012,
   63          UBHWIT0000867          UBHWIT0000884   8/1/2012
                                                                  end 10/01/2013
                                                                  CDG for Residential Treatment of Posttraumatic Stress Disorder, start 08/01/2012,
   64          UBHWIT0000811          UBHWIT0000831   8/1/2012
                                                                  end 10/01/2013
                                                                  CDG for Intensive Outpatient Treatment of Bipolar Disorder, start 08/01/2012,
   65          UBHWIT0000747          UBHWIT0000765   8/1/2012
                                                                  end 11/01/2013
                                                                  CDG for Outpatient Treatment of Bipolar Disorder, start 08/01/2012, end
   66          UBHWIT0001193          UBHWIT0001213   8/1/2012
                                                                  11/01/2013
                                                                  CDG for Not Otherwise Specified (NOS) Conditions, start 09/01/2012, end
   67          UBHWIT0000651          UBHWIT0000657   9/1/2012
                                                                  10/01/2013
                                                                  CDG for Intensive Outpatient Program for Substance Use Disorders, start
   68          UBHWIT0001175          UBHWIT0001192   10/1/2012
                                                                  10/01/2012, end 03/05/2013
                                                                  CDG for Intensive Outpatient Treatment of Panic Disorder, start 10/01/2012, end
   69          UBHWIT0000785          UBHWIT0000797   10/1/2012
                                                                  03/01/2014
                                                                  CDG for Outpatient Treatment of Panic Disorder, start 10/01/2012, end
   70          UBHWIT0000931          UBHWIT0000942   10/1/2012
                                                                  03/01/2014
                                                                  CDG for Intensive Outpatient Treatment of Oppositional Defiant Disorder (ODD),
   71          UBHWIT0000514          UBHWIT0000528   11/1/2012
                                                                  start 11/01/2012, end 02/01/2014




                                                                                                                  3 of 40
                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 4 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                       October 17, 2017
Trial Ex.                                                                                                                                                                     Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                        Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                             Evidence            Evidence
                                                                  CDG for Outpatient Treatment of Oppositional Defiant Disorder (ODD), start
   72          UBHWIT0000547          UBHWIT0000559   11/1/2012
                                                                  11/01/2012, end 02/01/2014
                                                                  CDG for Residential Treatment of Oppositional Defiant Disorder (ODD), start
   73          UBHWIT0095826          UBHWIT0095840   11/1/2012
                                                                  11/01/2012, end 02/01/2014
                                                                  CDG for Outpatient Treatment of Anorexia Nervosa, start 11/01/2012, end
   74          UBHWIT0000479          UBHWIT0000495   11/1/2012
                                                                  04/01/2014
                                                                  CDG for Outpatient Treatment of Dysthymic Disorder, start 11/01/2012, end
   75          UBHWIT0000732          UBHWIT0000746   11/1/2012
                                                                  07/01/2013
                                                                  CDG for Outpatient Treatment of Adjustment Disorders, start 11/01/2012, end
   76          UBHWIT0000798          UBHWIT0000810   11/1/2012
                                                                  10/01/2013
                                                                  CDG for Intensive Outpatient Treatment of Schizophrenia and Schizoaffective
   77          UBHWIT0001031          UBHWIT0001049   11/1/2012
                                                                  Disorder, start 11/01/2012, end 11/01/2013
                                                                  CDG for Outpatient Treatment of Schizophrenia and Schizoaffective Disorder,
   78          UBHWIT0000633          UBHWIT0000650   11/1/2012
                                                                  start 11/01/2012, end 11/01/2013
                                                                  CDG for Residential Treatment of Schizophrenia and Schizoaffective Disorder,
   79          UBHWIT0001071          UBHWIT0001090   11/1/2012
                                                                  start 11/01/2012, end 11/01/2013
   80          UBHWIT0000845          UBHWIT0000849   11/1/2012   CDG for Impulse Control Disorders, start 11/01/2012, end 09/01/2013
   81          UBHWIT0000580          UBHWIT0000586   11/1/2012   CDG for Mental Retardation, start 11/01/2012, end 10/01/2013
                                                                  CDG for Intensive Outpatient Treatment of Anorexia Nervosa, start 12/01/2012,
   82          UBHWIT0000529          UBHWIT0000546   12/1/2012
                                                                  end 04/01/2014
                                                                  CDG for Residential Treatment of Anorexia Nervosa, start 12/01/2012, end
   83          UBHWIT0000766          UBHWIT0000784   12/1/2012
                                                                  04/01/2014
                                                                  CDG for Custodial Care and Inpatient & Residential Services, start 01/01/2013,   Included in Fishman Ex.
   84          UBHWIT0001431          UBHWIT0001438   1/1/2013
                                                                  end 02/01/2014                                                                   13 (no bates)
                                                                  CDG for Intensive Outpatient Treatment of Bulimia Nervosa, start 01/01/2013,
   85          UBHWIT0013397          UBHWIT0013414   1/1/2013
                                                                  end 04/01/2014
                                                                  CDG for Outpatient Treatment of Bulimia Nervosa, start 03/01/2013, end
   86          UBHWIT0013376          UBHWIT0013391   3/1/2013
                                                                  04/01/2014
                                                                  CDG for Residential Treatment of Bulimia Nervosa, start 03/01/2013, end
   87          UBHWIT0013348          UBHWIT0013365   3/1/2013
                                                                  04/01/2014
                                                                                                                                                   Included in Fishman Ex.
   88          UBHWIT0001405          UBHWIT0001430   3/5/2013    CDG for Treatment of Substance Use Disorders, start 03/05/2013, end 03/01/2014
                                                                                                                                                   14
   89          UBHWIT0001459          UBHWIT0001467   4/1/2013    CDG for Extended Outpatient Sessions, start 04/01/2013, end 02/01/2014
                                                                  CDG for Treatment of Obsessive Compulsive Disorder (OCD), start 06/01/2013,
   90          UBHWIT0001544          UBHWIT0001565   6/1/2013
                                                                  end 06/01/2014
                                                                  CDG for Treatment of Attention-Deficit/Hyperactivity Disorder (ADHD), start
   91          UBHWIT0001300          UBHWIT0001321   6/1/2013
                                                                  06/01/2013, end 06/01/2014
                                                                  CDG for Treatment of Major Depressive Disorder (MDD) and Dysthymic
   92          UBHWIT0013315          UBHWIT0013338   7/1/2013
                                                                  Disorder, start 07/01/2013, end 04/01/2014
                                                                  CDG for Autism Spectrum Disorder & Intensive Behavior Therapy, start
   93          UBHWIT0001343          UBHWIT0001370   8/1/2013
                                                                  08/01/2013, end 10/01/2014
   94          UBHWIT0001396          UBHWIT0001404   8/1/2013    CDG for Conduct Disorder, start 08/01/2013, end 10/01/2014
   95          UBHWIT0001566          UBHWIT0001574   8/1/2013    CDG for Personality Disorders, start 08/01/2013, end 10/01/2014
                                                                  CDG for Treatment of Dissociative Identity Disorder, start 09/01/2013, end
   96          UBHWIT0001439          UBHWIT0001458   9/1/2013
                                                                  05/01/2014
   97          UBHWIT0001531          UBHWIT0001535   9/1/2013    CDG for Motor Skills Disorder, start 09/01/2013, end 09/01/2014
   98          UBHWIT0001515          UBHWIT0001523   9/1/2013    CDG for Learning Disorders, start 09/01/2013, end 10/01/2014
                                                                  CDG for Treatment of Generalized Anxiety Disorder, start 09/01/2013, end
   99          UBHWIT0001468          UBHWIT0001489   9/1/2013
                                                                  10/01/2014
  100          UBHWIT0001510          UBHWIT0001514   9/1/2013    CDG for Impulse Control Disorders, start 09/01/2013, end 10/01/2014
                                                                  CDG for Treatment of Posttraumatic Stress Disorder (PTSD), start 10/01/2013,
  101          UBHWIT0001588          UBHWIT0001612   10/1/2013
                                                                  end 10/01/2015
  102          UBHWIT0001524          UBHWIT0001530   10/1/2013   CDG for Mental Retardation, start 10/01/2013, end 10/01/2014
                                                                  CDG for Not Otherwise Specified (NOS) Conditions, start 10/01/2013, end
  103          UBHWIT0001536          UBHWIT0001543   10/1/2013
                                                                  10/01/2014
  104          UBHWIT0001322          UBHWIT0001342   10/1/2013   CDG for Treatment of Adjustment Disorder, start 10/01/2013, end 10/01/2014
  105          UBHWIT0001371          UBHWIT0001395   11/1/2013   CDG for Treatment of Bipolar Disorder, start 11/01/2013, end 10/01/2014
                                                                  CDG for Treatment of Reactive Attachment Disorder (RAD), start 11/01/2013,
  106          UBHWIT0001613          UBHWIT0001634   11/1/2013
                                                                  end 10/01/2014
                                                                  CDG for Treatment of Schizophrenia & Schizoaffective Disorder, start
  107          UBHWIT0001253          UBHWIT0001277   11/1/2013
                                                                  11/01/2013, end 10/01/2014
                                                                                                                                                   Included in Fishman Ex.
                                                                  CDG for Custodial Care and Inpatient & Residential Services, start 02/01/2014,
  108          UBHWIT0001740          UBHWIT0001747   2/1/2014                                                                                     13 (no bates); Martorana
                                                                  end 03/01/2015
                                                                                                                                                   Ex. 11
  109          UBHWIT0001756          UBHWIT0001763   2/1/2014    CDG for Extended Outpatient Sessions, start 02/01/2014, end 03/01/2015




                                                                                                                   4 of 40
                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 5 of 40


                                                                         Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                      Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                            Joint Trial Exhibit List
                                                                                                       October 17, 2017
Trial Ex.                                                                                                                                                                       Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                       Description                                         Depo. Exhibit(s)                                                  Limitations on Use
  No.                                                                                                                                                                               Evidence            Evidence
  110          UBHWIT0001830          UBHWIT0001850   2/1/2014    CDG for Treatment of Specific Phobias, start 02/01/2014, end 10/01/2014
                                                                  CDG for Treatment of Oppositional Defiant Disorder (ODD), start 02/01/2014,
  111          UBHWIT0001788          UBHWIT0001808   2/1/2014
                                                                  end 10/01/2014
                                                                                                                                                   Included in Fishman Ex.
  112          UBHWIT0001709          UBHWIT0001739   3/1/2014    CDG for Treatment of Substance Use Disorders, start 03/01/2014, end 10/01/2014
                                                                                                                                                   14 (no bates)
  113          UBHWIT0001809          UBHWIT0001829   3/1/2014    CDG for Treatment of Panic Disorder, start 03/01/2014, end 10/01/2014
  114          UBHWIT0001681          UBHWIT0001708   4/1/2014    CDG for Treatment of Bulimia Nervosa, start 04/01/2014, end 08/01/2014
  115          UBHWIT0001653          UBHWIT0001680   4/1/2014    CDG for Treatment of Anorexia Nervosa, start 04/01/2014, end 10/01/2014
                                                                  CDG for Treatment of Major Depressive Disorder and Dysthymic Disorder, start     Urban Ex. 14
  116          UBHWIT0001764          UBHWIT0001787   4/1/2014
                                                                  04/01/2014, end 10/01/2014                                                       (UBHWIT0090423-47)
                                                                  CDG for Treatment of Dissociative Identity Disorder, start 05/01/2014, end
  117          UBHWIT0014427          UBHWIT0014448   5/1/2014
                                                                  10/01/2014
                                                                  CDG for Treatment of Attention-Deficit/Hyperactivity Disorder (ADHD), start
  118          UBHWIT0014403          UBHWIT0014426   6/1/2014
                                                                  06/01/2014, end 10/01/2014
                                                                  CDG for Treatment of Obsessive Compulsive Disorder (OCD), start 06/01/2014,
  119          UBHWIT0014449          UBHWIT0014471   6/1/2014
                                                                  end 10/01/2014
  120          UBHWIT0013603          UBHWIT0013630   8/1/2014    CDG for Treatment of Bulimia Nervosa, start 08/01/2014, end 10/01/2015
  121          UBHWIT0014084          UBHWIT0014091   9/1/2014    CDG for Motor Disorders, start 09/01/2014, end 05/01/2015
                                                                                                                                                   Included in Fishman Ex.
                                                                  CDG for Treatment of Substance-Related & Addictive Disorders, start
  122          UBHWIT0013990          UBHWIT0014020   10/1/2014                                                                                    14 (no bates); Tillitt Ex.
                                                                  10/01/2014, end 06/01/2015
                                                                                                                                                   14 (with plfs' bates nos.)
                                                                  CDG for Autism Spectrum Disorder & Intensive Behavior Therapy, start
  123          UBHWIT0013742          UBHWIT0013768   10/1/2014
                                                                  10/01/2014, end 02/01/2015
  124          UBHWIT0013545          UBHWIT0013565   10/1/2014   CDG for Treatment of Adjustment Disorder, start 10/01/2014, end 07/01/2015
                                                                  CDG for Treatment of Oppositional Defiant Disorder (ODD), start 10/01/2014,
  125          UBHWIT0014092          UBHWIT0014111   10/1/2014
                                                                  end 07/01/2015
  126          UBHWIT0013566          UBHWIT0013594   10/1/2014   CDG for Treatment of Anorexia Nervosa, start 10/01/2014, end 10/01/2015
                                                                  CDG for Treatment of Bipolar and Related Disorders, start 10/01/2014, end
  127          UBHWIT0013808          UBHWIT0013833   10/1/2014
                                                                  10/01/2015
                                                                  CDG for Treatment of Depressive Disorders: Major Depressive Disorder,
  128          UBHWIT0013871          UBHWIT0013896   10/1/2014   Persistent Depressive Disorder & Premenstrual Dysphoric Disorder (PMDD), start
                                                                  10/01/2014, end 10/01/2015
                                                                  CDG for Treatment of Dissociative Identity Disorder, start 10/01/2014, end
  129          UBHWIT0013639          UBHWIT0013659   10/1/2014
                                                                  10/01/2015
                                                                  CDG for Treatment of Generalized Anxiety Disorder, start 10/01/2014, end
  130          UBHWIT0013966          UBHWIT0013989   10/1/2014
                                                                  10/01/2015
                                                                  CDG for Treatment of Major and Mild Neurocognitive Disorders (Dementia), start
  131          UBHWIT0014058          UBHWIT0014083   10/1/2014
                                                                  10/01/2014, end 10/01/2015
                                                                  CDG for Treatment of Obsessive-Compulsive and Related Disorders, start
  132          UBHWIT0013783          UBHWIT0013807   10/1/2014
                                                                  10/01/2014, end 10/01/2015
  133          UBHWIT0013851          UBHWIT0013870   10/1/2014   CDG for Treatment of Panic Disorder, start 10/01/2014, end 10/01/2015
                                                                  CDG for Treatment of Schizophrenia & Schizoaffective Disorder, start
  134          UBHWIT0013923          UBHWIT0013948   10/1/2014
                                                                  10/01/2014, end 10/01/2015
  135          UBHWIT0014158          UBHWIT0014178   10/1/2014   CDG for Treatment of Specific Phobias, start 10/01/2014, end 10/01/2015
                                                                  CDG for Treatment of Reactive Attachment Disorder (RAD), start 10/01/2014,
  136          UBHWIT0014129          UBHWIT0014149   10/1/2014
                                                                  end 10/01/2015
  137          UBHWIT0013842          UBHWIT0013850   10/1/2014   CDG for Conduct Disorder, start 10/01/2014, end 07/01/2015
  138          UBHWIT0013595          UBHWIT0013602   10/1/2014   CDG for Binge Eating Disorder, start 10/01/2014, end 10/01/2015
                                                                  CDG for Other Specified and Unspecified Disorders, start 10/01/2014, end
  139          UBHWIT0013834          UBHWIT0013841   10/1/2014
                                                                  10/01/2015
  140          UBHWIT0014120          UBHWIT0014128   10/1/2014   CDG for Personality Disorders, start 10/01/2014, end 10/01/2015
  141          UBHWIT0013957          UBHWIT0013965   10/1/2014   CDG for Specific Learning Disorder, start 10/01/2014, end 10/01/2015
                                                                  CDG for Treatment of Attention-Deficit/Hyperactivity Disorder (ADHD), start
  142          UBHWIT0013688          UBHWIT0013712   10/1/2014
                                                                  10/01/2014, end 10/01/2015
  143          UBHWIT0013668          UBHWIT0013676   10/1/2014   CDG for Gambling Disorder, start 10/01/2014, end 10/01/2015
  144          UBHWIT0013713          UBHWIT0013717   10/1/2014   CDG for Impulse Control Disorders, start 10/01/2014, end 10/01/2015
                                                                  CDG for Intellectual Disability (Intellectual Developmental Disorder), start
  145          UBHWIT0014050          UBHWIT0014057   10/1/2014
                                                                  10/01/2014, end 10/01/2015
                                                                  CDG for Autism Spectrum Disorders and Intensive Behavior Therapy, start
  146          UBHWIT0093205          UBHWIT0093246   2/1/2015
                                                                  02/01/2015, end 08/01/2016
  147          UBHWIT0092782          UBHWIT0092810   2/1/2015    CDG for Treatment of Gender Dysphoria, start 02/01/2015, end 10/01/2015
                                                                  CDG for Custodial Care and Inpatient & Residential Services, start 03/01/2015, Included in Fishman Ex.
  148          UBHWIT0329356          UBHWIT0329365   3/1/2015
                                                                  end 04/01/2016                                                                 13 (no bates)
  149          UBHWIT0329972          UBHWIT0329983   3/1/2015    CDG for Extended Outpatient Sessions, start 03/01/2015, end 02/01/2016
  150          UBHWIT0098512          UBHWIT0098519   5/1/2015    CDG for Motor Disorders, start 05/01/2015, end 06/01/2015




                                                                                                                 5 of 40
                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 6 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                            Joint Trial Exhibit List
                                                                                                       October 17, 2017
Trial Ex.                                                                                                                                                                     Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                        Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                             Evidence            Evidence
                                                                  CDG for Treatment of Substance-Related and Addictive Disorders, start
  151          UBHWIT0332441          UBHWIT0332477   6/1/2015
                                                                  06/01/2015, end 10/01/2015
  152          UBHWIT0331883          UBHWIT0331890   6/1/2015    CDG for Motor Disorders, start 06/01/2015, end 10/01/2015
  153          UBHWIT0093815          UBHWIT0093851   7/1/2015    CDG for Treatment of Adjustment Disorder, start 07/01/2015, end 10/01/2015
  154          UBHWIT0093866          UBHWIT0093875   7/1/2015    CDG for Conduct Disorder, start 07/01/2015, end 10/01/2015
                                                                  CDG for Treatment of Oppositional Defiant Disorder (ODD), start 07/01/2015,
  155          UBHWIT0093692          UBHWIT0093731   7/1/2015
                                                                  end 10/01/2015
                                                                  CDG for Treatment of Substance-Related and Addictive Disorders, start
  156          UBHWIT0331797          UBHWIT0331834   10/1/2015
                                                                  10/01/2015, end 11/01/2016
  157          UBHWIT0263253          UBHWIT0263261   10/1/2015   CDG for Gambling Disorder, start 10/01/2015, end 11/01/2016
  158          UBHWIT0262831          UBHWIT0262841   10/1/2015   CDG for Personality Disorders, start 10/01/2015, end 02/01/2016
  159          UBHWIT0262496          UBHWIT0262527   10/1/2015   CDG for Treatment of Adjustment Disorder, start 10/01/2015, end 05/01/2016
                                                                  CDG for Treatment of Post Traumatic Stress Disorder (PTSD), start 10/01/2015,
  160          UBHWIT0331211          UBHWIT0331247   10/1/2015
                                                                  end 07/01/2016
                                                                  CDG for Treatment of Reactive Attachment Disorder (RAD), start 10/01/2015,
  161          UBHWIT0331248          UBHWIT0331281   10/1/2015
                                                                  end 07/01/2016
                                                                  CDG for Treatment of Schizophrenia & Schizoaffective Disorder, start
  162          UBHWIT0331282          UBHWIT0331319   10/1/2015
                                                                  10/01/2015, end 07/01/2016
  163          UBHWIT0330169          UBHWIT0330212   10/1/2015   CDG for Treatment of Anorexia Nervosa, start 10/01/2015, end 07/01/2016
                                                                  CDG for Treatment of Major and Mild Neurocognitive Disorders (Dementia), start
  164          UBHWIT0330993          UBHWIT0331028   10/1/2015
                                                                  10/01/2015, end 08/01/2016
  165          UBHWIT0263262          UBHWIT0263293   10/1/2015   CDG for Gender Dysphoria , start 10/01/2015, end 10/01/2016
                                                                                                                                                    Niewenhous Ex. 49 (no
  166          UBHWIT0330344          UBHWIT0330382   10/1/2015   CDG for Treatment of Depressive Disorders, start 10/01/2015, end 10/01/2016
                                                                                                                                                    bates)
                                                                  CDG for Treatment of Disruptive Mood Dysregulation Disorder, start 10/01/2015,
  167          UBHWIT0330417          UBHWIT0330447   10/1/2015
                                                                  end 10/01/2016
                                                                  CDG for Treatment of Dissociative Identity Disorders (DID), start 10/01/2015, end
  168          UBHWIT0330383          UBHWIT0330416   10/1/2015
                                                                  10/01/2016
                                                                  CDG for Treatment of Obsessive-Compulsive and Related Disorders, start
  169          UBHWIT0331037          UBHWIT0331075   10/1/2015
                                                                  10/01/2015, end 10/01/2016
  170          UBHWIT0262608          UBHWIT0262616   10/1/2015   CDG for Binge Eating Disorder, start 10/01/2015, end 10/01/2016
                                                                  CDG for Other Specified and Unspecified Disorders (Previously NOS Disorders),
  171          UBHWIT0331129          UBHWIT0331137   10/1/2015
                                                                  start 10/01/2015, end 10/01/2016
  172          UBHWIT0262979          UBHWIT0262988   10/1/2015   CDG for Specific Learning Disorders, start 10/01/2015, end 10/01/2016
  173          UBHWIT0331330          UBHWIT0331361   10/1/2015   CDG for Treatment of Specific Phobias, start 10/01/2015, end 02/01/2016
  174          UBHWIT0263087          UBHWIT0263095   10/1/2015   CDG for Conduct Disorder, start 10/01/2015, end 03/01/2016
  175          UBHWIT0327598          UBHWIT0327604   10/1/2015   CDG for Impulse Control Disorders, start 10/01/2015, end 03/01/2016
                                                                  CDG for Intellectual Disability (Mental Retardation), start 10/01/2015, end
  176          UBHWIT0263361          UBHWIT0263369   10/1/2015
                                                                  03/01/2016
  177          UBHWIT0331464          UBHWIT0331471   10/1/2015   CDG for Motor Disorders, start 10/01/2015, end 03/01/2016
                                                                  CDG for Treatment of Generalized Anxiety Disorder, start 10/01/2015, end
  178          UBHWIT0330505          UBHWIT0330539   10/1/2015
                                                                  03/01/2016
                                                                  CDG for Treatment of Oppositional Defiant Disorder (ODD), start 10/01/2015,
  179          UBHWIT0262746          UBHWIT0262777   10/1/2015
                                                                  end 03/01/2016
  180          UBHWIT0331166          UBHWIT0331199   10/1/2015   CDG for Treatment of Panic Disorder, start 10/01/2015, end 03/01/2016
                                                                  CDG for Treatment of Attention-Deficit/Hyperactivity Disorder (ADHD), start
  181          UBHWIT0330102          UBHWIT0330136   10/1/2015
                                                                  10/01/2015, end 04/01/2016
                                                                  CDG for Treatment of Bipolar and Related Disorders, start 10/01/2015, end
  182          UBHWIT0330258          UBHWIT0330294   10/1/2015
                                                                  05/01/2016
  183          UBHWIT0330295          UBHWIT0330334   10/1/2015   CDG for Treatment of Bulimia Nervosa, start 10/01/2015, end 06/01/2016
  184             No Bates               No Bates     11/1/2015   CDG for Treatment of Substance-Related & Addictive Disorders                      Triana (1-28-16) Ex. 13
  185          UBHWIT0333529          UBHWIT0333566    2/1/2016   CDG for Treatment of Specific Phobias, start 02/01/2016, end 02/01/2017
  186          UBHWIT0333433          UBHWIT0333444    2/1/2016   CDG for Personality Disorders, start 02/01/2016, end 01/01/2017
  187          UBHWIT0332834          UBHWIT0332846    2/1/2016   CDG for Extended Outpatient Sessions, start 02/01/2016, end 02/01/2017
                                                                  CDG for Treatment of Generalized Anxiety Disorder, start 03/01/2016, end
  188          UBHWIT0332877          UBHWIT0332917   3/1/2016
                                                                  02/01/2017
                                                                  CDG for Treatment of Oppositional Defiant Disorder (ODD), start 03/01/2016,
  189          UBHWIT0333268          UBHWIT0333300   3/1/2016
                                                                  end 02/01/2017
  190          UBHWIT0333358          UBHWIT0333397   3/1/2016    CDG for Treatment of Panic Disorder, start 03/01/2016, end 02/01/2017
                                                                  CDG for Intellectual Disability (Intellectual Developmental Disorder), start
  191          UBHWIT0333029          UBHWIT0333039   3/1/2016
                                                                  03/01/2016, end 01/01/2017
  192          UBHWIT0333071          UBHWIT0333078   3/1/2016    CDG for Motor Disorders, start 03/01/2016, end 01/01/2017
  193          UBHWIT0332661          UBHWIT0332670   3/1/2016    CDG for Conduct Disorder, start 03/01/2016, end 02/01/2017
  194          UBHWIT0333012          UBHWIT0333020   3/1/2016    CDG for Impulse Control Disorders, start 03/01/2016, end 02/01/2017




                                                                                                                  6 of 40
                                                 Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 7 of 40


                                                                                  Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                               Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                                     Joint Trial Exhibit List
                                                                                                               October 17, 2017
Trial Ex.                                                                                                                                                                              Date Offered Into   Date Received Into
             Beginning Bates / Range        End Bates          Date                                         Description                                          Depo. Exhibit(s)                                               Limitations on Use
  No.                                                                                                                                                                                      Evidence            Evidence
                                                                          CDG for Custodial Care and Inpatient & Residential Services, start 04/01/2016,     Included in Fishman Ex.
  195           UBHWIT0332680             UBHWIT0332688       4/1/2016
                                                                          end 03/01/2017                                                                     13 (no bates)
                                                                          CDG for Treatment of Attention-Deficit/Hyperactivity Disorder (ADHD), start
  196           UBHWIT0332579             UBHWIT0332622       4/1/2016
                                                                          04/01/2016, end 01/01/2017
                                                                          CDG for Treatment of Bipolar and Related Disorders, start 05/01/2016, end
  197           UBHWIT0382559             UBHWIT0382597       5/1/2016
                                                                          05/01/2017
  198           UBHWIT0382403             UBHWIT0382435       5/1/2016    CDG for Treatment of Adjustment Disorder, start 05/01/2016, end 05/01/2017
  199           UBHWIT0382598             UBHWIT0382634       6/1/2016    CDG for Treatment of Bulimia Nervosa, start 06/01/2016, end 01/01/2017
                                                                          CDG for Treatment of Post Traumatic Stress Disorder (PTSD), start 07/01/2016,
  200           UBHWIT0383103             UBHWIT0383140       7/1/2016
                                                                          end 05/01/2017
                                                                          CDG for Treatment of Reactive Attachment Disorder (RAD), start 07/01/2016,
  201           UBHWIT0383161             UBHWIT0383194       7/1/2016
                                                                          end 05/01/2017
                                                                          CDG for Treatment of Schizophrenia & Schizoaffective Disorder, start
  202           UBHWIT0383195             UBHWIT0383233       7/1/2016
                                                                          07/01/2016, end Present
  203           UBHWIT0382436             UBHWIT0382476       7/1/2016    CDG for Treatment of Anorexia Nervosa, start 07/01/2016, end 01/01/2017
                                                                          CDG for Treatment of Major and Mild Neurocognitive Disorders (Dementia), start
  204           UBHWIT0382882             UBHWIT0382918       8/1/2016
                                                                          08/01/2016, end Present
                                                                          CDG for Autism Spectrum Disorder and Intensive Behavior Therapy, start
  205           UBHWIT0382514             UBHWIT0382549       8/1/2016
                                                                          08/01/2016, end 01/01/2017
                                                                          CDG for Treatment of Depressive Disorders: Major Depressive Disorder,
  206           UBHWIT0382652             UBHWIT0382691      10/1/2016    Persistent Depressive Disorder & Premenstrual Dysphoric Disorder (PMDD), start
                                                                          10/01/2016, end Present
                                                                          CDG for Treatment of Disruptive Mood Dysregulation Disorder, start 10/01/2016,
  207           UBHWIT0382692             UBHWIT0382722      10/1/2016
                                                                          end Present
                                                                          CDG for Treatment of Obsessive-Compulsive and Hoarding Disorder, start
  208           UBHWIT0382927             UBHWIT0382964      10/1/2016
                                                                          10/01/2016, end Present
  209           UBHWIT0382723             UBHWIT0382729      10/1/2016    CDG for Dissociative Identity Disorder, start 10/01/2016, end Present
  210           UBHWIT0382786             UBHWIT0382794      10/1/2016    CDG for Gender Dysphoria, start 10/01/2016, end Present
                                                                          CDG for Other Specified and Unspecified Disorders (Previously NOS Disorders),
  211           UBHWIT0383038             UBHWIT0383046      10/1/2016
                                                                          start 10/01/2016, end Present
  212           UBHWIT0382550             UBHWIT0382558      10/1/2016    CDG for Binge Eating Disorder, start 10/01/2016, end 01/01/2017
  213           UBHWIT0383242             UBHWIT0383251      10/1/2016    CDG for Specific Learning Disorder, start 10/01/2016, end 01/01/2017
                                                                          CDG for Substance-Related and Addictive Disorders, start 11/01/2016, end
  214           UBHWIT0382775             UBHWIT0382785      11/1/2016
                                                                          Present
  215           UBHWIT0617299             UBHWIT0617309       1/1/2017    CDG for Feeding and Eating Disorders, start 01/01/2017, end Present
  216           UBHWIT0616958             UBHWIT0616971       1/1/2017    CDG for Neurodevelopmental Disorders, start 01/01/2017, end Present
  217           UBHWIT0617310             UBHWIT0617317       1/1/2017    CDG for Personality Disorders, start 01/01/2017, end Present
  218              No Bates                  No Bates         2/1/2017    CDG for Anxiety Disorders, start 02/01/2017, end Present
                                                                          CDG for Disruptive, Impulse-Control & Conduct Disorders, start 02/01/2017, end
  219               No Bates                 No Bates         2/1/2017
                                                                          Present
  220           UBHWIT0622232             UBHWIT0622237       2/1/2017    CDG for Extended Outpatient Sessions, start 02/01/2017, end Present
                                                                          CDG for Custodial care (inpatient & residential services), start 05/01/2017, end
  221               No Bates                 No Bates         5/1/2017
                                                                          Present
                                                                          CDG for Custodial care (inpatient & residential services), start 03/01/2017, end
  222               No Bates                 No Bates         3/1/2017
                                                                          Present
                                                                          CDG for Other Conditions That May Be a Focus of Clinical Attention (Previously
  223               No Bates                 No Bates         5/1/2017
                                                                          V-Code Conditions), start 05/01/2017, end Present
  224               No Bates                 No Bates         5/1/2017    CDG for Trauma- and Stressor-Related Disorders, start 05/01/2017, end Present
  225       UBHALEXANDER0000874        UBHALEXANDER0001034    1/1/2013    Plan - Alexander
              WIT_PTFS_0016846           WIT_PTFS_0016848    7/26/2013    Letter from UBH (Sherifa Iqbal, MD) to Jordan Alexander
              WIT_PTFS_0016843           WIT_PTFS_0016845    8/26/2013    Letter from UBH (J. Lyndon Good, MD) to Jordan Alexander
  226         WIT_PTFS_0016840           WIT_PTFS_0016842    9/16/2013    Letter from UBH (Lin Zhu, PhD) to Jordan Alexander
              WIT_PTFS_0016835           WIT_PTFS_0016837    9/16/2013    Letter from UBH (Traice Webb, PhD) to Jordan Alexander
              WIT_PTFS_0006593           WIT_PTFS_0006593    3/26/2014    Letter from UBH (Erin Spearman) to Utah Insurance Department                       Alexander Ex. 23
  227       UBHALEXANDER0043724        UBHALEXANDER0043855    1/1/2013    Plan - Driscoll                                                                    Driscoll Ex. 1
  228       UBHALEXANDER0043856        UBHALEXANDER0043991    1/1/2014    Plan - Driscoll                                                                    Dehlin Ex. 9
              WIT_PTFS_0013955           WIT_PTFS_0013956    11/29/2012   Letter from UBH (Theodore A. Allchin, MD) to Sara Driscoll
                  No Bates                   No Bates        10/4/2013    Letter from UBH (Shirley Kraft, RN) to Susan Driscoll
            UBHALEXANDER0041354        UBHALEXANDER0041356   3/26/2014    Letter from UBH (Eugene Kwon, MD) to Sara Driscoll                                 Driscoll Ex. 7
  229
            UBHALEXANDER0041359        UBHALEXANDER0041362    6/2/2014    Letter from UBH (Andrew Martorana, MD) to Sara Driscoll
                  No Bates                   No Bates        7/28/2014    Letter from Sara Driscoll to UBH
            UBHALEXANDER0041364        UBHALEXANDER0041370    8/7/2014    Letter from UBH (Nancy Steichmann) to Sara Driscoll
  230          UBHWIT0005294              UBHWIT0005438       6/1/2012    Plan - Flanzraich                                                                  Dehlin Ex. 10
  231         WIT_PTFS_0000013           WIT_PTFS_0000184     1/1/2013    Plan - Flanzraich                                                                  Flanzraich Ex. 2




                                                                                                                           7 of 40
                                                    Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 8 of 40


                                                                                     Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                                  Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                                       Joint Trial Exhibit List
                                                                                                                  October 17, 2017
Trial Ex.                                                                                                                                                                                Date Offered Into   Date Received Into
              Beginning Bates / Range          End Bates          Date                                         Description                                      Depo. Exhibit(s)                                                  Limitations on Use
  No.                                                                                                                                                                                        Evidence            Evidence
                UBHWIT0007408               UBHWIT0007417       2/18/2013    Letter from UBH (Satwant Ahluwalia, MD) to Casey Flanzraich
  232           UBHWIT0007554               UBHWIT0007565        8/2/2013    Letter from Lori Flanzraich to Optum Appeals Department
                UBHWIT0007418               UBHWIT0007431       8/23/2013    Letter from UBH (Danesh Alam, MD) to Casey Flanzraich
  233          WIT_PTFS_0017199            WIT_PTFS_0017351      1/1/2011    Plan - Haffner
               WIT_PTFS_0017107            WIT_PTFS_0017113     12/5/2011    Letter from UBH (Cristina Motet-Grigoras, MD) to David Haffner
  234          WIT_PTFS_0007965            WIT_PTFS_0007967     4/16/2012    Letter from David Haffner to UBH Appeals Department
               WIT_PTFS_0017116            WIT_PTFS_0017118     5/17/2012    Letter from UBH (Andrew Martorana, MD) to David Haffner
  235          WIT_PTFS_0000482            WIT_PTFS_0000651      1/1/2013    Plan - Holdnak
                UBHWIT0007151               UBHWIT0007157        1/4/2014    Letter from UBH (Bernard Dicasimirro, DO) to Parent of Emily Holdnak
                UBHWIT0007144               UBHWIT0007150        1/6/2014    Letter to Holdnak from UBH giving coverage for six days
                UBHWIT0007142               UBHWIT0007143       1/27/2014    Letter from UBH (Wanda Coles) to Parent of Emily Holdnak
  236           UBHWIT0007135               UBHWIT0007141       1/31/2014    Letter from UBH (Frank James, MD) to Parent of Emily Holdnak
                UBHWIT0007128               UBHWIT0007134        2/1/2014    Letter from UBH (Bernard Dicasimirro, DO) to Parent of Emily Holdnak
                UBHWIT0007158               UBHWIT0007172       3/25/2014    Letter from Cecilia Holdnak to UBH Appeals and Grievances
                UBHWIT0007121               UBHWIT0007127        4/7/2014    Letter from UBH (Neal R. Satten, MD) to Parent of Emily Holdnak
  237        UBHALEXANDER0000087            UBHWIT0000280        1/1/2013    Plan - Klein                                                                   Dehlin Ex. 12
               WIT_PTFS_0012205            WIT_PTFS_0012206      9/2/2014    Letter from UBH (James Slayton, MD) to Corinna Klein                           Klein Ex. 3
            UBHALEXANDER_ML000030       UBHALEXANDER_ML000033   9/15/2014    Letter from Mark Leffert, MD to UBH
  238
             UBHALEXANDER0000060         UBHALEXANDER0000068    9/22/2014    Letter from UBH (Leslie Moldauer, MD) to Corinna Klein
            UBHALEXANDER_ML000017       UBHALEXANDER_ML000024   10/21/2014   Letter from Mark Leffert, MD to UBH Appeals and Grievances
  239           UBHWIT0001904               UBHWIT0002011        1/1/2012    Plan - Muir                                                                    Dehlin Ex. 7
                UBHWIT0004755               UBHWIT0004756        3/7/2013    Letter from UBH (Jerome Kaufman, MD) to Brian Muir
  240           UBHWIT0004757               UBHWIT0004763        3/7/2013    Letter from UBH (Jed Goldart, MD) to Brian Muir
                UBHWIT0002633               UBHWIT0002634       8/29/2013    Letter from UBH (Tracy Jackson) to Brian Muir
  241           UBHWIT0006433               UBHWIT0006600       10/1/2013    Plan - Pfeifer                                                                 Dehlin Ex. 6
                UBHWIT0007486               UBHWIT0007487       11/1/2013    Letter from UBH (Malik Ahmed, MD) to Lauralee Pfeifer
  242
                UBHWIT0007483               UBHWIT0007485       11/1/2013    Letter from UBH (Saul Helfing, MD) to Lauralee Pfeifer
  243           UBHWIT0262057               UBHWIT0262220        1/1/2015    Plan - Tillitt                                                                 Dehlin Ex. 11
                UBHWIT0184568               UBHWIT0184574        7/9/2015    Letter from UBH (Coleman H Wheeler, MD) to Maxwell Tillitt
                UBHWIT0184575               UBHWIT0184582       7/13/2015    Letter from UBH (Eugene Kwon, MD) to Maxwell Tillitt
  244
                UBHWIT0262222               UBHWIT0262223       7/23/2015    Letter from Linda Tillitt to UBH Appeals and Grievances
                UBHWIT0262367               UBHWIT0262368       12/18/2015   Letter from UBH (Mashasta Houston) to Maxwell Tillitt
  245           UBHWIT0003653               UBHWIT0003838        1/1/2013    Plan - Wit                                                                     Dehlin Ex. 5
                UBHWIT0004049               UBHWIT0004054        5/3/2013    Letter from UBH (Theodore A. Allchin, MD) to Natasha Wit                       Allchin (2-18-16) Ex. 4
  246
               WIT_PTFS_0006397            WIT_PTFS_0006403      5/3/2013    Letter from UBH (Roxane Sanders, MD) to Natasha Wit                            Natasha Wit Ex. 8
  247                                                                        INTENTIONALLY LEFT BLANK
  248                                                                        INTENTIONALLY LEFT BLANK
  249                                                                        INTENTIONALLY LEFT BLANK
  250                                                                        INTENTIONALLY LEFT BLANK
  251                                                                        INTENTIONALLY LEFT BLANK
  252                                                                        INTENTIONALLY LEFT BLANK
  253                                                                        INTENTIONALLY LEFT BLANK
  254                                                                        INTENTIONALLY LEFT BLANK
  255                                                                        Class list (submitted by UBH; electronic form only)
  256            UBHWIT0071171              UBHWIT0071225       9/28/2011    Utilization Management Program Description 2011 [Template]                     Beaty Ex. 5
                                                                                                                                                            Beaty Ex. 6 (just the
  257            UBHWIT0071111              UBHWIT0071169       3/22/2012    Email with subject "Revised UMPD Template," with attachments.
                                                                                                                                                            UMPD attachment)
                                                                                                                                                            Beaty Ex. 2 and Triana (1-
  258            UBHWIT0070863              UBHWIT0070952       2/14/2013    Email with subject "Behavioral UMPD and the UHC Charter," with attachments.    28-16) Ex. 7 (just the
                                                                                                                                                            UMPD attachment)
                                                                                                                                                            Brock Ex. 18 and Triana
                                                                                                                                                            (1-28-16) Ex. 6 (just the
  259            UBHWIT0071026              UBHWIT0071110       2/17/2014    Email with subject "UMPD Signed," with attachment.
                                                                                                                                                            UMPD attachment)

  260            UBHWIT0263538              UBHWIT0263578       1/29/2015    Optum Utilization Management Program Description 2015
  261            UBHWIT0632403              UBHWIT0632445       8/22/2016    Email with subject "2016 UMPD," with attachment.
  262            UBHWIT0647318              UBHWIT0647398       1/25/2017    Email with subject "UMPD & Workplan - Need your approval," with attachments.
                                                                             UBH Care Advocacy Policies and Procedures - Level of Care Guidelines,
  263            UBHWIT0443708              UBHWIT0443714       12/1/2008    Psychological and Neuropsychological Testing Guideliens, Best Practice
                                                                             Guidelines and Supplemental and Measurable Guidelines
                                                                                                                                                            Regan Ex. 3; Niewenhous
                                                                             UBH Care Advocacy Policy - Clinical Guidelines: Development and Approval,
  264            UBHWIT0379510              UBHWIT0379514        8/1/2014                                                                                   ex. 22; Rockswold Ex. 26
                                                                             Dissemination and Use, revised August 2014
                                                                                                                                                            Rockswold Ex. 27;
                                                                             UBH Care Advocacy Policy - Clinical Guidelines: Development and Approval,
  265            UBHWIT0704371              UBHWIT0704375        8/1/2015                                                                                   Martorana Ex. 1;
                                                                             Dissemination and Use (Aug 2015)
                                                                                                                                                            Niewenhous ex. 23




                                                                                                                             8 of 40
                                                 Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 9 of 40


                                                                                  Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                               Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                                      Joint Trial Exhibit List
                                                                                                                 October 17, 2017
Trial Ex.                                                                                                                                                                                Date Offered Into   Date Received Into
             Beginning Bates / Range        End Bates          Date                                           Description                                          Depo. Exhibit(s)                                               Limitations on Use
  No.                                                                                                                                                                                        Evidence            Evidence
  266          UBHWIT0246057              UBHWIT0246057       5/1/2014    Guideline Applicability Tool - Optum Clinical Guidelines May 2014
  267          UBHWIT0246058              UBHWIT0246058       6/1/2014    Guideline Applicability Tool - Optum Clinical Guidelines June 2014
  268          UBHWIT0246059              UBHWIT0246059      10/1/2014    Guideline Applicability Tool - Optum Clinical Guidelines October 2014
  269          UBHWIT0246060              UBHWIT0246060      11/1/2014    Guideline Applicability Tool - Optum Clinical Guidelines November 2014
  270          UBHWIT0246061              UBHWIT0246061       1/1/2015    Guideline Applicability Tool - Optum Clinical Guidelines January 2015                Niewenhous Ex. 36
  271          UBHWIT0246062              UBHWIT0246062       3/1/2015    Guideline Applicability Tool - Optum Clinical Guidelines March 2015
  272          UBHWIT0246063              UBHWIT0246063       5/1/2015    Guideline Applicability Tool - Optum Clinical Guidelines May 2015
  273          UBHWIT0335866              UBHWIT0335866       9/1/2015    Guideline Applicability Tool - Optum Clinical Guidelines September 2015              Niewenhous Ex. 40
  274          UBHWIT0246065              UBHWIT0246065       1/1/2016    Guideline Applicability Tool - Optum Clinical Guidelines January 2016                Niewenhous Ex. 39
  275          UBHWIT0383494              UBHWIT0383494       5/1/2016    Guideline Applicability Tool - Optum Clinical Guidelines May 2016
  276          UBHWIT0383495              UBHWIT0383495       7/1/2016    Guideline Applicability Tool - Optum Clinical Guidelines July 2016
  277          UBHWIT0383496              UBHWIT0383496       8/1/2016    Guideline Applicability Tool - Optum Clinical Guidelines August 2016
  278          UBHWIT0617136              UBHWIT0617136       1/1/2017    Guideline Applicability Tool - Optum Clinical Guidelines January 2017                Niewenhous Ex. 41
  279       UBHALEXANDER0032975        UBHALEXANDER0032975    6/1/2010    Flowchart: ALERT Outpatient Model - High Level Design                                Brennecke ex. 2
  280       UBHALEXANDER0040280        UBHALEXANDER0040281    6/4/2010    ALERT Medical Necessity - Care Advocacy Intervention Script                          Brennecke ex. 4
                                                                          Developing a Hierarchy of Clinical Evidence for Coverage Determination               Niewenhous Ex. 21
  281           UBHWIT0083457             UBHWIT0083458      11/1/2010
                                                                          Guidelines
                                                                          Clinical Practice Guidelines We Can Trust, Standards for Developing Trustworthy
  282           UBHWIT0335935             UBHWIT0335936       3/1/2011
                                                                          Clinical Practice Guidelines (CPGs)
  283           UBHWIT0173375             UBHWIT0173375      4/23/2012    OptumHealth Behavioral Solutions, Clinical Vision                                    Bonfield ex. 11
  284           UBHWIT0426771             UBHWIT0426771      9/27/2012    PowerPoint entitled "Finance 101"
                                                                                                                                                               Robinson Beale Ex. 2
                UBHWIT0103547
  285                                     UBHWIT0103550      11/4/2013    Email with subject "Presentation slides for RMD meeting," with attachments.          (Bates 103547 and
                                                                                                                                                               103550 only)
                                                                          Optum Health Development, Approval, Dissemination, Implementation and Use of
  286           UBHWIT0306934             UBHWIT0306934      8/18/2015
                                                                          Standards of Care for Behavioral Health PPT
                                                                          Email with subject "Guidelines and Policies - News and Updates," with
  287           UBHWIT0649868             UBHWIT0649877      10/14/2016
                                                                          attachments.
                                                                                                                                                             Dehlin ex. 1; Triana (1-
  288               No Bates                 No Bates        12/31/2015   United HealthCare Services, Inc. Organizational Chart
                                                                                                                                                             28-16) ex. 2
                                                                          Organizational Chart of National Sites, Philadelphia, San Francisco, and Minnesota Brennecke ex.7; Triana
  289           UBHWIT0014732             UBHWIT0014732       No Date
                                                                          Physicians and Licensures                                                          (1-28-16) Ex. 3
  290              No Bates                  No Bates                     LINX Denial Data Dictionary                                                        Bridge Ex. 2
  291              No Bates                  No Bates                     ARTT Data Dictionary                                                               Bridge Ex. 3
  292           UBHWIT0072566             UBHWIT0072567       9/1/2010    Behavioral Policy & Analytics Committee Description                                Triana (1-28-16) ex.8
  293           UBHWIT0076596             UBHWIT0076596       9/1/2010    Coverage Determination Committee Description                                       Triana (1-28-16) ex.10
  294           UBHWIT0646740             UBHWIT0646741      1/12/2017    Optum Behavioral Utilization Management Committee Charter (UMC)                    Rockswold Ex. 32
  295           UBHWIT0072522             UBHWIT0072525                   Behavioral Policy & Analytics Committee Roster, 2010-2014                          Urban ex. 6
                                                                          OptumHealth Quality Management and Improvement and Utilization Management Beaty Ex. 15
  296           UBHWIT0101254             UBHWIT0101274        2013
                                                                          Programs, 2013 Evaluation
  297           UBHWIT0000268             UBHWIT0000270        2014       Process for Developing and Disseminating Optum's Clinical Guidelines
  298           UBHWIT0344010             UBHWIT0344032       No Date     Optum Level of Care Guidelines Inter-Rater Reliabilty Measure Report (Template)
                                                                          2013 Optum Inter-Rater Reliability Measure Report, Quality Management and
  299           UBHWIT0379526             UBHWIT0379538        2013
                                                                          Improvement Department, September 2013
                                                                          2014 Optum Inter-Rater Reliability Measure Report, Overall Results and
  300           UBHWIT0260474             UBHWIT0260484        2014
                                                                          Summary, Quality Management and Improvement Department, August 2014
                                                                          2015 Optum Inter-Rater Reliability Measure Report, Overall Results and
  301           UBHWIT0263507             UBHWIT0263516        2015
                                                                          Summary, Quality Management and Improvement Department, August 2015
                                                                          2016 Optum Inter-Rater Reliability Measure Report, Overall Results and
  302           UBHWIT0624013             UBHWIT0624014        2016
                                                                          Summary, Quality Management and Improvement Department, August 2016
                                                                          United Behavioral Health / PacifiCare Behavioral Health Clinical Policy and          Goddard Ex. 8
  303           UBHWIT0377270             UBHWIT0377277      3/23/2009
                                                                          Operations Committee Minutes
  304           UBHWIT0279571             UBHWIT0279574       4/8/2010    Email chain with subject "COC exclusion language."
  305           UBHWIT0048426             UBHWIT0048426      4/13/2010    Email with subject "Authorization Guidelines- OUTLIER CASES."                        Triana (5-10-17) Ex. 35
                                                                          Email chain with subject "2010 Interrater Reliability Test - May 3rd to the 14th -
  306           UBHWIT0049517             UBHWIT0049518      5/11/2010
                                                                          Action Required."
  307           UBHWIT0077668             UBHWIT0077670       7/1/2010    CDC Minutes
  308           UBHWIT0077918             UBHWIT0077920       7/8/2010    CDC Minutes
                UBHWIT0084047             UBHWIT0084047
  309                                                         7/8/2010    Email with subject "Custodial Care CDG," with attachment.
                UBHWIT0084048             UBHWIT0084145
                                                                          High Cost of Bipolar Disorders, Literature Search, Prepared by Behavioral Health Rockswold ex. 20
  310           UBHWIT0588599             UBHWIT0588611       9/3/2010
                                                                          Sciences
                                                                          Email chain with subject "High Cost of Eating Disorder Literature Search, Review, Rockswold ex. 22
  311           UBHWIT0441239             UBHWIT0441241      10/1/2010
                                                                          and References."
  312           UBHWIT0108525             UBHWIT0108539      11/19/2010   Email chain with subject "CDG Templates," with attachments.




                                                                                                                             9 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 10 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                         October 17, 2017
Trial Ex.                                                                                                                                                                      Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                          Depo. Exhibit(s)                                              Limitations on Use
  No.                                                                                                                                                                              Evidence            Evidence
  313          UBHWIT0048572          UBHWIT0048573   12/17/2010   Email chain with subject "CDG question."
  314          UBHWIT0145742          UBHWIT0145744    1/3/2011    Email chain with subject "CDG question."
  315          UBHWIT0046659          UBHWIT0046674    1/5/2011    Email chain with subject "Parity FAQ," with attachments.
  316          UBHWIT0253740          UBHWIT0253741    1/7/2011    Email chain with subject "Keeping in the loop."
  317          UBHWIT0048697          UBHWIT0048697   1/27/2011    Email chain with subject "CDG Language."
  318          UBHWIT0466312          UBHWIT0466312   2/16/2011    Email with subject "Call with Dr Tarnoff."
  319          UBHWIT0141188          UBHWIT0141207   2/21/2011    Email with subject "Resi Schizophrenia," with attachment.
  320          UBHWIT0072564          UBHWIT0072565    4/1/2011    Behavioral Policy & Analytics Committee Description                                 Triana (1-28-16) ex.9
                                                                                                                                                       Rockswold ex. 19
                                                                   OptumHealth, Factors Influencing Medical and Behavioral Healthcare Utilization
  321          UBHWIT0074993          UBHWIT0075096   5/12/2011
                                                                   and Quality: A Literature Review of Medical Management, Final Version
  322          UBHWIT0156642          UBHWIT0156643   10/14/2011   Email chain with subject "interesting request from HPHC re: our guidelines."
                                                                   Email with subject "Agenda Item for 11/1 BPAC for Your Participation," with
  323          UBHWIT0110507          UBHWIT0110517   10/18/2011
                                                                   attachment.
  324          UBHWIT0171475          UBHWIT0171478   11/28/2011   Email with subject "Briefing on Custodial Care (1111)," with attachment.
  325          UBHWIT0058682          UBHWIT0058709   12/5/2011    Email chain with subject "IMPORTANT FOLLOW UP," with attachment.
  326          UBHWIT0234436          UBHWIT0234437    1/1/2012    Email re ASAM Language re Modification of Tx Plan and Fail First
  327          UBHWIT0279235          UBHWIT0279238    1/3/2012    Email chain wiith subject "Conversation with Carold McDaid from PIC."
                                                                   Form letter to Provider from Gerard Niewenhous with subject "2012 United         Niewenhous Ex. 25
  328          UBHWIT0345095          UBHWIT0345095   1/20/2012
                                                                   Behavioral Health/U.S. Behavioral Health Plan, California Clinical Guidelines."
  329          UBHWIT0285330          UBHWIT0285331   1/20/2012    Email chain with subject "Some notes regarding today's PIC."
  330          UBHWIT0050300          UBHWIT0050302   1/27/2012    Email chain with subject "Denial rationale and criteria for HPHC ABDs."          Brennecke Ex. 10
                                                                   PowerPoint presentation with title "Behavioral Policy & Analytics Committee - Q1
  331          UBHWIT0072597          UBHWIT0072597   1/30/2012
                                                                   and Q2 2012 Report - Meeting Dates: Bi-weekly during Q1 and Q2."
  332          UBHWIT0075642          UBHWIT0075643   3/20/2012    BPAC Minutes
                                                                   Email chain with subject "suggestion for amending outpatient LOC criteria for
  333          UBHWIT0141386          UBHWIT0141389   3/26/2012
                                                                   2012."
  334          UBHWIT0416551          UBHWIT0416558   3/26/2012    CP&O Committee Minutes, March 26, 2012
  335          UBHWIT0178273          UBHWIT0178282    4/5/2012    Email with subject "Clinical Guidelines Training," with attachment.
  336          UBHWIT0144719          UBHWIT0144720   4/16/2012    Email with subject "Clinical Guideline Process (0512).pptx," with attachment.
                                                                   Email with subject "BPAC Guidelines Presentation - 888/844-7278, 7326539,"
  337          UBHWIT0417884          UBHWIT0417885   5/10/2012
                                                                   with attachment.
                                                                   Email chain with subject "Discuss GAP area's for psychotherapy (5/11/12 @
  338          UBHWIT0150232          UBHWIT0150244   5/11/2012
                                                                   8:30am PT/10:30am CT)," with attachment.
                                                                   Email with subject "Clinical Guideline Process - 888/844-7278, 7326539," with
  339          UBHWIT0150744          UBHWIT0150754   5/29/2012
                                                                   attachments.
  340          UBHWIT0163050          UBHWIT0163052   5/29/2012    Email chain with subject "cdgs and locgs."
  341          UBHWIT0048692          UBHWIT0048695   6/15/2012    Email chain with subject "PHP w/Boarding."
  342          UBHWIT0243890          UBHWIT0243890   6/18/2012    Email with subject "Denial process documentation."                               Bonfield Ex. 12
  343          UBHWIT0233708          UBHWIT0233732   6/20/2012    Email with subject "2012 IRR Report - (Company-Wide)," with attachment.
  344          UBHWIT0243910          UBHWIT0243912   6/21/2012    Email with subject "CDG Citations."
  345          UBHWIT0181177          UBHWIT0181181   6/25/2012    Email with subject "Partial Hospital LOCGs wcb 6-25-12," with attachment.        Niewenhous Ex. 44
                                                                                                                                                    Brock Ex. 2; Robinson
  346          UBHWIT0423594          UBHWIT0423598   7/16/2012    Email chain with subject "ASAM PPC-2R."
                                                                                                                                                    Beale Ex. 10
  347          UBHWIT0048626          UBHWIT0048628   7/17/2012    Email chain with subject "Use of ASAM criteria Poll."
  348          UBHWIT0048639          UBHWIT0048642   7/18/2012    Email chain with subject "Use of ASAM criteria Poll."
  349          UBHWIT0460235          UBHWIT0460242   7/18/2012    Email chain with subject "ASAM PPC-2R."                                          Brock Ex. 3
  350          UBHWIT0538769          UBHWIT0538782   7/18/2012    Email chain with subject "ASAM for IL Commercial Members," with attachment.
  351          UBHWIT0224612          UBHWIT0224632   7/24/2012    Email chain with subject "ASAM Requirements."
  352          UBHWIT0223209          UBHWIT0223216   8/16/2012    Email with no subject, with attachments.
  353          UBHWIT0537741          UBHWIT0537757   9/19/2012    Email chain with subject "ASAM for IL Commercial Members."
  354          UBHWIT0254423          UBHWIT0254424   10/17/2012   Email chain with subject "Custodial Cases and PHP."
  355          UBHWIT0142236          UBHWIT0142237   11/8/2012    Email chain with subject "LOCGs revisions."                                         Niewenhous Ex. 47
  356          UBHWIT0226485          UBHWIT0226505   11/21/2012   Email chain with subject "CDG for Inpatient LOC."
               UBHWIT0235322          UBHWIT0235322
               UBHWIT0235323          UBHWIT0235332
  357          UBHWIT0235605          UBHWIT0235628   11/28/2012   Email with subject "Briefing on Custodial Care (1111 Draft 3)," with attachments.
               UBHWIT0235652          UBHWIT0235687
               UBHWIT0235688          UBHWIT0235702
  358          UBHWIT0285514          UBHWIT0285517   12/11/2012   Email chain with subject "Legal Analysis of Jimmo v. Sebelius."
                                                                                                                                                       Niewenhous Ex. 28
  359          UBHWIT0124574          UBHWIT0124576    1/1/2013    "2013 Optum/USBHPC Guidelines - Substantial Changes from the 2012 Edition"
  360          UBHWIT0458081          UBHWIT0458084    1/4/2013    Email chain with subject "A question re LOC Guidelines."
  361          UBHWIT0170191          UBHWIT0170191    1/8/2013    Email with subject "2013 Revised LOCGs (Draft)."                                    Niewenhous Ex. 42
                                                                   Email with subject "2013 LOC Guidelines (OH USBHPC Draft 1 Single Set w
  362          UBHWIT0142531          UBHWIT0142620    1/9/2013
                                                                   Annotations) (2)," with attachment.




                                                                                                                    10 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 11 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                      Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                        Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                              Evidence            Evidence
  363          UBHWIT0076020          UBHWIT0076022   1/16/2013   2013 Inter-Rater Reliability Measurement Plan                                  Beaty Ex. 14
  364          UBHWIT0047655          UBHWIT0047658    2/6/2013   Email chain with subject "A&D Treatment."
  365          UBHWIT0047659          UBHWIT0047668    3/1/2013   Email chain with subject "Urgent: McMaster."
                                                                  Email with subject "BPAC - Q4 12 Quarterly Report to NQC (Draft 1).pptx," with
  366          UBHWIT0160826          UBHWIT0160829   3/7/2013
                                                                  attachment.
               UBHWIT0124570          UBHWIT0124570
               UBHWIT0124571          UBHWIT0124573
  367                                                 3/19/2013   Email with subject "For Out 2 ET Call," with attachments.
               UBHWIT0124574          UBHWIT0124576
               UBHWIT0124577          UBHWIT0124579
  368          UBHWIT0173806          UBHWIT0173812   3/19/2013   BPAC Minutes
                                                                  Email with subject "BPAC - Q3-Q4 12 Quarterly Report to NQC - FINAL.pptx,"
  369          UBHWIT0124842          UBHWIT0124845   3/26/2013
                                                                  with attachment.
                                                                  Email with subject "ASAM Criteria (considerations for Adopting 0413)," with
  370          UBHWIT0416547          UBHWIT0416549   4/1/2013
                                                                  attachment.
                                                                  Email chain with subject "Major Problem with CDG Residential Rehab
  371          UBHWIT0049678          UBHWIT0049682   4/18/2013
                                                                  Guidelines."
  372          UBHWIT0277717          UBHWIT0277719   4/19/2013   Email chain with subject "IOP CDGS - Question."
  373          UBHWIT0278804          UBHWIT0278806   4/23/2013   Email chain with subject "IOP CDGs - Question."
  374          UBHWIT0670067          UBHWIT0670170   5/15/2013   Email chain with subject "New CT UM regulations," with attachments.
  375          UBHWIT0103197          UBHWIT0103197   5/21/2013   Email with subject "Implementing CT UR Reg - 888/844-7278, 7326539."               Niewenhous Ex. 31
               UBHWIT0150808          UBHWIT0150809
                                                                  Email with subject "Implementing CT UR Reg - 888/844-7278, 7326539," with
  376          UBHWIT0150810          UBHWIT0150817   5/28/2013
                                                                  attachments.
               UBHWIT0150893          UBHWIT0150910
                                                                  Email chain with subject "ASAM cost analysis under way --> need feedback on any
  377          UBHWIT0420840          UBHWIT0420842   5/28/2013
                                                                  accounts that use ASAM."
                                                                  Email chain with subject "Implementing CT UR Reg - 888/844-7278, 7326539,"
  378          UBHWIT0529923          UBHWIT0530025   5/28/2013
                                                                  with attachments.
                                                                  Optum Standard Operating Procedure for Development of Coverage Determination
  379          UBHWIT0306849          UBHWIT0306854   6/3/2013
                                                                  Guidelines
                                                                                                                                                     Brock Ex. 8 (same doc
  380          UBHWIT0211381          UBHWIT0211392   6/4/2013    Email chain with subject "New Jersey Clinical Build."
                                                                                                                                                     without bates)
                                                                  Email with subject "SUDs Team 2- Clinical Policies and Protocols," with
  381          UBHWIT0418855          UBHWIT0418857   6/9/2013
                                                                  attachments.
                                                                  Email with subject "SUDs Team 2- Clinical Policies and Protocols," with
  382          UBHWIT0383738          UBHWIT0383739   6/10/2013
                                                                  attachment.
  383          UBHWIT0158862          UBHWIT0158870   6/16/2013   Email with subject "Q1 PPC and BPAC Updates," with attachments.
  384          UBHWIT0167972          UBHWIT0167975   6/18/2013   Email chain with subject "Unique Guidelines for NJ Medicaid."
  385          UBHWIT0047611          UBHWIT0047612    7/9/2013   Email chain with subject "Appeal Review Question."
  386          UBHWIT0050461          UBHWIT0050463   7/26/2013   Email chain with subject "Metric of the Month - Inter-rater Reliability Report."
                                                                  Email chain with subject "Revised Introduction to the Level of Care Guidelines,"
  387          UBHWIT0173484          UBHWIT0173494   7/26/2013
                                                                  with attachment.
                                                                                                                                                     Brock Ex. 12; Regan Ex.
  388          UBHWIT0416942          UBHWIT0416950   8/12/2013   Email chain with subject "BenEx Impact of Adopting Medicare NCDs and LCDs."
                                                                                                                                                     16
                                                                  Email with subject "Review Connecticut Guideline Requirement Solution," with
  389          UBHWIT0211008          UBHWIT0211009   8/16/2013
                                                                  attachment.
  390          UBHWIT0123422          UBHWIT0123429   8/20/2013   Email chain with subject "BenEx Impact of Adopting Medicare NCDs and LCDs."
                                                                  Email chain with subject "Discussion on LOCG and CDG Process (**new date** Robinson Beale Ex. 7
  391          UBHWIT0168021          UBHWIT0168021   8/20/2013
                                                                  9/20/13 @2pm PT / 4pm CT."
  392          UBHWIT0101723          UBHWIT0101723   8/26/2013   Email with subject "ASAM adoption and Benefit impact."
  393          UBHWIT0211241          UBHWIT0211279   8/29/2013   Email with subject "While I'm Away," with attachments.
                                                                  Email chain with subject "More on the CT Crosswalk and letter language," with
  394          UBHWIT0671144          UBHWIT0671153   8/29/2013
                                                                  attachment.
                                                                  Email chain with subject "Jimmo v. Sebelius Settlement Agreement Fact
  395          UBHWIT0676660          UBHWIT0676663   8/31/2013
                                                                  Sheet_Implementation Needed," with attachments.
                                                                  PowerPoint entitled "2013 Optum Inter-Rater Reliability Measure Report," Quality
  396          UBHWIT0076350          UBHWIT0076350   9/1/2013
                                                                  Management and Improvement Department
  397          UBHWIT0123243          UBHWIT0123253   9/4/2013    Email chain with subject "BenEx Impact of Adopting Medicare NCDs and LCDs."
  398          UBHWIT0211817          UBHWIT0211819   9/4/2013    Email with subject "CT: Addressing Guideline Deviations," with attachment.
  399          UBHWIT0120864          UBHWIT0120865   9/9/2013    Email with subject "Review CT Crosswalk," with attachment.
  400          UBHWIT0125054          UBHWIT0125056   9/9/2013    Email with subject "Medicare guideline adoption," with attachment.
  401          UBHWIT0143389          UBHWIT0143397   9/9/2013    Email with subject "Quarterly Updates for QIC," with attachments.
                                                                                                                                                     Niewenhous Ex. 32;
  402          UBHWIT0125062          UBHWIT0125063   9/12/2013   Email with subject "UR Deficiency #3-Guidelines," with attachment.
                                                                                                                                                     Robinson Beale Ex. 16




                                                                                                                   11 of 40
                                            Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 12 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                         October 17, 2017
Trial Ex.                                                                                                                                                                        Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                         Depo. Exhibit(s)                                                 Limitations on Use
  No.                                                                                                                                                                                Evidence            Evidence
                                                                   Email chain with subject "suggestion for adding stock language from outpt LOCG
  403          UBHWIT0385517          UBHWIT0385521   10/7/2013
                                                                   to consolidated CDGs," with attachment.
  404          UBHWIT0470727          UBHWIT0470729   10/7/2013    Email chain with subject "Optum Guidelines."
  405          UBHWIT0168191          UBHWIT0168193   10/8/2013    Email with subject "Update NCD/LCD Powerpoint," with attachments.              Triana (5-10-17) Ex. 16
               UBHWIT0436309          UBHWIT0436310                                                                                               Niewenhous Ex. 50;
               UBHWIT0436311          UBHWIT0436311                                                                                               Rockswold Ex. 30
  406          UBHWIT0436312          UBHWIT0436319   10/25/2013   Email with subject "Residential TX project - next steps," with attachments.
               UBHWIT0436320          UBHWIT0436320
               UBHWIT0436321          UBHWIT0436321
                                                                                                                                                     Robinson Beale Ex. 17
  407          UBHWIT0431552          UBHWIT0431555   10/30/2013   Email chain with subject "Statement of Work for Jerry Shulman >>final version."
                                                                                                                                                     Triana (5-10-17) Ex. 27;
               UBHWIT0121008          UBHWIT0121009                Email with subject "Review of Chances to 2014 Level of Care Guidelines," with     Niewenhous Ex. 45;
  408                                                 11/1/2013
               UBHWIT0121114          UBHWIT0121114                attachments.                                                                      looks like longer copy is
                                                                                                                                                     at Regan Ex. 5
  409          UBHWIT0431730          UBHWIT0431732   11/4/2013    Email chain with subject "Optum Guidelines **updated contract>>Shulman**"         Robinson Beale Ex. 18
                                                                                                                                                     Robinson Beale Ex. 12;
  410          UBHWIT0432230          UBHWIT0432231   11/27/2013   Email chain with subject "Area of confusion."
                                                                                                                                                     Alam Ex. 13
                                                                   Report by Gerald Shulman entitled "Some Issues and Recommendations about          Alam Ex. 12
  411          UBHWIT0390726          UBHWIT0390728   11/29/2013
                                                                   ASAM's Residential and Inpatient Levels of Care for Consideration by Optum"
                                                                   OptumHealth Confidential Independent Consultant Agreement with Gerald             Fishman Ex. 12
  412              No Bates              No Bates     12/2/2013
                                                                   Shulman
                                                                   Email with subject "BPAC - Q3 13 Quarterly Report to NQC - FINAL.pptx," with
  413          UBHWIT0100801          UBHWIT0100802   12/9/2013
                                                                   attachment.
  414          UBHWIT0390773          UBHWIT0390774   12/12/2013   Optum/ASAM Crosswalk                                                              Alam ex. 11
                                                                   Email with subject "Review of Changes to 2014 Level of Care Guidelines," with
  415          UBHWIT0387414          UBHWIT0387527   12/16/2013
                                                                   attachments.
  416          UBHWIT0168297          UBHWIT0168300   12/18/2013   Email chain with subject "RI SA Residential Grid Comparison."
  417                                                              INTENTIONALLY LEFT BLANK
  418                                                              INTENTIONALLY LEFT BLANK
  419          UBHWIT0541800          UBHWIT0541910    1/3/2014    Email with subject "RBR Meeting on the 14th About ASAM," with attachment.         Regan Ex. 17
                                                                   Email with subject "Summary of the action items from ASAM and Our LOCG            Robinson Beale Ex. 14
  420          UBHWIT0106781          UBHWIT0106782   1/14/2014
                                                                   Guideline comparison."
               UBHWIT0211012          UBHWIT0211013
               UBHWIT0211017          UBHWIT0211019
  421          UBHWIT0211077          UBHWIT0211078   1/14/2014    Email with subject "SUDs Team 2 Touch Point," with attachments.
               UBHWIT0211126          UBHWIT0211126
               UBHWIT0211127          UBHWIT0211127
  422          UBHWIT0461260          UBHWIT0461265   1/17/2014    Email chain with subject "ASAM Criteria Costs."
  423          UBHWIT0076374          UBHWIT0076380   1/21/2014    BPAC Minutes
                                                                   Email with subject "SUDS Presentation on ASAM (2014 Draft).pptx," with            Regan Ex. 10
  424          UBHWIT0450271          UBHWIT0450272   1/21/2014
                                                                   attachment.
  425          UBHWIT0389316          UBHWIT0389317   1/22/2014    Email chain with subject "For 1/21 1:1."
  426          UBHWIT0106675          UBHWIT0106677   1/24/2014    Email with subject "SUDs - Annual Review Deck."
  427          UBHWIT0106358          UBHWIT0106390    2/4/2014    Email with subject "CDGs and lit reviews," with attachments.
               UBHWIT0106749          UBHWIT0106750
  428          UBHWIT0106752          UBHWIT0106754    2/6/2014    Email with subject "ASAM proposal deck for BPAC," with attachment.
               UBHWIT0106756          UBHWIT0106772
               UBHWIT0129098          UBHWIT0129099
  429          UBHWIT0129100          UBHWIT0129100   2/10/2014    Email with subject "For Our 2/11 1:1," with attachments.
               UBHWIT0129101          UBHWIT0129101
  430          UBHWIT0421589          UBHWIT0421594   2/10/2014    Email chain with subject "ASAM adoption."
  431          UBHWIT0423393          UBHWIT0423397   2/10/2014    Email chain with subject "SUDs - Training."
  432          UBHWIT0277769          UBHWIT0277840   2/17/2014    Email with subject "For Our 2/18 1:1," with attachments.
                                                                   Email chain with subject "Review BPAC Deck for Adopting ASAM Criteria," with Alam Ex. 7; Bonfield 14
  433          UBHWIT0390708          UBHWIT0390710   2/17/2014
                                                                   attachment.                                                                  (excerpt)
  434          UBHWIT0090266          UBHWIT0090271   2/18/2014    BPAC Minutes
                                                                   Email with subject "SUDs - 2013 Accomplishments / 2014 Initiatives," with    Alam Ex. 6; Motz Ex. 7
  435          UBHWIT0107047          UBHWIT0107049   2/20/2014
                                                                   attachment.                                                                  (just email)
  436          UBHWIT0129683          UBHWIT0129686   2/24/2014    Email with subject "Changes to 2014 Guidelines," with attachment.            Niewenhous Ex. 29
  437          UBHWIT0264479          UBHWIT0264483   2/24/2014    Email chain with subject "Medical Necessity Definition for BH LOCG."
                                                                   Email chain with subject "Medical Necessity Definition for BH LOCG," with
  438          UBHWIT0277841          UBHWIT0277848   2/24/2014
                                                                   attachment.
  439          UBHWIT0542776          UBHWIT0542782   2/26/2014    Email chain with subject "Medical Necessity Definition for BH LOCG."         Triana (5-10-17) Ex. 26
  440          UBHWIT0672074          UBHWIT0672080   2/26/2014    Email chain with subject "Medical Necessity Definition for BH LOCG."
  441          UBHWIT0436022          UBHWIT0436029    3/6/2014    Email with subject "Residential Close out," with attachments.
  442          UBHWIT0103665          UBHWIT0103672   3/19/2014    Email chain with subject "18-26 cohort, possible 15-26," with attachments.




                                                                                                                   12 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 13 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                         October 17, 2017
Trial Ex.                                                                                                                                                                     Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                          Description                                      Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                             Evidence            Evidence
  443          UBHWIT0428456          UBHWIT0428465   3/28/2014    Email chain with subject "18-26 cohort, possible 15-26."
  444          UBHWIT0428557          UBHWIT0428560   3/31/2014    Email chain with subject "18-26 Cohort," with attachment.
                                                                   Optum Medicare Coverage Summary for Psychiatric and Psychological Outpatient
  445          UBHWIT0365527          UBHWIT0365544    4/1/2014
                                                                   Services
                                                                   Email chain with subject "For 4/11 National UM Committee: USBHPC UM
  446          UBHWIT0101214          UBHWIT0101253    4/7/2014
                                                                   Evaluation and UMPD - San Francisco," with attachment.
               UBHWIT0527848          UBHWIT0527849
               UBHWIT0527850          UBHWIT0527850
                                                       4/7/2014
  447          UBHWIT0527851          UBHWIT0527873                Email with subject "For Our 4/8 1:1," with attachments.
               UBHWIT0527874          UBHWIT0527875
               UBHWIT0527876          UBHWIT0527901
                                                                   Email with subject "Review of LOC and ASAM New Hire Modules," with
  448          UBHWIT0412250          UBHWIT0412253   5/19/2014
                                                                   attachments.
  449          UBHWIT0543806          UBHWIT0543810   5/19/2014    Email chain with subject "For Our Next 1:1," with attachment.
               UBHWIT0396995          UBHWIT0396996
  450                                                 5/20/2014    Email with subject "Please Add a Guideline Page to inSite," with attachment.
               UBHWIT0396997          UBHWIT0396997
  451          UBHWIT0429210          UBHWIT0429211    6/6/2014    Email with subject "SUD quarterly update," with attachment.
  452          UBHWIT0429334          UBHWIT0429338   6/10/2014    Email chain with subject "Quarterly SUD Updates," with attachments.
  453          UBHWIT0459982          UBHWIT0459982   6/16/2014    Email chain with subject "ASAM Announcement in RMD."                            Regan Ex. 15
  454          UBHWIT0171933          UBHWIT0171934   6/25/2014    Email chain with subject "BPAC."
  455          UBHWIT0174398          UBHWIT0174399    7/3/2014    Email with subject "For Our Next 1:1."
  456          UBHWIT0545517          UBHWIT0545523   7/11/2014    Email with subject "For Our Next 1:1," with attachment.
  457          UBHWIT0459094          UBHWIT0459095   7/16/2014    Email chain with subject "Language For the Custodial Document."
                                                                   Email chain with subject "Oclinical Feedback on: PUMA Outcome Tab
  458          UBHWIT0209461          UBHWIT0209468   7/24/2014
                                                                   Documentation QRG Commercial and Medicaid(.doc)."
                                                                   Email chain with subject "For Review: Fact Sheet for Using Evidence Based
  459          UBHWIT0236699          UBHWIT0236711   7/30/2014
                                                                   Practices," with attachments.
                                                                   Email chain with subject "For Review: Fact Sheet for Using Evidence Based
  460          UBHWIT0240254          UBHWIT0240265   7/30/2014
                                                                   Practices."
                                                                   Email chain with subject "Tomorrow's Eating Disorder Weekly Team Status
  461          UBHWIT0692136          UBHWIT0692138   7/30/2014
                                                                   Update Mtg," with attachments.
  462          UBHWIT0047564          UBHWIT0047567    9/3/2014    Email chain with subject "ASAM A criteria adoption."
               UBHWIT0102598          UBHWIT0102601                                                                                                Triana (5-10-17) Ex. 15
  463                                                  9/3/2014    Email chain with subject "ASAM A criteria adoption," with attachments.
               UBHWIT0102610          UBHWIT0102610
  464          UBHWIT0253754          UBHWIT0253757    9/3/2014    Email chain with subject "ASAM A criteria adoption."
  465          UBHWIT0406094          UBHWIT0406100   9/11/2014    Email chain with subject "Request for unbudgeted FTE."
                                                                   Email with subject "RI ASAM Weekly Implementation Call 091514," with
  466          UBHWIT0285360          UBHWIT0285375   9/15/2014
                                                                   attachment.
  467          UBHWIT0222172          UBHWIT0222173   9/23/2014    Email with subject "Transitioning to ASAM."                                      Brock Ex. 6
                                                                   Email chain with subject "Changing from our internally derived UM guidelines for Brock Ex. 7; Motz Ex. 8
  468          UBHWIT0429605          UBHWIT0429606   9/26/2014
                                                                   SUDs to ASAM criteria."
  469          UBHWIT0420715          UBHWIT0420716   10/1/2014    Email chain with subject "Transitioning to ASAM."
  470          UBHWIT0691851          UBHWIT0691863   10/6/2014    Email chain with subject "IL14-09498 EXPEDITED external Review - #secure#."
                                                                   Email from Victoria Gorski to Larhonda Jones, Scott Beardsley, Murray Zucker,   Triana Dep. Ex. 16
  471          UBHWIT0046343          UBHWIT0046345   10/7/2014    Carlin Barnes re ED Clinical Audit Discussion Mtg notes 10-7-14 (with
                                                                   attachment).
                                                                   Email chain with subject: "RE: IL 14-09498 EXPEDITED external Review -
  472          UBHWIT0692166          UBHWIT0692182   10/22/2014
                                                                   #secure#," with attachments.
                                                                   Email with subject "CONFIDENTIAL - Information Related to Guideline
  473          UBHWIT0101377          UBHWIT0101378   10/28/2014
                                                                   Development and Application."
  474          UBHWIT0092328          UBHWIT0092333   10/28/2014   BPAC Minutes
  475          UBHWIT0167684          UBHWIT0167685   10/28/2014   Email with subject "Wit."
  476          UBHWIT0113412          UBHWIT0113413   10/31/2014   Email chain with subject "idea."
  477          UBHWIT0365463          UBHWIT0365488   11/1/2014    Optum Medicare Coverage Summary for Alcohol and Substance Abuse Treatment
                                                                   Email chain with subject "LOCGs for psychosocial rehabilitation updated draft
  478          UBHWIT0410072          UBHWIT0410076   11/14/2014
                                                                   11.12.14."
  479          UBHWIT0410663          UBHWIT0410668   12/2/2014    Email chain with subject "PSR LOCG."
  480          UBHWIT0411083          UBHWIT0411084   12/8/2014    Email chain with subject "For Our Next 1:1."                                    Regan Ex. 13
                                                                   Email with subject "Review Input for 2015 Guidelines - 763/957-6300, 3019304," Regan Ex. 6
  481          UBHWIT0102048          UBHWIT0102183    1/5/2015
                                                                   with attachments.
  482          UBHWIT0076458          UBHWIT0076467   1/20/2015    BPAC Minutes
                                                                   Email chain with subject "Yes -- its in ASAM criteria -- and quoted in CDG- our
  483          UBHWIT0506236          UBHWIT0506238   2/27/2015
                                                                   Med nec guidelines are silent on this."




                                                                                                                    13 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 14 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                         October 17, 2017
Trial Ex.                                                                                                                                                                       Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                          Depo. Exhibit(s)                                               Limitations on Use
  No.                                                                                                                                                                               Evidence            Evidence
                                                                   Email chain with subject "Yes -- its in ASAM criteria -- and quoted in CDG- our
  484          UBHWIT0506239          UBHWIT0506241   2/27/2015
                                                                   Med nec guidelines are silent on this."
                                                                   Email chain with subject "Yes -- its in ASAM criteria -- and quoted in CDG- our
  485          UBHWIT0506246          UBHWIT0506249   2/27/2015
                                                                   Med nec guidelines are silent on this."
  486          UBHWIT0512134          UBHWIT0512138    3/9/2015    Email with subject "2015 LOCG UPDATE TRAINING," with attachment.                   Niewenhous Ex. 30
  487          UBHWIT0473693          UBHWIT0473714   3/13/2015    Email chain with subject "LOCG workgroup- HCBS NYS," with attachment.
  488          UBHWIT0474022          UBHWIT0474023   3/18/2015    Email with subject "Med Nec v Coverage Review."
  489          UBHWIT0474024          UBHWIT0474029   3/18/2015    Email chain with subject "LOCG workgroup- HCBS NYS."
  490          UBHWIT0474030          UBHWIT0474036   3/18/2015    Email chain with subject "LOCG workgroup- HCBS NYS."                               Niewenhous Ex. 14
  491             No Bates               No Bates     3/29/2015    UnitedHealthcare White Paper, Patient Centered Care Model, by Dr. Sam Ho
                                                                   Email chain with subject "Yes -- its in ASAM criteria -- and quoted in CDG- our
  492          UBHWIT0512065          UBHWIT0512071    5/5/2015
                                                                   Med nec guidelines are silent on this."
               UBHWIT0596541          UBHWIT0596542
               UBHWIT0596551          UBHWIT0596579
  493          UBHWIT0596583          UBHWIT0596587   5/26/2015    Email with subject "For Our Next 1:1."
               UBHWIT0596639          UBHWIT0596639
               UBHWIT0596640          UBHWIT0596640
  494          UBHWIT0365753          UBHWIT0365778    6/1/2015    Optum Medicare Coverage Summary for Alcohol and Substance Abuse Treatment
               UBHWIT0464024          UBHWIT0464024                                                                                                   Patterson Ex. 2
  495          UBHWIT0464025          UBHWIT0464025    7/9/2015    Email with subject "Pete Brock/Martha Temple - Meet & Greet," with attachments.
               UBHWIT0464026          UBHWIT0464026
                                                                   Email with subject "Briefing on Guidelines - Jerry and Bruce Will Call Diane," with
  496          UBHWIT0480034          UBHWIT0480047   7/17/2015
                                                                   attachments.
                                                                   Optum Medicare Coverage Summary for Psychiatric and Psychological Outpatient
  497          UBHWIT0094093          UBHWIT0094112    8/1/2015
                                                                   Services
  498          UBHWIT0290036          UBHWIT0290038    9/2/2015    Evidence Base; APA Style Guide Creatsheet For Guidelines
  499          UBHWIT0506530          UBHWIT0506532    9/8/2015    Email chain with subject "SUDS Product Strategy."
                                                                   Turnaround Time and Lenth of Stay Statistics, Dates 1/1/2011 - 12/31/2014,
  500          UBHWIT0064380          UBHWIT0064380   9/21/2015
                                                                   Updated: 9/21/15
  501          UBHWIT0482192          UBHWIT0482194   9/30/2015    Email chain with subject "Clinical Services."
  502          UBHWIT0482318          UBHWIT0482321   10/2/2015    Email chain with subject "Clinical Services."
  503          UBHWIT0510221          UBHWIT0510221   10/28/2015   Email chain with subject, "IOP Substance Abuse Medical Necessity Criteria."
                                                                   Email chain with subject "SA IOP Guideline - Requiring Urgent Ad Hoc BPAC
  504          UBHWIT0703003          UBHWIT0703012   11/4/2015
                                                                   Vote."
                                                                   Email chain with subject "SA IOP Guideline - Requiring Urgent Ad Hoc BPAC
  505          UBHWIT0704925          UBHWIT0704926   11/5/2015
                                                                   Vote."
  506          UBHWIT0530936          UBHWIT0530938   11/6/2015    Email with subject "Follow-up for the CT DOI," with attachments.                    Niewenhous ex. 35
                                                                   Email chain with subject "Clinical Services IL Mental Health and Substance Abuse
  507          UBHWIT0483254          UBHWIT0483258   11/6/2015
                                                                   Disorders."
  508          UBHWIT0534644          UBHWIT0534657   11/6/2015    Email chain with subject "Follow-up for the CT DOI of 11-6-15," with attachment.
                                                                   Email chain with subject "11.6.15 Clinical Services IL Mental Health and
  509          UBHWIT0484345          UBHWIT0484351   11/30/2015
                                                                   Substance Abuse Disorders."
  510          UBHWIT0591596          UBHWIT0591604   12/2/2015    Email chain with subject "IL DOI Mental Health/Substance Abuse Meeting."
  511          UBHWIT0601661          UBHWIT0601669   12/2/2015    Email chain with subject "IL DOI Mental Health/Substance Abuse Meeting."
                                                                                                                                                      Niewenhous Ex. 13;
  512          UBHWIT0072617          UBHWIT0072617   12/9/2015    PowerPoint presentation with title "OptumHealth Guideline Touchbase Call."         Triana (1-28-16) Ex. 5;
                                                                                                                                                      Urban Ex. 10
               UBHWIT0487362          UBHWIT0487365                                                                                                   Niewenhous Ex. 26
  513          UBHWIT0487511          UBHWIT0487511   12/30/2015   Email with subject "2016 Standard Guideline Updates," with attachments.
               UBHWIT0487524          UBHWIT0487527
                                                                   Email with subject "New Guidelines For Management of SUD PHP & IOP," with
  514          UBHWIT0510906          UBHWIT0510938    1/4/2016
                                                                   attachments.
  515          UBHWIT0512250          UBHWIT0512252    1/5/2016    BPAC Minutes
               UBHWIT0534274          UBHWIT0534278                                                                                                   Triana (5-10-17) Ex. 28
  516          UBHWIT0534424          UBHWIT0534424    1/8/2016    Email chain with subject "Review Input," with attachments.
               UBHWIT0534437          UBHWIT0534440
  517          UBHWIT0507848          UBHWIT0507850   1/12/2016    Email chain with subject "Guideline Input Call Highlights."
  518          UBHWIT0507976          UBHWIT0507979   1/15/2016    Email chain with subject "Guideline Input Call Highlights."
  519          UBHWIT0512253          UBHWIT0512265   1/19/2016    BPAC Minutes
                                                                   Email chain with subject "SUDs CDG Revision Recommendations," with
  520          UBHWIT0508407          UBHWIT0508441   2/12/2016
                                                                   attachment.
                                                                   Email chain with subject "New 2016 LOC Guidelines and HPHC," with                  Niewenhous Dep. Ex. 46
  521          UBHWIT0490437          UBHWIT0490443   2/19/2016
                                                                   attachment.




                                                                                                                   14 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 15 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                          Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                          Depo. Exhibit(s)                                                  Limitations on Use
  No.                                                                                                                                                                                  Evidence            Evidence
                                                                                                                                                      Niewenhous Ex. 15;
  522          UBHWIT0490444          UBHWIT0490451   2/19/2016   Email chain with subject "feedback needed," with attachment.
                                                                                                                                                      Wetherbee Ex. 1
                                                                  Email with subject "ASAM Criteria (considerations for Adopting 0413)," with
  523          UBHWIT0490452          UBHWIT0490454   2/19/2016
                                                                  attachment.
                                                                                                                                                      Triana (5-10-17) Ex. 18;
  524          UBHWIT0508668          UBHWIT0508671   2/19/2016   Email chain with subject "ASAM Guidelines."                                         Bonfield Ex. 15; Keytel
                                                                                                                                                      Ex. 11
                                                                  Email with subject "Urgent Meeting: Change in OON Claims Processing Request,"
  525          UBHWIT0605453          UBHWIT0605456   2/19/2016
                                                                  with attachments.
                                                                  Email with subject "SUDS Presentation of ASAM (2014 Draft).pttx," with        Niewenhous Ex. 12
  526          UBHWIT0490455          UBHWIT0490456   2/22/2016
                                                                  attachment.
                                                                                                                                                Triana (5-10-17) Ex. 19;
                                                                                                                                                copy of this without
  527          UBHWIT0534442          UBHWIT0534443   2/24/2016   Email with subject "OPTUM ASAM," with attachment.
                                                                                                                                                attachment at Motz Ex. 9

  528          UBHWIT0606160          UBHWIT0606198   2/24/2016   Email with subject "ASAM v3," with attachment.
  529          UBHWIT0491005          UBHWIT0491007   2/29/2016   Email with subject "Potential Criteria Change - Impact on Network [sic]."
  530          UBHWIT0491028          UBHWIT0491036    3/1/2016   Email chain with subject " Online ASAM Criteria."                                   Wetherbee Ex. 2
                                                                  Email with subject "ASAM Criteria for Substance Disorders (0216).pptx," with        Wetherbee Dep. Ex. 04
  531          UBHWIT0491039          UBHWIT0491041   3/2/2016
                                                                  attachment.
  532          UBHWIT0509420          UBHWIT0509426   3/3/2016    Article entitled "Utilization Management in Context."                               Bonfield Ex. 1
                                                                  Email chain with subject "Potential Criteria Change - Impact on Network [sic],"
  533          UBHWIT0491066          UBHWIT0491073   3/6/2016
                                                                  with attachment.
               UBHWIT0508720          UBHWIT0508722                                                                                                   Bonfield Ex. 9 (just bates
               UBHWIT0508723          UBHWIT0508723                                                                                                   508723)
               UBHWIT0508790          UBHWIT0508790
               UBHWIT0508791          UBHWIT0508832
               UBHWIT0508841          UBHWIT0508841
                                                                  Email with subject: "Redesign BH UM Process Workshop 1: Current State," with
  534          UBHWIT0508842          UBHWIT0508848   3/8/2016
                                                                  attachments.
               UBHWIT0508872          UBHWIT0508874
               UBHWIT0508875          UBHWIT0508875
               UBHWIT0508898          UBHWIT0508943
               UBHWIT0508971          UBHWIT0508971
               UBHWIT0508972          UBHWIT0508972
               UBHWIT0509389          UBHWIT0509392
               UBHWIT0509415          UBHWIT0509415
               UBHWIT0509416          UBHWIT0509418
               UBHWIT0509419          UBHWIT0509419
               UBHWIT0509420          UBHWIT0509426
  535          UBHWIT0509427          UBHWIT0509427   3/10/2016   Email chain with subject "Buckets," with attachments.
               UBHWIT0509428          UBHWIT0509428
               UBHWIT0509429          UBHWIT0509436
               UBHWIT0509479          UBHWIT0509479
               UBHWIT0509590          UBHWIT0509590
               UBHWIT0509660          UBHWIT0509660
  536          UBHWIT0533962          UBHWIT0533969   3/22/2016   Email chain with subject "PHP LOC guidelines," with attachment.
  537          UBHWIT0494755          UBHWIT0494757   3/30/2016   Email chain with subject "follow up question on active treatment."
  538          UBHWIT0495184          UBHWIT0495186    4/5/2016   Email with subject "Background for Escalated Member Case."
  539          UBHWIT0603157          UBHWIT0603196    4/5/2016   Email chain with subject "Escalated member case."
  540          UBHWIT0533993          UBHWIT0534000    5/3/2016   Email with subject "For Our 1:1," with attachments.
  541          UBHWIT0603757          UBHWIT0603759    5/4/2016   Email chain with subject "IOP 'Lite'."
  542          UBHWIT0608255          UBHWIT0608260   5/20/2016   Email chain with subject "RM Whitepaper Draft," with attachment.                Rockswold Ex. 25
  543          UBHWIT0512295          UBHWIT0512298   5/24/2016   BPAC Minutes
                                                                  Email chain with subject "Proposed Revisions to Escalation LOS Rules - Approval
  544          UBHWIT0606103          UBHWIT0606105   6/2/2016
                                                                  Required."
  545          UBHWIT0647569          UBHWIT0647570   6/9/2016    Optum Behavioral Utilization Management Committee Charter (UMC)
  546          UBHWIT0619577          UBHWIT0619587   6/22/2016   Email chain with subject "Connecticut Clinical Review Criteria," with attachment.
  547          UBHWIT0611473          UBHWIT0611490   7/15/2016   Email chain with subject "Mercer/PHP PEBB/SDT item," with attachments.
  548          UBHWIT0705442          UBHWIT0705471   7/22/2016   Email chain with subject "Monthly Product Summit on SUD," with attachments.
  549          UBHWIT0705269          UBHWIT0705296   7/25/2016   Email chain with subject "Monthly Product Summit on SUD," with attachments.
  550          UBHWIT0623988          UBHWIT0623988   8/5/2016    MD Peer Reviewer Results: Clinical Documentation Review 1st-2nd Quarter 2016
  551          UBHWIT0611996          UBHWIT0612004   8/8/2016    Email with subject "Other Guideline Tasks," with attachments.
  552          UBHWIT0711283          UBHWIT0711293   8/9/2016    UMC Minutes                                                                         Rockswold Dep. Ex. 02
                                                                  Email with subject "2017 UM Program Description - 763/957-6300, 3019304,"
  553          UBHWIT0632821          UBHWIT0632865   9/6/2016
                                                                  with attachments.




                                                                                                                   15 of 40
                                            Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 16 of 40


                                                                               Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                            Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                                   Joint Trial Exhibit List
                                                                                                              October 17, 2017
Trial Ex.                                                                                                                                                                       Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates         Date                                            Description                                        Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                               Evidence            Evidence
  554          UBHWIT0509968          UBHWIT0509971    9/21/2016       Email chain with subject "on wishlist for 2017 Optum guideline develoment."
                                                                       Optum Medicare Coverage Summary for Psychiatric and Psychological Outpatient
  555          UBHWIT0616153          UBHWIT0616169    10/1/2016
                                                                       Services
  556          UBHWIT0710932          UBHWIT0710939    10/11/2016      UMC Minutes                                                                  Rockswold Dep. Ex. 04
                                                                       Email chain with subject "ASAM State of the Art course in Addiction Medicine
  557          UBHWIT0510001          UBHWIT0510003    10/18/2016
                                                                       2016."
  558          UBHWIT0710128          UBHWIT0710147    11/8/2016       Email chain with subject "CA DOI challenges to OP Prior Auth," with attachments.
  559          UBHWIT0616508          UBHWIT0616517    11/9/2016       UMC Minutes                                                                    Rockswold Dep. Ex. 05
                                                                       Email chain with subject "Emblem BH RFP Pink Draft - Edits due 11/21," with
  560          UBHWIT0619093          UBHWIT0619368    11/17/2016
                                                                       attachments.
  561          UBHWIT0649218          UBHWIT0649235    12/1/2016       Email with subject "For Our Next 1:1," with attachments.
  562          UBHWIT0625494          UBHWIT0625495    12/7/2016       Email chain with subject "E&I COC Changes and Impact."
  563          UBHWIT0617000          UBHWIT0617002    12/15/2016      Email chain with subject "idea re: LOCG Suggested Wording Change."
  564          UBHWIT0708499          UBHWIT0708503    12/15/2016      Email chain with subject "ABA LOC Guideline proposed changes."                 Rockswold Ex. 24
  565          UBHWIT0617020          UBHWIT0617023    12/16/2016      Email chain with subject "idea re: LOCG Suggested Wording Change."             Rockswold ex. 17
                                                                       Email chain with subject "Guidelines for January UM Committee Review," with    Rockswold Ex. 15
  566          UBHWIT0646449          UBHWIT0646579     1/3/2017
                                                                       attachments.
  567          UBHWIT0646423          UBHWIT0646425     1/3/2017       Email chain with subject "Guidelines for January UM Committee Review."
                                                                       Policy/Guideline Review, Utilization Management Committee, Updated             Wetherbee Ex. 5
  568          UBHWIT0646577          UBHWIT0646579    1/10/2017
                                                                       Policies/Guidelines
  569          UBHWIT0664078          UBHWIT0664089    1/10/2017       UMC Minutes                                                                    Rockswold Dep. Ex. 06
  570          UBHWIT0729506          UBHWIT0729506     5/3/2017       Auth and Denials Report and Average Length of Stay
  571          UBHWIT0623972          UBHWIT0623972     No Date        Notes regarding annual review of LOCGs                                         Rockswold Ex. 18
  572          UBHWIT0375404          UBHWIT0375405     No Date        Style Guide for Clinical Guidelines
                                                                       Presentation entitled "Substance Use Disorders (SUDs): Clinical Operations and Alam Ex. 5
  573          UBHWIT0110384          UBHWIT0110384     No Date
                                                                       Affordability Partnership 2012-2013."
                                                                       CMS Local Coverage Determination (LCD): Outpatient Psychiatry and Psychology
  574              No Bates              No Bates
                                                                       Services (L34353)
               UBHWIT0234586          UBHWIT0234586                                                                                                   Niewenhous Ex. 24
               UBHWIT0342135          UBHWIT0342135
               UBHWIT0228882          UBHWIT0228882                    Form Letters to Provider from Gerard Niewenhouse re: annual review of clinical
  575                                                 Multiple dates
               UBHWIT0348827          UBHWIT0348827                    guidelines (2010-2011, 2013-2016)
               UBHWIT0134493          UBHWIT0134493
               UBHWIT0354244          UBHWIT0354244
                                                                       Email with subject "Feedback from Dr Gerald Tarnoff on the 2010 LOC
  576          UBHWIT0171542          UBHWIT0171543     3/1/2010
                                                                       Guidelines.xls," with attachments.
                                                                       Email with subject "2010 LOC Guideline Review Project Plan.xls," with
  577          UBHWIT0225550          UBHWIT0225552     3/1/2010
                                                                       attachments.
                                                                       Email chain with subject "Review of provider feedbaack for LOCG," with
  578          UBHWIT0141390          UBHWIT0141391     3/3/2010
                                                                       attachment.
  579          UBHWIT0178948          UBHWIT0178948     3/4/2010       Email with subject "RI Evidence File - Provider Comments"
                                                                       Email chain with subject "Feedback from Dr Gerald Tarnoff on the 2010 LOC
  580          UBHWIT0170225          UBHWIT0170226    7/19/2010
                                                                       Guidelines," with attachment.
  581          UBHWIT0171613          UBHWIT0171615     8/9/2010       Email with subject "Letter to Gerald Tarnoff (073010 Draft 2)," with attachment.
  582          UBHWIT0341067          UBHWIT0341067    8/17/2010       Letter from Gerard Niewenhous to Gerald Tarnoff
  583          UBHWIT0048579          UBHWIT0048579    2/16/2011       Email with subject "Call with Dr Tarnoff."
                                                                       Email with subject "2011 LOC Guideline Review Project Plan.xls," with
  584          UBHWIT0226539          UBHWIT0226540    4/29/2011
                                                                       attachment.
  585          UBHWIT0160041          UBHWIT0160042    5/31/2011       Email with subject "first stab," with attachment.                                  Brock Ex. 9
               UBHWIT0048458          UBHWIT0048458
               UBHWIT0048459          UBHWIT0048459
               UBHWIT0048460          UBHWIT0048463                    Email with subject "Professional Society Input on UBH Guidelines," with
  586                                                  5/31/2011
               UBHWIT0048464          UBHWIT0048485                    attachments.
               UBHWIT0048486          UBHWIT0048497
               UBHWIT0048520          UBHWIT0048530
                                                                       Email chain with subject "Solicitation of Input for the 2011 Guidelines," with
  587          UBHWIT0179007          UBHWIT0179096    8/31/2011
                                                                       attachment.
                                                                       Email with subject "Go Over Draft Changes to the LOCGs - Jerry Will Call
  588          UBHWIT0228789          UBHWIT0228875     1/3/2012
                                                                       Loretta," with attachments.
  589          UBHWIT0345081          UBHWIT0345083     2/6/2012       Letter from Oscar Pakier to Sue Coughlin, UBH.
  590          UBHWIT0158934          UBHWIT0158939     2/8/2012       Email with subject "Input on CDGs from Professional Services," with attachment.
                                                                       Email with subject "2012 LOC Guideline Review Project Plan.xls," with
  591          UBHWIT0278131          UBHWIT0278132    2/28/2012
                                                                       attachment.




                                                                                                                         16 of 40
                                            Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 17 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                         Description                                      Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                        Evidence            Evidence
                                                                   Email with subject "Input on the 2012 Level of Care Guidelines - 888/844-7278, Niewenhous Ex. 27
  592          UBHWIT0180102          UBHWIT0180104   3/22/2012
                                                                   7326539," with attachment.
                                                                   Spreadsheet with title "Feedback for the 2013 LOC, Psychological and           Niewenhous Ex. 48
  593          UBHWIT0347524          UBHWIT0347524    1/1/2013
                                                                   Neuropsychological, and Supplemental and Measurable Guidelines."
  594          UBHWIT0170847          UBHWIT0170850   1/18/2013    Email chain with subject "Input on the 2013 LOCGs - by January 18th."
  595          UBHWIT0210250          UBHWIT0210251   7/11/2013    Email with subject "LOCG Project - Jerry Will Call Loretta," with attachment.
  596          UBHWIT0149578          UBHWIT0149585   7/26/2013    Email with subject "Provider Guideline Input Spreadsheets," with attachments.
  597          UBHWIT0211010          UBHWIT0211011   12/3/2013    Email with subject "Review of Final Guidelines Input," with attachment.
  598          UBHWIT0100803          UBHWIT0100804   12/10/2013   Email with subject "2014 LOCGs," with attachment.
               UBHWIT0100808          UBHWIT0100809                Email with subject "Canceled: Review of Changes to 2014 Level of Care
  599                                                 12/13/2013
               UBHWIT0100914          UBHWIT0100914                Guidelines," with attachments.
  600          UBHWIT0048422          UBHWIT0048423   11/12/2014   Email chain with subject "NAPHS."
                                                                   Email chain with subject "2015 DEFICIENCY UBH RI CHECKLIST.docx," with
  601          UBHWIT0480001          UBHWIT0480012   7/15/2015
                                                                   attachments.
                                                                   Email chain with subject "Confidential: CARTA 201507132147 / Feedback
  602          UBHWIT0354245          UBHWIT0354247   8/10/2015
                                                                   Suggestion?"
               UBHWIT0507279          UBHWIT0507279
  603          UBHWIT0507280          UBHWIT0507281   12/30/2015   Email with subject "Review Input," with attachments.
               UBHWIT0507282          UBHWIT0507282
  604          UBHWIT0532618          UBHWIT0532619    1/8/2016    Email with subject "2016 Guideline Feedback Revised.xlsx," with attachment.
                                                                   Email chain with subject "Review SUDs CDG Revision Recommendations," with
  605          UBHWIT0508676          UBHWIT0508691   2/29/2016
                                                                   attachment.
  606          UBHWIT0630659          UBHWIT0630662    8/1/2016    Email chain with subject "Provider Input on Guidelines."
  607          UBHWIT0289881          UBHWIT0289881   11/10/2016   Spreadsheet entitled "Feedback for the 2016 Standard Guidelines."
  608          UBHWIT0616894          UBHWIT0616897   12/15/2016   Email chain with subject "Feedback on LOCG Format."                              Rockswold Ex. 16
  609          UBHWIT0289533          UBHWIT0289535      2009      2009 LOCGs Reference List                                                        Niewenhous Ex. 16
  610          UBHWIT0289536          UBHWIT0289538      2010      2010 LOCGs Reference List                                                        Niewenhous Ex. 17
  611          UBHWIT0341354          UBHWIT0341357      2011      2011 LOCGs Reference List                                                        Niewenhous Ex. 18
  612          UBHWIT0000272          UBHWIT0000272      2013      Optum Guideline Evidence Base: Level of Care Guidelines
  613          UBHWIT0000271          UBHWIT0000271      2013      Optum Guideline Evidence Base: Coverage Determination Guidelines
  614          UBHWIT0396297          UBHWIT0396319      2014      2014 Clinical Guidelines Reference Lists                                         Niewenhous Ex. 19
  615          UBHWIT0336246          UBHWIT0336275      2015      2015 Clinical Guidelines Reference Lists                                         Niewenhous ex. 20
  616          UBHWIT0336005          UBHWIT0336005      2015      Optum Guideline Evidence Base: Coverage Determination Guidelines (2015)          Niewenhous Ex. 33
  617          UBHWIT0336010          UBHWIT0336010      2015      Optum Guideline Evidence Base: Level of Care Guidelines (2015)                   Niewenhous Ex. 34
                                                                   American Academy of Child and Adolescent Psychiatry, American Psychiatric
  618          UBHWIT0337163          UBHWIT0337191     1997       Association. (1997). Criteria for Short-Term Treatment of Acute Psychiatric
                                                                   Illness.
                                                                   American Academy of Child and Adolescent Psychiatry. (1998). Practice
  619              No Bates              No Bates       1998       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Obsessive-Compulsive Disorder.
                                                                   American Academy of Child and Adolescent Psychiatry. (1999). Practice
  620          UBHWIT0297210          UBHWIT0297268     1999       Parameters for the Assessment and Treatment of Children, Adolescents and Adults
                                                                   with Autism and Other Pervasive Developmental Disorders.
                                                                   American Academy of Child and Adolescent Psychiatry. (2001). Practice
  621          UBHWIT0316730          UBHWIT0316749     2001       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Schizophrenia
                                                                   American Academy of Child and Adolescent Psychiatry. (2001). Practice
  622              No Bates              No Bates       2001       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Suicidal Behaviors
                                                                   American Academy of Child and Adolescent Psychiatry. (2005). Practice
  623          UBHWIT0297383          UBHWIT0297395     2005       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Substance Use Disorders
                                                                   American Academy of Child and Adolescent Psychiatry. (2007). Practice
  624          UBHWIT0297165          UBHWIT0297181     2007       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Anxiety Disorders.
                                                                   American Academy of Child and Adolescent Psychiatry. (2007). Practice
  625          UBHWIT0297182          UBHWIT0297209     2007       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Attention-Deficit/Hyperactivity Disorder.
                                                                   American Academy of Child and Adolescent Psychiatry. (2007). Practice
  626          UBHWIT0297146          UBHWIT0297164     2007       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Bipolar Disorder.
                                                                   American Academy of Child and Adolescent Psychiatry. (2007). Practice
  627          UBHWIT0109167          UBHWIT0109190     2007       Parameters for the Assessment and Treatment of Children and Adolescents with
                                                                   Depressive Disorders.
                                                                   American Psychiatric Association (2001). Practice Guideline for the Treatment of
  628          UBHWIT0183768          UBHWIT0183776     2005
                                                                   Patients with Borderline Personality Disorder. Guideline Watch (2005)




                                                                                                                   17 of 40
                                             Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 18 of 40


                                                                              Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                           Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                                 Joint Trial Exhibit List
                                                                                                            October 17, 2017
Trial Ex.                                                                                                                                                                            Date Offered Into   Date Received Into
            Beginning Bates / Range       End Bates        Date                                         Description                                          Depo. Exhibit(s)                                                 Limitations on Use
  No.                                                                                                                                                                                    Evidence            Evidence
                                                                      American Psychiatric Association (2002). Practice Guideline for the Treatment of
  629          UBHWIT0183759           UBHWIT0183767       2005
                                                                      Patients with Bipolar Disorder (Second Edition). Guideline Watch (2005).
                                                                      American Psychiatric Association (2003). Practice Guideline for the Assessment
  630          UBHWIT0299467           UBHWIT0299650       2003
                                                                      and Treatment of Patients with Suicidal Behaviors.
                                                                      American Psychiatric Association (2004). Practice Guideline for the Treatment of
  631          UBHWIT0078465           UBHWIT0078476       2009       Patients with Acute Stress Disorder and Posttraumatic Stress Disorder. Guideline
                                                                      Watch (2009).
                                                                      American Psychiatric Association (2004). Practice Guideline for the Treatment of
  632          UBHWIT0183737           UBHWIT0183746       2009
                                                                      Patients with Schizophrenia (Second Edition). Guideline Watch (2009)
                                                                      American Psychiatric Association (2006). Practice Guideline for the Treatment of
  633          UBHWIT0298487           UBHWIT0298614       2006
                                                                      Patients with Eating Disorders (Third Edition).
                                                                      American Psychiatric Association (2006). Practice Guideline for the Treatment of
  634          UBHWIT0299187           UBHWIT0299462       2006
                                                                      Patients with Substance Use Disorders.
                                                                      American Psychiatric Association (2007). Practice Guideline for the Treatment of
  635          UBHWIT0297700           UBHWIT0297785       2007
                                                                      Patients with Alzheimers Disease and Other Dementias of Late Life.
                                                                      American Psychiatric Association (2007). Practice Guideline for the Treatment of
  636          UBHWIT0298785           UBHWIT0298880       2007
                                                                      Patients with Obsessive Compulsive Disorder
                                                                      American Psychiatric Association (2007). Practice Guideline for the Treatment of
  637          UBHWIT0139911           UBHWIT0139914       2007
                                                                      Patients with Substance Use Disorders, Guideline Watch.
                                                                      American Psychiatric Association (2009). Practice Guideline for the Treatment of
  638          UBHWIT0298903           UBHWIT0298992       2009
                                                                      Patients with Panic Disorder (Second Edition).
                                                                      American Psychiatric Association (2010). Practice Guideline for the Treatment of   Urban ex.13
  639          UBHWIT0109015           UBHWIT0109166     10/1/2010
                                                                      Patients with Major Depressive Disorder.
                                                                      Annual Survey of the National Association of Psychiatric Health Systems, 2016
  640              No Bates               No Bates         2016
                                                                      NAPHS Annual Survey Results, Reporting 2014 Data
                                                                      APA Practice Guidelines for the Psychiatric Evaluation of Adults, Third Edition,   Simpatico Ex. 7 (excerpt)
  641          UBHWIT0488421           UBHWIT0488590       2016
                                                                      2016
  642              No Bates               No Bates         2001       ASAM PPC-2R, Second Edition-Revised, 2001
                                                                      Association for Ambulatory Behavioral Healthcare, Standards and Guidelines for
  643          UBHWIT0337028           UBHWIT0337097       2008
                                                                      Partial Hospital Programs, 2008
                                                                                                                                                         Simpatico Ex. 10;
                                                                                                                                                         Chenven Ex. 4 (no
  644          UBHWIT0416594           UBHWIT0416641                  CALOCUS, Version 1.5, Child and Adolescent Level of Care Utilization System
                                                                                                                                                         bates); Urban Ex. 2 (no
                                                                                                                                                         bates)
  645        WIT_PTFS_0016629         WIT_PTFS_0016725   10/1/2014    CASII User's Manual, Version 4.0, October 2014                                     Chenven Ex. 5
                                                                      CMS National Coverage Determination (NCD) for Inpatient Hospital Stays for
  646              No Bates               No Bates
                                                                      Treatment of Alcoholism (130.1)
                                                                      CMS National Coverage Determination (NCD) for Treatment of Alcoholism and
  647              No Bates               No Bates
                                                                      Drug Abuse in a Freestanding Clinic (130.5)
                                                                      CMS National Coverage Determination (NCD) for Treatment of Drug Abuse
  648              No Bates               No Bates
                                                                      (Chemical Dependency) (130.6)
                                                                      Commission on Accreditation of Rehabilitation Facilities. Behavioral Health
  649          UBHWIT0431107           UBHWIT0431550       2014
                                                                      Standards Manual, Tucson, AZ; CARF International, 2014
                                                                      Connecticut Department of Mental Health and Addiction Services. (2006). Practice
  650              No Bates               No Bates         2006
                                                                      Guidelines for Recovery-Oriented Behavioral Health Care.
  651          UBHWIT0174351           UBHWIT0174354     6/20/2014    Email chain with subject "ASAM Level of Care Guidelines."
  652          UBHWIT0507855           UBHWIT0507864     1/12/2016    Email chain with subject "Medicare P2P rates vs. Commercial P2P rates."
                                                                                                                                                         Copy w/out bates marked
                                                                      LOCUS Level of Care Utilization System for Psychiatric and Addiction Services,
  653          UBHWIT0102815           UBHWIT0102844     3/20/2009                                                                                       at Urban Ex. 3
                                                                      Adult Version 2010, American Association of Community Psychiatrists

  654              No Bates               No Bates       11/6/2014    Medicare Benefit Policy Manual, Chapter 16 - General Exclusions from Coverage
                                                                      Medicare Benefit Policy Manual, Chapter 2 - Inpatient Psychiatric Hospital
  655              No Bates               No Bates       5/13/2016
                                                                      Services
                                                                      Medicare Benefit Policy Manual, Chapter 6 - Hospital Services Covered Under Part Alam Ex. 10
  656              No Bates               No Bates       12/18/2015
                                                                      B
                                                                      Miller, T. & Mol, J.M. Association for Ambulatory Behavioral Healthcare
  657          UBHWIT0336832           UBHWIT0336933       2012       (AABH). (2012). Standards and Guidelines for Partial Hospital Programs, Fifth
                                                                      Edition
  658              No Bates               No Bates        Aug-16      NAPHS Length of Stay Data for 1988-2014, Updated August 2016
                                                                      National Institute for Health and Clinical Excellence. Eating disorders: Core
  659          UBHWIT0152870           UBHWIT0153130       2004       interventions in the treatment and management of anorexia nervosa, bulimia
                                                                      nervosa and related eating disorders, 2004
                                                                      National Institute for Health and Clinical Excellence. (2007) Management of
  660          UBHWIT0303877           UBHWIT0303930       2007
                                                                      Anxiety in Adults in Primary, Secondary and Community Care




                                                                                                                      18 of 40
                                            Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 19 of 40


                                                                             Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                          Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                                Joint Trial Exhibit List
                                                                                                           October 17, 2017
Trial Ex.                                                                                                                                                                         Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates         Date                                         Description                                         Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                                 Evidence            Evidence
                                                                     State of Texas Department of Health. (1999). Standards for Reasonable Cost
  661          UBHWIT0545636          UBHWIT0545662       1999
                                                                     Control and Utilization Review for Chemical Dependency Treatment Centers.
                                                                                                                                                        Fishman Ex. 3;
                                                                                                                                                        Niewenhous Ex. 37;
  662          UBHWIT0512326          UBHWIT0512326       2013       The ASAM Criteria, Third Edition, 2013                                             excerpts marked at Alam
                                                                                                                                                        Ex. 9 and Simpatico Ex.
                                                                                                                                                        9
                                                                     U.S. Department of Veterans Affairs. (2000). VHA/DoD Clinical Practice
  663              No Bates              No Bates         2000
                                                                     Guideline for the Management of Major Depressive Disorder in Adults.
                                                                     U.S. Department of Veterans Affairs. (2001). VHA/DoD Clinical Practice
  664              No Bates              No Bates         2001
                                                                     Guideline for the Management of Substance Use Disorders
                                                                     U.S. Department of Veterans Affairs. (2009). VHA/DoD Clinical Practice
  665          UBHWIT0449850          UBHWIT0450051       2009
                                                                     Guideline for the Management of Major Depressive Disorder in Adults
                                                                     U.S. Department of Veterans Affairs. (2010). VHA/DoD Clinical Practice
  666              No Bates              No Bates         2010
                                                                     Guideline for the Management of Bipolar Disorder in Adults.
                                                                     U.S. Department of Veterans Affairs/Department of Defense. (2009). Clinical
  667          UBHWIT0318564          UBHWIT0318721       2009
                                                                     Practice Guideline, Management of Substance Use Disorders.
  668              No Bates              No Bates        Apr-17      CV of Dr. Mark Chenven
  669              No Bates              No Bates        Apr-17      CV of Dr. Eric Plakun                                                             Plakun Ex. 3
  670              No Bates              No Bates                    CV of Dr. Marc Fishman                                                            Fishman Ex. 4
                                                                     Article by Eric M. Plakun, MD, entitled "Psychotherapy, Parity, and Ethical       Plakun Ex. 14
  671              No Bates              No Bates        Jan-17      Utilization Management," Journal of Psychiatric Practice, Vol. 23, No. 1 (January
                                                                     2017)
                                                                     Article entitled "Intensive short-term dynamic residential treatment program for  Plakun Ex. 6
  672              No Bates              No Bates      4/13/2015
                                                                     patients with treatment-resistant disorders."
                                                                     Article titled "Addiction Treatment: Level of Care Determination" by Danesh Alam Alam Ex. 3
  673              No Bates              No Bates         2011
                                                                     and Andrew Martorana, 2011
                                                                     Article written by Spencer Biel and Eric M. Plakun entitled Psychodynamic         Plakun Ex. 5
  674              No Bates              No Bates         2015
                                                                     Systems of Residential Treatment: Another View From Riggs (2015)
                                                                     California Code of Regulations, Section 1830.205 Medical Necessity Criteria for
  675              No Bates              No Bates         2016
                                                                     MHP Reimbursement of Specialty Mental Health Services, 2016
                                                                     Camilleri AC, Cacciola JS, Jenson MR (2012). Comparison of Two ASI-Based
  676              No Bates              No Bates         2012
                                                                     Standardized Patient Placement Approaches. J Addictive Diseases 31(2):118-129
                                                                    CMS Manual System Pub. 100-02 Medicare Benefit Policy, Transmittal 10,       Simpatico ex.2
  677              No Bates              No Bates       5/7/2004
                                                                    Change Request 3298
                                                                    Emergency Services in Community Mental Health Problems and Promise by Gerald
  678              No Bates              No Bates     February 1974
                                                                    F. Jacobson, M.D.
                                                                    Facts for Families, No 97. Resident Treatment Programs, AACAP, September
  679              No Bates              No Bates       9/1/2016
                                                                    2016
                                                                    Fishman M “Placement Criteria and Treatment Planning for Adolescents with
                                                                    Substance Use Disorders” In: Kaminer Y, Winters K, eds. Clinical Manual of
  680              No Bates              No Bates         2010
                                                                    Adolescent Substance Abuse Treatment. Chap 5: p113-142. American Psychiatric
                                                                    Publishing. Washington DC. 2010.
                                                                     Fishman M and Kaminer Y. The Case for Placement Criteria for Adolescent
  681              No Bates              No Bates         2013
                                                                     Substance Use Disorders. Journal of Addiction and Prevention. 1(1): 1-4. 2013
                                                                     Fishman M, Cirone, S. “Placement Criteria and Strategies for Adolescent
                                                                     Treatment Matching” in Graham AW, Schultz TK, Mayo-Smith M., Ries RK &
  682              No Bates              No Bates         2011
                                                                     Wilford BB, (eds.) Principles of Addiction Medicine: The Essentials. Lippincott,
                                                                     Williams and Wilkins. 2011
                                                                     Fishman M., “Placement Criteria and Strategies for Adolescent Treatment
  683              No Bates              No Bates         2014       Matching” in Ries R and Fiellin D, (eds.) Principles of Addiction Medicine 5th
                                                                     Edition. Lippincott Williams & Wilkins. 2014.
                                                                     Fishman, M. “The Relationship Between Substance Use Disorders and Psychiatric
                                                                     Comorbidity: Implications for Integrated Health Services” in Kaminer Y and
  684              No Bates              No Bates         2015
                                                                     Buckstein O (eds). Youth Substance Abuse and Co-Occurring Disorders. APPI.
                                                                     2015.
                                                                     Gastfriend DR & McLellan AT (1997). Treatment matching: Theoretic basis and
  685              No Bates              No Bates         1997
                                                                     practical implications. Medical Clinics of North America 81(4):945-966
                                                                     Gastfriend DR. Addiction Treatment Matching: Research Foundations of the
  686              No Bates              No Bates         2004       American Society of Addiction Medicine (ASAM) Criteria. Binghamton NY:
                                                                     Haworth Medical Press, 2004, pp. 1-170
                                                                     Kolsky GD. Current State AOD Agency Practices Regarding the Use of Patient
  687              No Bates              No Bates         2006       Placement Criteria (PPC) - An Update. National Association of State Alcohol and
                                                                     Drug Abuse Directors, Washington, DC, Nov. 1, 2006, pp. 1-17




                                                                                                                     19 of 40
                                            Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 20 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                           Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                           Depo. Exhibit(s)                                                   Limitations on Use
  No.                                                                                                                                                                                   Evidence            Evidence
                                                                  Local Coverage Determination (LCD): Psychiatry and Psychology Services
  688              No Bates              No Bates       2017
                                                                  (L33632)
                                                                  McGlashan, TH. The Chestnut Lodge follow-up study: III. Long-term outcome of
  689              No Bates              No Bates       1986
                                                                  borderline personalities. Archives of General Psychiatry: 43, 1986, pp. 20-30.
                                                                                                                                                      Simpatico Ex. 5
  690              No Bates              No Bates       1996      Mental Health Care Law: Ten Basic Principles (World Health Organization) 1996
                                                                  Milliman APA Report: Economic Impact of Integrated Medical-Behavioral               Simpatico ex.12
  691              No Bates              No Bates      Apr-14
                                                                  Healthcare, Implications for Psychiatry
                                                                  Plakun EM. Prediction of Outcome in Borderline Personality Disorder, Journal of
  692              No Bates              No Bates       1991
                                                                  Personality Disorders: 5, 1991, pp. 93-101.
                                                                  Principles of Care for Treatment of Children and Adolescents with Mental Illnesses
  693              No Bates              No Bates       2010
                                                                  in Residential Treatment Centers, AACAP, June 2010
                                                                  SAMHSA Detoxification and Substance Abuse Treatment, A Treatment                   Simpatico ex.8
  694              No Bates              No Bates     No Date
                                                                  Improvement Protocol (TIP 45), Chapter 2 (Excerpt)
                                                                  SAMHSA Treatment Improvement Protocol (TIP 47) - Substance Abuse: Clinical
  695              No Bates              No Bates       2006
                                                                  Issues in Intensive Outpatient Treatment
                                                                  Sharon E, Krebs C, Turner W, Desai N, Binus G, Penk W, Gastfriend DR (2003).
  696              No Bates              No Bates       2003      Predictive Validity of the ASAM Patient Placement Criteria for Hospital
                                                                  Utilization. Journal of Addictive Disease 22(supplement 1):79-93
                                                                  The Effectiveness of Long-Term Psychoanalytic Therapy: A Systematic Review of
  697              No Bates              No Bates      Feb-09
                                                                  Empirical Studies, de Maat, et al.
                                                                  The Effectiveness of Psychoanalytic Psychotherapy: The Role of Treatment
  698              No Bates              No Bates       1999      Duration, Frequency of Sessions, and the Therapeutic Relationship, Freedman, et
                                                                  al.
  699              No Bates              No Bates       2011      Treatment Episode Data Set Discharges (TEDS-D) 2011
  700              No Bates              No Bates       2012      Treatment Episode Data Set Discharges (TEDS-D) 2012
  701              No Bates              No Bates       2013      Treatment Episode Data Set Discharges (TEDS-D) 2013
                                                                  U.S. Department of Health and Human Services, Center for Substance Abuse
                                                                  Treatment (2001). KAP KEYS Based on TIP 13: The Role and Current Status of
  702              No Bates              No Bates       2001
                                                                  Patient Placement Criteria in the Treatment of Substance Use Disorders. CSAT’s
                                                                  Knowledge Application Program, DHHS Publication No. (SMA) 01-3565
                                                                  U.S. Department of Health and Human Services, Substance Abuse and Mental
  703              No Bates              No Bates       2009      Health Services Administration, Practice Guidelines: Core Elements in Responding
                                                                  to Mental Health Crises, 2009
                                                                  Wisniewski SR, Rush AJ, Nierenberg AA, et al. Can phase III trial results of
  704              No Bates              No Bates       2009      antidepressant medications be generalized to clinical practice?: A STAR*D report.
                                                                  American Journal of Psychiatry. 2009; 166: 599–607.
  705              No Bates              No Bates       2011      UnitedHealth Group Incorporated Form 10-K
  706              No Bates              No Bates       2012      UnitedHealth Group Incorporated Form 10-K
  707              No Bates              No Bates       2013      UnitedHealth Group Incorporated Form 10-K
  708              No Bates              No Bates       2014      UnitedHealth Group Incorporated Form 10-K
  709              No Bates              No Bates       2015      UnitedHealth Group Incorporated Form 10-K
  710              No Bates              No Bates       2016      UnitedHealth Group Incorporated Form 10-K
  711          UBHWIT0729711          UBHWIT0729711   8/24/2017   Stipulation Concerning Per-Member-Per-Month Rates, with excerpt of Exhibit 1
                                                                  Chart with title "Optum Behavioral Health, Consolidated UBH Legal Entity,
  712          UBHWIT0729507          UBHWIT0729507   No Date
                                                                  Historical Profit and Loss Statement."
  713              No Bates              No Bates     No Date     Chart re: UBH's Targets (re: Topic 3 of 30(b)(6) Notice)                            catlin ex. 2
                                                                                                                                                      catlin ex. 3
  714              No Bates              No Bates     No Date     Chart re: manner in which UBH is compensated (re: Topic 4 of 30(b)(6) Notice)
                                                                                                                                                      catlin ex. 4; Patterson ex.
  715              No Bates              No Bates     No Date     Chart re: commercial-specific E&I benchmarks for 2014-2017
                                                                                                                                                      21
  716              No Bates              No Bates     No Date     Chart re: affordability best estimates for UBH commercial for 2012-2017             Patterson ex. 22
                                                                  United Behavioral Health Adminstrative Services Agreement between United            Catlin Ex. 9
  717          UBHWIT0726646          UBHWIT0726688   1/1/2005
                                                                  Behavioral Health and SYSCO Corporation
                                                                  United Behavioral Health Adminstrative Services Agreement between United            Catlin Ex. 10
  718          UBHWIT0726689          UBHWIT0726735   1/1/2007
                                                                  Behavioral Health and W.W. Grainger, Inc.
                                                                                                                                                      Catlin Ex. 5; Triana (1-
                                                                  Management Services Agreement Among Oxford Health Plans (NY), Inc., UBH,
  719          UBHWIT0254723          UBHWIT0254777   9/30/2009                                                                                       28-16) Ex. 18 (different
                                                                  and UBH of New York, I.P.A., Inc.
                                                                                                                                                      UBH bates)
               UBHWIT0187295          UBHWIT0187295
                                                                  Email with subject "Updated: Houston CAC Monthly Business Review," with
  720          UBHWIT0187296          UBHWIT0187296   5/25/2010
                                                                  attachments.
               UBHWIT0187301          UBHWIT0187301




                                                                                                                  20 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 21 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                         October 17, 2017
Trial Ex.                                                                                                                                                                        Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                          Description                                          Depo. Exhibit(s)                                               Limitations on Use
  No.                                                                                                                                                                                Evidence            Evidence
                                                                   Email with subject "Updated: San Francisco CAC Monthly Business Review," with
  721          UBHWIT0187304          UBHWIT0187312   5/26/2010
                                                                   attachments.
               UBHWIT0187205          UBHWIT0187205
                                                                   Email with subject "Updated: Albany CAC Monthly Business Review," with
  722          UBHWIT0187206          UBHWIT0187206   5/27/2010
                                                                   attachments.
               UBHWIT0187211          UBHWIT0187211
               UBHWIT0191822          UBHWIT0191822
                                                                   Email with subject "Portland CAC Monthly Business Review - Deck Updated with
  723          UBHWIT0191823          UBHWIT0191823   5/27/2010
                                                                   Vital Sign Actions," with attachments.
               UBHWIT0191828          UBHWIT0191828
               UBHWIT0187214          UBHWIT0187214
                                                                   Email with subject "Updated: Chicago CAC Monthly Business Review," with
  724          UBHWIT0187215          UBHWIT0187215    6/4/2010
                                                                   attachments.
               UBHWIT0187220          UBHWIT0187220
                                                                   High Cost of Eating Disorders, Literature Search, Prepared by Behavioral Health
  725          UBHWIT0569739          UBHWIT0569783   6/10/2010
                                                                   Sciences (Draft)
                                                                   High Cost of Bipolar Disorders, Literature Search, Prepared by Behavioral Health
  726          UBHWIT0551644          UBHWIT0551701   6/11/2010
                                                                   Sciences
                                                                   High Cost of Substance Use Disorders, Literature Search, Prepared by Behavioral
  727          UBHWIT0569692          UBHWIT0569738   6/11/2010
                                                                   Health Sciences
  728          UBHWIT0194056          UBHWIT0194063   6/30/2010    Email chain with subject "2011 Business Plan," with attachments.
                                                                   Email chain with subject "2011 Business Plan -- feedback needed by 2pm today,"      Triana (5-10-17) Ex. 37
  729          UBHWIT0191839          UBHWIT0191842    7/1/2010
                                                                   with attachment.
                                                                   Email with subject "PREP for BENEX DEEP DIVE (Rathbun's APRIL 1ST
  730          UBHWIT0197278          UBHWIT0197281   3/29/2011
                                                                   Meeting) - DECK," with attachments.
  731          UBHWIT0465065          UBHWIT0465068   5/11/2011    Email chain with subject "Let's Catch Up."
               UBHWIT0461521          UBHWIT0461521
                                                                   Email with subject "2011 April + 2 and R12 (Rolling 12-month) Oxford Trend
  732          UBHWIT0461523          UBHWIT0461523    8/2/2011
                                                                   Portfolio," with attachments.
               UBHWIT0461524          UBHWIT0461524
  733          UBHWIT0199240          UBHWIT0199246   10/28/2011   Email chain with subject "Days Waiting Placement Call Summary."
  734          UBHWIT0199252          UBHWIT0199256   11/1/2011    Email chain with subject "days awaiting placement plans."
               UBHWIT0226622          UBHWIT0226622
               UBHWIT0226623          UBHWIT0226632
               UBHWIT0226893          UBHWIT0226902
               UBHWIT0226905          UBHWIT0226928
  735                                                 1/18/2012    Email with subject "Briefing on Custodial Care (1111 Draft 3)," with attachments.
               UBHWIT0226942          UBHWIT0226951
               UBHWIT0226952          UBHWIT0226987
               UBHWIT0226988          UBHWIT0227002
               UBHWIT0227003          UBHWIT0227110
                                                                                                                                                      Catlin Ex. 8; Triana (1-
                                                                   Behavioral Health Services Agreement between United Behavioral Health and
  736          UBHWIT0254904          UBHWIT0254944    3/1/2012                                                                                       28-16) Ex. 20 (different
                                                                   UnitedHealthcare Insurance Company of Illinois
                                                                                                                                                      UBH bates)
                                                                   Behavioral Health Services Agreement between United Behavioral Health and its Catlin Ex. 7; Triana (1-
  737          UBHWIT0254679          UBHWIT0254722    4/1/2012    subsidiary, U.S. Behavioral Health Plan, California, and Oxford Health Insurance, 28-16) Ex. 17 (different
                                                                   Inc.                                                                               UBH bates)
                                                                                                                                                      Catlin Ex. 6; Triana (1-
                                                                   Behavioral Health Services Agreement between United Behavioral Health and
  738          UBHWIT0254778          UBHWIT0254903    4/1/2012                                                                                       28-16) Ex. 19 (different
                                                                   UnitedHealthcare Insurance Company
                                                                                                                                                      UBH bates)
                                                                   Email chain with subject "NEW VERSION: REVIEW: Clin Ops reorg draft," with
  739          UBHWIT0464303          UBHWIT0464321    4/6/2012
                                                                   attachments.
                                                                   Email with subject "Review E&I Monthly Business Review Deck," with
  740          UBHWIT0426302          UBHWIT0426303   2/14/2013
                                                                   attachment.
  741          UBHWIT0102992          UBHWIT0102994   4/10/2013    Email chain with subject "Need for TMS policy and guidelines development."
                                                                   Powerpoint presentation entitled, "Prior Authorization/ Notification for Select OP
  742          UBHWIT0089051          UBHWIT0089051    5/9/2013
                                                                   Services."
  743          UBHWIT0420886          UBHWIT0420886   5/13/2013    Email with subject "Finance Participation on BPAC."
                                                                   Email chain with subject "E&I Direct Employer Monthly Business Review May -
  744          UBHWIT0430286          UBHWIT0430296   5/24/2013
                                                                   2013 FINAL.zip," with attachments.
  745          UBHWIT0184981          UBHWIT0184984   7/10/2013    Email chain with subject "My take on June Close."                                  Motz Ex. 3
  746          UBHWIT0107967          UBHWIT0108069   7/11/2013    Email chain with subject "Clin Ops Accountability draft," with attachments.
  747          UBHWIT0446295          UBHWIT0446301   7/19/2013    Email chain with subject "UCH rTMS Cost Estimate."
               UBHWIT0204754          UBHWIT0204754
               UBHWIT0204755          UBHWIT0204755
               UBHWIT0204756          UBHWIT0204756
                                                                   Email chain with subject "Financial Close for July Customer Focus," with
  748          UBHWIT0204757          UBHWIT0204757    8/9/2013
                                                                   attachments.
               UBHWIT0204758          UBHWIT0204758
               UBHWIT0204759          UBHWIT0204761
               UBHWIT0204815          UBHWIT0204819




                                                                                                                    21 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 22 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                          October 17, 2017
Trial Ex.                                                                                                                                                                         Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                          Description                                         Depo. Exhibit(s)                                                 Limitations on Use
  No.                                                                                                                                                                                 Evidence            Evidence
  749          UBHWIT0431798          UBHWIT0431799   11/7/2013    Email with subject "CPC TMS Slide for SLT (1113)wcb.pptx," with attachment.

  750          UBHWIT0464451          UBHWIT0464456   11/21/2013   Email chain with subject "Concerns about the process for creating the TMS CDG"
                                                                                                                                                 Triana (5-10-17) Ex. 17
                                                                   Email chain with subject "Payer Market Monthly Business Review for Commercial
  751          UBHWIT0185166          UBHWIT0185169   12/13/2013                                                                                 (not including
                                                                   BOB - Deck Attached," with attachment.
                                                                                                                                                 UBHWIT0185169)
  752          UBHWIT0522631          UBHWIT0522641   2/13/2014    Email with subject "COC Slides," with attachments.
  753                                                              INTENTIONALLY LEFT BLANK
                                                                   Email with subject, "Monthly Business Review - Payer Market 2-24-14," with
  754          UBHWIT0185555          UBHWIT0185558   2/24/2014
                                                                   attachment.
  755          UBHWIT0669664          UBHWIT0669666   3/25/2014    Email chain with subject "Meeting at 10:00 Central - follow up."
  756          UBHWIT0063837          UBHWIT0063856   4/15/2014    Email chain with subject "TMS Benefits Request," with attachment.
  757          UBHWIT0186831          UBHWIT0186840   4/15/2014    Email chain with subject, "TMS Benefits Request," with attachment.
  758          UBHWIT0218620          UBHWIT0218630   4/15/2014    Email chain with subject "TMS Benefits Request," with attachment.
  759          UBHWIT0693878          UBHWIT0693888   4/15/2014    Email chain with subject, "TMS Benefits Request"
               UBHWIT0529253          UBHWIT0529256
  760                                                 4/17/2014    Email chain with subject "Project charter - updated version," with attachment.
               UBHWIT0529257          UBHWIT0529257
  761          UBHWIT0692036          UBHWIT0692052   4/21/2014    Email chain with subject "TMS Benefits Request."
  762          UBHWIT0422055          UBHWIT0422060   4/22/2014    Email chain with subject "Potential BenEx Hot Spot slide."
  763          UBHWIT0099877          UBHWIT0099888   4/23/2014    Email chain with subject "TMS Summary," with attachment.
  764          UBHWIT0422069          UBHWIT0422074   4/23/2014    Email chain with subject "18-36 yr. old cohort - Potential BenEx Hot Spot slide."

  765          UBHWIT0422083          UBHWIT0422097   4/24/2014    Email chain with subject "18-36 yr. old cohort - Potential BenEx Hot Spot Slide."
  766          UBHWIT0048176          UBHWIT0048196    5/2/2014    Email with subject "TMS Coverage Guidance," with attachments.
               UBHWIT0429042          UBHWIT0429043
               UBHWIT0429044          UBHWIT0429044
                                                                   Email with subject "(Forward to attendees) Please join now, meeting in progress:
  767          UBHWIT0429045          UBHWIT0429045    5/5/2014
                                                                   18=26 yo Intervention and Strategy," with attachments.
               UBHWIT0429046          UBHWIT0429046
               UBHWIT0429047          UBHWIT0429047
                                                                   Email chain with subject "Friday meet with sandy cohen re parity," with
  768          UBHWIT0543880          UBHWIT0543888   5/20/2014
                                                                   attachments.
  769          UBHWIT0014021          UBHWIT0014035    6/1/2014    Coverage Determination Guideline for Transcranial Magentic Stimulation (TMS)
                                                                   Email chain with subject "Privileged Communication - Re: National Association of
  770          UBHWIT0186852          UBHWIT0186853   6/10/2014
                                                                   Psychiatric Health Systems Update-lawsuit against UBH."
                                                                   Email chain with subject "UBH vs KL Med Policy FW: Transcranial Magnetic
  771          UBHWIT0114436          UBHWIT0114480   6/24/2014
                                                                   Stimulation," with attachments.
                                                                                                                                                       Motz Ex. 2
                                                                                                                                                       (UBHWIT0429439),
                                                                   Email with subject "Employer Monthly Business Review - July/2014," with
  772          UBHWIT0429439          UBHWIT0429443   7/25/2014                                                                                        2A/B
                                                                   attachments.
                                                                                                                                                       (UBHWIT0429440);
                                                                                                                                                       Brock Ex. 11
  773          UBHWIT0117615          UBHWIT0117618   8/11/2014    Email chain with subject "Quantitative Drug Testing - Medical Policy Option."
               UBHWIT0577764          UBHWIT0577764
                                                                   Email with subject "Employer Monthly Business Review August/2014," with
  774          UBHWIT0577765          UBHWIT0577888   8/22/2014
                                                                   attachments.
               UBHWIT0577889          UBHWIT0577889
               UBHWIT0422916          UBHWIT0422933
               UBHWIT0423025          UBHWIT0423027
                                                                   Email chain with subject "Transcranial Magnetic Stimulation (TMS) --coverage
  775          UBHWIT0423028          UBHWIT0423028   9/10/2014
                                                                   excluded? - Assistance Requested."
               UBHWIT0423031          UBHWIT0423031
               UBHWIT0423033          UBHWIT0423033
  776          UBHWIT0092256          UBHWIT0092267   10/1/2014    Coverage Determination Guideline for Transcranial Magentic Stimulation (TMS)
                                                                                                                                                       Motz Ex. 4 (all but last
                                                                                                                                                       email in
  777          UBHWIT0446209          UBHWIT0446212   10/14/2014   Email chain with subject "TMS Financial Analysis."
                                                                                                                                                       UBHWIT0446209 chain)

  778          UBHWIT0408599          UBHWIT0408604   10/16/2014   Email chain with subject "TMS Alignment - IMPORTANT."
                                                                   Email with subject "Employer Monthly Business Review - October/2014," with
  779          UBHWIT0185945          UBHWIT0185951   10/24/2014
                                                                   attachments.
               UBHWIT0577994          UBHWIT0577994                Email with subject "Employer Monthly Business Review - October/2014," with
  780                                                 10/24/2014
               UBHWIT0577995          UBHWIT0577995                attachments.
                                                                   PowerPoint presentation entitled "E&I Direct Employer Monthly Business Review -
  781          UBHWIT0665608          UBHWIT0665685   10/24/2014
                                                                   October 2014."




                                                                                                                     22 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 23 of 40


                                                                           Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                        Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                              Joint Trial Exhibit List
                                                                                                         October 17, 2017
Trial Ex.                                                                                                                                                                      Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                          Description                                        Depo. Exhibit(s)                                               Limitations on Use
  No.                                                                                                                                                                              Evidence            Evidence
               UBHWIT0208681          UBHWIT0208684
               UBHWIT0208685          UBHWIT0208687
               UBHWIT0208688          UBHWIT0208699
               UBHWIT0208700          UBHWIT0208701
               UBHWIT0208702          UBHWIT0208711
               UBHWIT0208712          UBHWIT0208749
               UBHWIT0208750          UBHWIT0208753
  782          UBHWIT0208754          UBHWIT0208755   10/29/2014   Email chain with subject "TMS Financial Analysis," with attachments.
               UBHWIT0208756          UBHWIT0208760
               UBHWIT0208761          UBHWIT0208788
               UBHWIT0208789          UBHWIT0208790
               UBHWIT0208810          UBHWIT0208837
               UBHWIT0208838          UBHWIT0208855
               UBHWIT0208856          UBHWIT0208884
               UBHWIT0208885          UBHWIT0208912
                                                                   Email chain with subject "Employer Monthly Business Review- 2014 November-
  783          UBHWIT0534868          UBHWIT0534946   12/5/2014
                                                                   Final," with attachment.
  784          UBHWIT0512035          UBHWIT0512037    2/6/2015    Email chain with subject "Update CDG for Methadone," with attachment.
  785          UBHWIT0474105          UBHWIT0474106   3/24/2015    Email chain with subject "quant and qual drug screens."                           Patterson Ex. 9
  786          UBHWIT0475581          UBHWIT0475584   5/11/2015    Email chain with subject "LOCATDR for BPAC."                                      Regan Ex. 14
                                                                   Email chain with subject "Project Montage: Optum Clinical & Affordability
  787          UBHWIT0463598          UBHWIT0463609    6/1/2015    Analysis for UHC Lines of Business - Request for your Participation," with
                                                                   attachments.
                                                                                                                                                     Bonfield Ex. 3 and Motz
  788          UBHWIT0463074          UBHWIT0463082    6/2/2015    Email chain with subject "Prep for Project Montage calls," with attachments.      Ex. 6 (just email for
                                                                                                                                                     both)
               UBHWIT0463083          UBHWIT0463085                Email with subject "DRAFT FOR REVIEW - Materials for C&S/M&R Project
  789                                                  6/4/2015
               UBHWIT0463340          UBHWIT0463340                Montage meeting and discussion on Tuesday 8/9 @ 9:00 - 10:00 CT," with
               UBHWIT0464249          UBHWIT0464250
               UBHWIT0464251          UBHWIT0464251
                                                                   Email with subject "Employer Market Monthly Business Review for Commercial
  790          UBHWIT0464252          UBHWIT0464252   6/26/2015
                                                                   BOB," with attachments.
               UBHWIT0464253          UBHWIT0464253
               UBHWIT0464254          UBHWIT0464254
               UBHWIT0464268          UBHWIT0464268
               UBHWIT0464269          UBHWIT0464269                Email with subject "Presentation for Employer Monthly Business Review -
  791                                                 7/24/2015
               UBHWIT0464270          UBHWIT0464270                July/2015," with attachments.
               UBHWIT0464271          UBHWIT0464271
  792          UBHWIT0472217          UBHWIT0472222   7/30/2015    Email chain with subject, "Transcranial Magnetic Stim (+ a second question)."
  793          UBHWIT0480388          UBHWIT0480392   7/30/2015    Email chain with subject "TMS as a covered benefit."
  794          UBHWIT0094343          UBHWIT0094357    9/1/2015    Coverage Determination Guideline for Transcranial Magentic Stimulation (TMS)
                                                                   Power Point Presentation titled, "Innovation in PS UM Activities Utilization
  795       UBHWIT0624489.0001        UBHWIT0624491   11/4/2015    Management Strategies Used in Public Sector Business: The TennCare Child and
                                                                   Adolescent RTC Experience," with attachments.
                                                                   Email with subject "Employer Market Behavioral Health Monthly Review," with
  796          UBHWIT0606536          UBHWIT0606620   12/4/2015
                                                                   attachments.
  797          UBHWIT0485187          UBHWIT0485190   12/8/2015    Email chain with subject "BPAC."
               UBHWIT0509113          UBHWIT0509115
               UBHWIT0509119          UBHWIT0509119
               UBHWIT0509120          UBHWIT0509126
               UBHWIT0509128          UBHWIT0509128
                                                                   Email chain with subject "Redesign BH UM Process Workshop 1: Current State,"
  798          UBHWIT0509129          UBHWIT0509130   3/10/2016
                                                                   with attachment.
               UBHWIT0509181          UBHWIT0509181
               UBHWIT0509295          UBHWIT0509295
               UBHWIT0509385          UBHWIT0509385
               UBHWIT0509386          UBHWIT0509388
                                                                   Email chain with subject "Attorney/Client Privileged: ABA CDG/LOCG
  799          UBHWIT0703787          UBHWIT0703798   5/16/2016
                                                                   Language."
                                                                   Email chain with subject "Attorney/Client Privileged: ABA CDG/LOCG
  800          UBHWIT0706350          UBHWIT0706361   5/16/2016
                                                                   Language."
                                                                   Email chain with subject "RI Transcranial Magnetic Stimulation is now a covered
  801          UBHWIT0626059          UBHWIT0626097   5/23/2016
                                                                   benefit," with attachments.
                                                                   Email chain with subject "Attorney/Client Privileged: ABA Guideline Change
  802          UBHWIT0611106          UBHWIT0611112    7/7/2016
                                                                   Impact."
                                                                   Email chain with subject "Attorney/Client Privileged: ABA Guideline Change
  803          UBHWIT0611285          UBHWIT0611291   7/11/2016
                                                                   Impact."




                                                                                                                    23 of 40
                                           Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 24 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                  Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                     Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                          Evidence            Evidence
                                                                   Email chain with subject "Attorney/Client Privileged: ABA Guideline Change
  804          UBHWIT0611315          UBHWIT0611321   7/11/2016
                                                                   Impact."
  805          UBHWIT0383309          UBHWIT0383321    9/1/2016    Coverage Determination Guideline for Transcranial Magentic Stimulation (TMS)
  806          UBHWIT0708055          UBHWIT0708060   9/28/2016    Email chain with subject "ABA policy change."
                                                                   Power Point - 2016 Optum Behavioral Senior Medical Director Summit November Triana (5-10-17) Ex. 24
  807          UBHWIT0647552          UBHWIT0647552   11/5/2016
                                                                   1-2, 2016/Four Seasons Hotel, Las, Vegas, Nevada.
                                                                   Email chain with subject "For Discussion: HCE and Affordability Improved      Patterson Ex. 1
  808          UBHWIT0624497          UBHWIT0624500   11/28/2016
                                                                   Alignment."
                                                                   Email chain with subject "ABA LOC Guideline proposed changes," with
  809          UBHWIT0616253          UBHWIT0616257   11/29/2016
                                                                   attachment.
  810          UBHWIT0616258          UBHWIT0616260   11/29/2016   Email chain with subject "ABA LOC Guideline proposed changes."
  811          UBHWIT0616714          UBHWIT0616715   12/7/2016    Email chain with subject "E&I COC Changes and Impact."
                                                                                                                                                 Rockswold Ex. 23; Motz
  812          UBHWIT0708532          UBHWIT0708537   12/16/2016   Email chain with subject "ABA LOC Guideline proposed changes."
                                                                                                                                                 Ex. 10
  813          UBHWIT0624523          UBHWIT0624525   12/28/2016   Email with subject "Deck for meeting 1/5 with Larry," with attachment.        Triana (5-10-17) Ex. 21
                                                                   Email chain with subject "Aligning on what needs to change and the supporting
  814          UBHWIT0709286          UBHWIT0709309    1/3/2017
                                                                   justification related to ABA LOC guidelines," with attachment.
  815          UBHWIT0664701          UBHWIT0664706   2/24/2013    Common Review for Andrew Martorana
  816          UBHWIT0664551          UBHWIT0664556   2/27/2011    Common Review for Brett A. Hart
  817          UBHWIT0664557          UBHWIT0664560   2/26/2012    Common Review for Brett A. Hart
  818          UBHWIT0664561          UBHWIT0664565   2/24/2013    Common Review for Brett A. Hart
  819          UBHWIT0664781          UBHWIT0664785   2/27/2011    Common Review for Charles M. Powell
  820          UBHWIT0664791          UBHWIT0664795   2/24/2013    Common Review for Charles M. Powell
  821          UBHWIT0664796          UBHWIT0664800   2/23/2014    Common Review for Charles M. Powell
  822          UBHWIT0664801          UBHWIT0664806   2/22/2015    Common Review for Charles M. Powell
  823          UBHWIT0664650          UBHWIT0664655   2/27/2011    Common Review for Donna K. Maples
  824          UBHWIT0664656          UBHWIT0664661   2/26/2012    Common Review for Donna K. Maples
  825          UBHWIT0664662          UBHWIT0664669   2/24/2013    Common Review for Donna K. Maples
  826          UBHWIT0664670          UBHWIT0664677   2/23/2014    Common Review for Donna K. Maples
  827          UBHWIT0664678          UBHWIT0664685   2/22/2015    Common Review for Donna K. Maples
  828          UBHWIT0664686          UBHWIT0664693   2/21/2016    Common Review for Donna K. Maples
  829          UBHWIT0664495          UBHWIT0664502   2/19/2017    Common Review for Donna K. Maples
  830          UBHWIT0664540          UBHWIT0664544   2/19/2017    Common Review for Frederic C. Motz                                            Motz 11
  831          UBHWIT0383580          UBHWIT0383584   2/27/2011    Common Review for Gerard B. Niewenhous
  832          UBHWIT0383585          UBHWIT0383589   2/26/2012    Common Review for Gerard B. Niewenhous
  833          UBHWIT0383590          UBHWIT0383595   2/24/2013    Common Review for Gerard B. Niewenhous
  834          UBHWIT0383596          UBHWIT0383601   2/23/2014    Common Review for Gerard B. Niewenhous
                                                                                                                                                 Brock 13; Triana (5-10-
  835          UBHWIT0383559          UBHWIT0383563   2/24/2013    Common Review for Irvin P. Brock
                                                                                                                                                 17) 14
  836          UBHWIT0383564          UBHWIT0383568   2/23/2014    Common Review for Irvin P. Brock                                              Brock 14; Triana 11
  837          UBHWIT0383569          UBHWIT0383574   2/22/2015    Common Review for Irvin P. Brock                                              Brock 15; Triana 12
  838          UBHWIT0383575          UBHWIT0383579   2/21/2016    Common Review for Irvin P. Brock                                              Brock 16
  839          UBHWIT0383665          UBHWIT0383670   2/26/2012    Common Review for James M. Slayton
  840          UBHWIT0512359          UBHWIT0512362   2/27/2011    Common Review for Keith W. Keytel
  841          UBHWIT0512363          UBHWIT0512366   2/26/2012    Common Review for Keith W. Keytel
  842          UBHWIT0512367          UBHWIT0512371   2/24/2013    Common Review for Keith W. Keytel                                             Keytel 1
  843          UBHWIT0512372          UBHWIT0512377   2/23/2014    Common Review for Keith W. Keytel                                             Keytel 2
  844          UBHWIT0512378          UBHWIT0512383   2/22/2015    Common Review for Keith W. Keytel                                             Keytel 5
  845          UBHWIT0512384          UBHWIT0512389   2/21/2016    Common Review for Keith W. Keytel                                             Keytel 7
  846          UBHWIT0664882          UBHWIT0664887   2/26/2012    Common Review for Letitia A. Watson
  847          UBHWIT0664593          UBHWIT0664599   2/19/2017    Common Review for Letitia A. Watson
  848          UBHWIT0383695          UBHWIT0383700   2/27/2011    Common Review for Lorenzo Triana
  849          UBHWIT0383701          UBHWIT0383705   2/26/2012    Common Review for Lorenzo Triana
  850          UBHWIT0383707          UBHWIT0383713   2/24/2013    Common Review for Lorenzo Triana                                              Triana 10
  851          UBHWIT0383714          UBHWIT0383720   2/23/2014    Common Review for Lorenzo Triana
  852          UBHWIT0383721          UBHWIT0383727   2/22/2015    Common Review for Lorenzo Triana
  853          UBHWIT0383728          UBHWIT0383734   2/21/2016    Common Review for Lorenzo Triana                                              Keytel 8
  854          UBHWIT0664600          UBHWIT0664606   2/19/2017    Common Review for Lorenzo Triana
  855          UBHWIT0664861          UBHWIT0664865   2/23/2014    Common Review for Loretta A. Urban
  856          UBHWIT0664607          UBHWIT0664611   2/19/2017    Common Review for Loretta A. Urban
  857          UBHWIT0664566          UBHWIT0664572   2/21/2016    Common Review for Lourdes G. Hattrich
  858          UBHWIT0512328          UBHWIT0512333   2/27/2011    Common Review for Margaret K. Brennecke
  859          UBHWIT0512334          UBHWIT0512337   2/26/2012    Common Review for Margaret K. Brennecke
  860          UBHWIT0512338          UBHWIT0512342   2/24/2013    Common Review for Margaret K. Brennecke
  861          UBHWIT0512343          UBHWIT0512347   2/23/2014    Common Review for Margaret K. Brennecke
  862          UBHWIT0512348          UBHWIT0512353   2/22/2015    Common Review for Margaret K. Brennecke




                                                                                                                  24 of 40
                                            Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 25 of 40


                                                                          Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                       Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                             Joint Trial Exhibit List
                                                                                                        October 17, 2017
Trial Ex.                                                                                                                                                                     Date Offered Into   Date Received Into
            Beginning Bates / Range     End Bates       Date                                        Description                                        Depo. Exhibit(s)                                                Limitations on Use
  No.                                                                                                                                                                             Evidence            Evidence
  863          UBHWIT0512354          UBHWIT0512358   2/21/2016    Common Review for Margaret K. Brennecke                                          Keytel 9
  864          UBHWIT0664972          UBHWIT0664977   2/19/2017    Common Review for Margaret K. Brennecke
  865          UBHWIT0664635          UBHWIT0664639   2/23/2014    Common Review for Marian M. Maguire
  866          UBHWIT0664640          UBHWIT0664644   2/22/2015    Common Review for Marian M. Maguire
  867          UBHWIT0664645          UBHWIT0664649   2/21/2016    Common Review for Marian M. Maguire                                              Keytel 10
  868          UBHWIT0664776          UBHWIT0664780   2/21/2016    Common Review for Nisha C. Patterson
  869          UBHWIT0664770          UBHWIT0664775   2/19/2017    Common Review for Nisha C. Patterson
  870          UBHWIT0664583          UBHWIT0664586   2/26/2012    Common Review for Richard Gonzales Jimenez
  871                                                              INTENTIONALLY LEFT BLANK
  872                                                              INTENTIONALLY LEFT BLANK
  873                                                              INTENTIONALLY LEFT BLANK
  874                                                              INTENTIONALLY LEFT BLANK
  875                                                              INTENTIONALLY LEFT BLANK
  876                                                              INTENTIONALLY LEFT BLANK
  877                                                              INTENTIONALLY LEFT BLANK
  878                                                              INTENTIONALLY LEFT BLANK
  879              No Bates              No Bates                  Definition and Application of Federal Mental Health and Addiction Equity Act     Robinson-Beale Ex. 9
  880              No Bates              No Bates      6/9/2017    Stipulations of Fact (Guideline Groupings) (Wit ECF No. 257)
  881              No Bates              No Bates     3/10/2017    Expert Report of Dr. Marc Fishman
  882              No Bates              No Bates      4/7/2017    Rebuttal Expert Report of Dr. Marc Fishman
  883              No Bates              No Bates     3/10/2017    Expert Report of Dr. Thomas Goddard
  884              No Bates              No Bates      4/7/2017    Rebuttal Expert Report of Dr. Thomas Goddard
  885              No Bates              No Bates     3/10/2017    Expert Report of Dr. Thomas Simpatico
  886              No Bates              No Bates      4/7/2017    Rebuttal Expert Report of Dr. Thomas Simpatico
                                                                   Defendant's Disclosure of Non-Retained Expert Testimony Pursuant to Fed. R. Civ.
  887              No Bates              No Bates     3/10/2017
                                                                   P. 26(A)(2)(C)
  888              No Bates              No Bates      4/7/2017    Rebuttal Report of Dr. Andrew Martorana
  889              No Bates              No Bates     3/10/2017    Expert Report of Dr. Eric Plakun
  890              No Bates              No Bates      4/7/2017    Rebuttal Expert Report of Dr. Eric Plakun
  891              No Bates              No Bates      4/7/2017    Rebuttal Expert Report of Dr. Danesh Alam
                                                                                                       892 to 1000 Intentionally Blank
  1001         UBHWIT0075565                           5/3/2011    BPAC Meeting Minutes May 3, 2011                                                 Alchin Dep. Ex. 06
                                                                   United Behavioral Health Coverage Determination Committee Minutes (Chaired by Allchin Dep. Ex. 8
  1002         UBHWIT0085776                           2/3/2011
                                                                   Gerard Niewenhous and Jim Stayton)
  1003                                                             Intentionally Left Blank
                                                                   OptumHealth Behavorial Solutions of Cailfornia, Utilization Management Program Beaty Dep. Ex. 03
  1004         UBHWIT0070954                          00/00/2015
                                                                   Description 2015
  1005                                                             Intentionally Left Blank
  1006         UBHWIT0071112                                       UM Program Description 2012 Template                                             Beaty Dep. Ex. 06
  1007         UBHWIT0071226                                       QI1: Program Structure                                                           Beaty Dep. Ex. 07
  1008         UBHWIT0071287                                       CC1: Coordination of Behavioral Healthcare                                       Beaty Dep. Ex. 08
  1009         UBHWIT0071304                                       UM Program Structure                                                             Beaty Dep. Ex. 09
                                                                   Statement of Members' Rights and Responsibilities; Policies for Complaints and   Beaty Dep. Ex. 11
  1010         UBHWIT0071385
                                                                   Appeals.
  1011         UBHWIT0071799                          00/00/2011   Utilization Management                                                           Beaty Dep. Ex. 12
  1012         UBHWIT0071423                          12/00/2011   Health Utilization Management Accreditation Guide Version 7.0                    Beaty Dep. Ex. 13
                                                                   Optum by United Behavioral Health, Utilization Management Program Description Brock Dep. Ex. 18
  1013         UBHWIT0071027                          00/00/2014
                                                                   2014
  1014                                                             Intentionally Left Blank
  1015                                                             Intentionally Left Blank
  1016                                                             Intentionally Left Blank
  1017                                                             Intentionally Left Blank
  1018                                                             Intentionally Left Blank
  1019                                                             Intentionally Left Blank
                                                                   United Behaviorial Health/Pacificare Behavorial Health - St. Louis Care          Goddard Dep. Ex. 09
  1020         UBHWIT0443970                          3/25/2010
                                                                   Management Center Clinical and Utilization Anaylsis Subcommittee.
  1021                                                             Intentionally Left Blank
  1022                                                             Intentionally Left Blank
  1023                                                             Intentionally Left Blank
  1024                                                             Intentionally Left Blank
  1025                                                             Intentionally Left Blank
                                                                   Email from Carol Stover to brock, Keith Keytel, Lorenzo Triana Martin            Motz Dep. Exs. 07, 07A,
              UBHWIT0107047;
  1026                                                2/20/2014    Rosenzweig, Paul Mccarthy cc'd Deborah Adler, Brent Bolstrom, Mary Wesson re and 07B
              UBHWIT0107049
                                                                   SUDs -2013 Accomplishments/2014 Initiatives (with attachment).
  1027                                                             Intentionally Left Blank
  1028                                                             Intentionally Left Blank




                                                                                                                  25 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 26 of 40


                                                                       Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                    Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                          Joint Trial Exhibit List
                                                                                                     October 17, 2017
Trial Ex.                                                                                                                                                                   Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates     Date                                          Description                                         Depo. Exhibit(s)                                               Limitations on Use
  No.                                                                                                                                                                           Evidence            Evidence
             UBHWIT0234586;                                                                                                                       Niewenhous Dep. Ex. 24
             UBHWIT0342135;
             UBHWIT0228882;
  1029                                                         Sample Soliciation Letters re 2010, 2011, 2013, 2014, 2015, and 2016 Guidelines.
             UBHWIT0348827;
            UBHWIT0134493; and
             UBHWIT0354244
  1030                                                         Intentionally Left Blank
                                                                                                                                                  Niewenhous Dep. Ex. 18
  1031         UBHWIT0341354                      00/00/2011   UBH 2011 Level of Care Guidelines Reference List
                                                               Email appointment from Gerard Niewenhous to William Bonfield, Rhonda               Niewenhous Dep. Ex. 27
  1032         UBHWIT0180102                      3/22/2012    Robinson, Irvin Brock, Lorenzo Triana, and Maria Sekec re Input on the 2012
                                                               Level of Care Guidelines.
              UBHWIT0101903;                                                                                                                      Niewenhous Dep. Ex. 38
              UBHWIT0101907;                                                                                                                      Robinson-Beale Dep. Ex.
            UBHWIT0101959-1972;                                Email Appointment re Internal review of ASAM criteria crosswalk (with partial      19
  1033                                            1/14/2014
             UBHWIT0101980-84;                                 attachments)
            UBHWIT0102006-2009;
            UBHWIT0102011-2017
                                                                                                                                                  Niewenhous Dep. Ex. 43
  1034         UBHWIT0181182                      7/13/2012    Email from Gerard Niewenhous to Loretta Urban re Why Now.
  1035
  1036         UBHWIT0142236                      11/8/2012    Email re LOCGs revisions                                                           Niewenhous Dep. Ex 47
                                                                                                                                                  Niewenhous Dep. Ex. 48
  1037         UBHWIT0347524                                   Feedback for the 2013 Guidelines
  1038                                                         Intentionally Left Blank
                                                               Email from James Davis to Lorenzo Triana CC'd Nisha Patterson, Joseph Hullett,     Patterson Dep. Ex. 13
  1039         UBHWIT0508554                      2/18/2016    Paul Mccarthy, Martin Rosenzweig, Keith Keytel and David Elton re SUDS CDG
                                                               Revision Recommendations.
  1040                                                         Optum Health ASAM Criteria for Managing Substance-Related Disorders.               Patterson Dep. Ex. 18
  1041                                                         Intentionally Left Blank
  1042                                                         Intentionally Left Blank
  1043                                                         Intentionally Left Blank
  1044                                                         Intentionally Left Blank
  1045                                            10/00/2016   Austen Riggs Center Finance and Insurance Information                              Plankun Dep. Ex. 04
                                                               Email from Gerard Niewenhous to Carolyn Regan and Loretta Urban re Urgent          Regan Dep. Ex. 01
  1046         UBHWIT0402932                       8/8/2014
                                                               Request - Need by EOB today (with attachment)
  1047         UBHWIT0543136                      4/22/2014    Email re FW: Rhonda Duties Assigned (with attachment)                              Regan Dep. Ex. 02
                                                               Email from Gerard Niewenhous re Input Needed for the 2015 LOC and Testing          Regan Dep. Ex. 04
  1048         UBHWIT0102420                      10/31/2014
                                                               Guidelines (with attachments).
  1049                                                         Intentionally Left Blank
                                                               Email from Loretta Urban to Sharon Guinan and Gerard Niewenhous re UR              Robinson-Beale Dep.
  1050         UBHWIT0125062                      9/12/2013
                                                               Deficiency #3 - Guidelines (with excel attachment).                                Ex. 16
  1051                                                         Intentionally Left Blank
  1052         UBHWIT0647627                      7/12/2016    Optum Utilization Management Committee Minutes.                                    Rockswold Dep. Ex. 01
                                                               Email from Erik Rockswold to Lynn Wetherbee re Rockswold - Document                Rockswold Dep. Ex. 28
  1053         UBHWIT0611842                       8/4/2016
                                                               Ownership.
  1054         UBHWIT0510213                      9/13/2016    Utilization Management Committee Meeting Minutes.                                  Rockswold Dep. Ex. 03
                                                               Email from Erik Rockswold to Robin Carle, Cris Garcia, Michael Bresolin, Amy       Rockswold Dep. Ex. 31
  1055         UBHWIT0611833                       8/4/2016
                                                               Watson, Gerard Niewenhous re Mercer/PHP PEBB/SDT item.
                                                               Email from Nisha Patterson to David Elton, Erik Rockswold and Paul Mccarthy re     Rockwold Dep. Ex. 25
  1056         UBHWIT0608255                      5/20/2016
                                                               RM Whitepaper Draft (with attachment).
  1057                                                         Intentionally Left Blank
  1058                                                         Intentionally Left Blank
  1059                                                         Intentionally Left Blank
  1060         UBHWIT0072598                      00/00/2012   Optum - Behavioral Policy & Analytics Committee Q1 and Q2 2012 Report.             Urban Dep. Ex. 11
  1061                                                         Intentionally Left Blank
  1062                                                         Intentionally Left Blank
  1063                                            00/00/2013   2013 Optum Inter-Rater Reliability Measure Report                                  Triana Dep. Ex. 15
                                                               Email from Victoria Gorski to Larhonda Jones, Scott Beardsley, Murray Zucker,      Triana Dep. Ex. 16
  1064         UBHWIT0046343                      10/7/2014    Carlin Barnes re ED Clinical Audit Discussion Mtg notes 10-7-14 (with
                                                               attachment).
  1065                                                         Intentionally Left Blank
  1066                                                         Intentionally Left Blank
  1067                                                         Intentionally Left Blank
                                                                                                                                                  Urban Dep. Ex. 02
  1068                                                         CALOCUS, Child and Adolescent Level of Care Utilization System (Version 1.5).




                                                                                                                26 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 27 of 40


                                                                       Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                    Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                         Joint Trial Exhibit List
                                                                                                    October 17, 2017
Trial Ex.                                                                                                                                                           Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates     Date                                        Description                                     Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                   Evidence            Evidence
                                                                LOCUS - Level of Care Utilization System for Psychiatric Addiction Services   Urban Dep. Ex. 03
  1069                                             3/20/2009
                                                                (Adult Version 2010).
  1070          UBHWIT0072580                      11/17/2011   Behavioral Policy & Analytics Committee - Role/Purpose                        Urban Dep. Ex. 05
  1071          UBHWIT0010544                       8/2/2004    Management of Child/Adolescent Cases
                                                                Process for Developing and Updating United Behavioral Health's (UBH) Coverage
  1072          UBHWIT0082258                       7/3/2005
                                                                Determination Guidelines (2011)
  1073                                                          Intentionally Left Blank
  1074          UBHWIT0000268                       7/6/2005    Process for Developing and Disseminating Optum's Clinical Guidelines (2014)
  1075                                                          Intentionally Left Blank
  1076          UBHWIT0092460                       7/7/2005    2015 Optum/USBHPC Guidelines Substantial Changes from the 2014 Edition
  1077          UBHWIT0092464                       7/7/2005    Process for Developing and Disseminating Optum's Clinical Guidelines (2015)
  1078                                              6/4/2010    ALERT Medical Necessity- Care Advocacy Intervention Script
  1079                                                          Intentionally Left Blank
  1080                                                          Intentionally Left Blank
  1081                                                          Intentionally Left Blank
                                                                Email from Brennecke re Literature Search - Efficacy of Psychodynamic
  1082          UBHWIT0460991                      6/18/2010
                                                                Psychotherapy sent on 6/18/2010
  1083          UBHWIT0550520                      7/15/2010    CDC Meeting Minutes July 15, 2010 [Draft]
  1084          UBHWIT0552008                      8/12/2010    BPAC Committee Meeting Minutes August 12, 2010 [Draft]
  1085          UBHWIT0083333                      8/19/2010    CDC Meeting Minutes August 19, 2010
  1086          UBHWIT0078841                      8/26/2010    CDC Meeting Minutes August 26, 2010
  1087          UBHWIT0556677                      9/21/2010    BPAC Committee Meeting Minutes September 21, 2010
  1088          UBHWIT0080897                      9/28/2010    BPAC Meeting Minutes September 28, 2010
  1089                                                          Intentionally Left Blank
  1090          UBHWIT0587467                      10/5/2010    BPAC Meeting Minutes October 5, 2010 [Draft]
  1091          UBHWIT0552745                      10/19/2010   BPAC Committee Meeting Minutes October 19, 2015 [Draft]
  1092          UBHWIT0078309                      10/28/2010   CDC Meeting Minutes October 28, 2010 (Draft)
  1093          UBHWIT0084803                      11/4/2010    CDC Meeting Minutes November 4, 2010
  1094          UBHWIT0171574                      12/13/2010   Email re RE: Soliciation of Input for the 2011 Guidelines
                                                                Utilization Management Program Description 2011 - Philadelphia Care Advocacy
  1095          UBHWIT0137800                       1/1/2011
                                                                Center
  1096          UBHWIT0218474                       1/1/2011    URAC Accreditation Certificate
  1097                                              1/1/2011    Affirmative Statements of Incentive 2011
  1098          UBHWIT0079029                       2/3/2011    CDC Meeting Minutes February 3, 2011
                                                                Email re FW: RE: AABH Participants - review of LOCG & CDGS sent on
  1099          UBHWIT0438621                      2/25/2011
                                                                2/25/2011 (w/ attachments)
  1100                                                          Intentionally Left Blank
                                                                Email re Am Psychological Assoc - Request or Review LOCG & CDG sent on
  1101          UBHWIT0454612                       3/4/2011
                                                                3/4/2011 (w/ attachments)
  1102      UBHALEXANDER0033000                    3/10/2011    ALERT Bipolar Disorder CDG - Care Advocacy Intervention Script (03/10/2011)
  1103         UBHWIT0079251                       3/10/2011    CDC Meeting Minutes March 10, 2011
  1104      UBHALEXANDER0040304                     3/25/2011   ALERT Substance Disoder - Care Advocacy Intervention Script (03/25/2011)
  1105         UBHWIT0170242                       10/17/2011   Email re CDG process
  1106      UBHALEXANDER0032998                    10/26/2011   ALERT Adjustment Disorder - Care Advocacy Intervention Script (10/26/2011)

  1107      UBHALEXANDER0040547                    10/26/2011   ALERT Adjustment Disorder - Care Advocacy Intervention Script (10/26/2011)
                                                                ALERT Posttraumatic Stress Disorder - Care Advocacy Intervention Script
  1108      UBHALEXANDER0040306                    11/17/2011
                                                                (11/17/2011)
  1109      UBHALEXANDER0032967                    12/2/2011    ALERT Dysthymic Disoder - Care Advocacy Intervention Script (12/02/2011)
  1110         UBHWIT0163148                       1/1/2012     Utilization Management Program 2012 - Template
  1111                                                          Intentionally Left Blank
  1112          UBHWIT0048569                       1/6/2012    Email from Niewenhous to Triana re Fail First
  1113          UBHWIT0234436                      1/11/2012    Email re ASAM Language re Modification of Tx Plan and Fail First
  1114          UBHWIT0345080                      1/20/2012    Guideline Assessment from Dr. Bernard Bogard, January 20, 2012
  1115          UBHWIT0345090                      1/24/2012    Guidelines Assessment from Dr. Sabah Chammas, January 24, 2012
  1116          UBHWIT0345089                       2/2/2012    Guideline Assessment from Dr. Robert Gregory, February 2, 2012
                                                                ALERT Dementia Disorder CDG - Care Advocacy Intervention Script
  1117      UBHALEXANDER0032969                     2/3/2012
                                                                (02/13/2012)
  1118          UBHWIT0345088                       2/7/2012    Guideline Assessment from Richard Paris
  1119          UBHWIT0218469                       3/5/2012    NCQA Full Accreditation Certificate
  1120      UBHALEXANDER0032996                    3/20/2012    ALERT ADHD Disorder CDG - Care Advocacy Intervention Script (3/20/2012)
  1121          UBHWIT0083017                      3/20/2012    BPAC Meeting Minutes March 20, 2012 [DRAFT]
  1122          UBHWIT0452276                      3/21/2012    Utilization Management Program Description 2012 - Portland Care Advocacy Trial




                                                                                                               27 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 28 of 40


                                                                        Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                     Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                           Joint Trial Exhibit List
                                                                                                     October 17, 2017
Trial Ex.                                                                                                                                                              Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates     Date                                         Description                                       Depo. Exhibit(s)                                            Limitations on Use
   No.                                                                                                                                                                     Evidence            Evidence
  1123          UBHWIT0416551                      3/26/2012    CP&O Committee Minutes, March 26, 2012
  1124                                                          Intentionally Left Blank
  1125      UBHALEXANDER0032994                     4/2/2012    ALERT Anorexia CDG - Care Advocacy Intervention Script (04/02/2012)
  1126                                                          Intentionally Left Blank
  1127      UBHALEXANDER0032973                     5/3/2012    Conduct Disorder CDG - Care Advocacy Intervention Script (05/03/2012)
  1128         UBHWIT0087644                       5/15/2012    Optum Clinical Guidelines
  1129                                                          Intentionally Left Blank
  1130                                                          Intentionally Left Blank
  1131          UBHWIT0550475                      7/10/2012    BPAC Meeting Minutes 10, July, 2012 [Draft]
  1132          UBHWIT0426617                      7/12/2012    Email on 7-12-2012 re BSAC 7/12/12 (w/ attachments)
  1133                                                          Intentionally Left Blank
  1134                                                          Intentionally Left Blank
  1135          UBHWIT0106094                      11/30/2012   Email on 11-30-2012 re BSAC 12/6/12 (w/ attachments)
  1136          UBHWIT0461176                      12/5/2012    Email on 12-5-2012 re BSAC 12/6/12 (w/ attachments)
  1137                                                          Intentionally Left Blank
  1138          UBHWIT0379672                       1/1/2013    Affirmative Statements of Incentive 2013
                                                                A Brief Review of Evidence-Based Treatment for Adjustment Disorder
  1139          UBHWIT0178660                      1/30/2013
                                                                (1/30/2013)
  1140                                                          Intentionally Left Blank
  1141          UBHWIT0182836                      3/14/2013    Email on 3-14-2013 re BSAC 3/18/13 (w/ attachments)
  1142                                                          Intentionally Left Blank
  1143          UBHWIT0088989                       4/2/2013    BPAC Minutes
  1144          UBHWIT0450142                      5/20/2013    Email chain re assistance with Chicago Agencies RFP
  1145          UBHWIT0445760                       6/1/2013    Care Advocacy Policy: Member Internal Appeals of Non-Coverage Determinations
  1146          UBHWIT0440530                      6/18/2013    Email on 6-18-2013 re DOCS for 6/18 BSAC PREP (w/ attachments)
  1147          UBHWIT0464034                      6/24/2013    Specialty Networks Clinical Vision
  1148                                                          Intentionally Left Blank
  1149          UBHWIT0438397                      10/7/2013    Email re Optum Guidelines
  1150          UBHWIT0126105                      10/31/2013   Email soliciting input from staff on 2014 Guidelines
  1151                                                          Intentionally Left Blank
  1152                                                          Intentionally Left Blank
  1153                                                          Intentionally Left Blank
  1154                                                          Intentionally Left Blank
  1155                                                          Intentionally Left Blank
  1156                                                          Intentionally Left Blank
  1157                                                          Intentionally Left Blank
  1158          UBHWIT0099516                       1/1/2014    Affirmative Statements of Incentive 2014
  1159                                                          Intentionally Left Blank
  1160          UBHWIT0595313                       1/1/2014    URAC Accreditation Certificate
  1161                                                          Intentionally Left Blank
  1162          UBHWIT0047777                      1/14/2014    Organization Chart of National Sites
                                                                Email RE: large group follow up: litearture reviews for CDG sent on 1/23/2014 (w/
  1163          UBHWIT0461268                      1/23/2014
                                                                attachment)
  1164                                                          Intentionally Left Blank
  1165                                                          Intentionally Left Blank
  1166                                                          Intentionally Left Blank
  1167          UBHWIT0436012                       3/6/2014    Email on 3-6-2014 re BSAC 12/2/13 final (w/ attachments)
  1168          UBHWIT0398838                      6/16/2014    Email re ASAM Level of Care Guidelines in Rhode Island
  1169                                                          Intentionally Left Blank
  1170          UBHWIT0406162                      9/16/2014    Email re 2015 LOCGs
  1171          UBHWIT0171972                      10/24/2014   Email re MA DOI Session - Tx of Opioid Addiction
  1172                                                          Intentionally Left Blank
  1173                                                          Intentionally Left Blank
  1174                                                          Intentionally Left Blank
  1175                                                          Intentionally Left Blank
  1176                                                          Intentionally Left Blank
  1177          UBHWIT0093021                      3/17/2015    BPAC Minutes
  1178                                                          Intentionally Left Blank
  1179          UBHWIT0094366                       9/1/2015    BPAC Minutes
  1180          UBHWIT0606065                      9/11/2015    Email on 9-11-2015 re BSAC Agenda Sept. 2015 (w/ attachments)
                                                                Email from Niewenhous re RE: AACAP Input on Level of care Criteria sent on
  1181          UBHWIT0483015                      10/19/2015
                                                                10/19/2015
  1182          UBHWIT0470824                      11/5/2015    Email RE: Special BPAC approval for change in SA IOP LOC
  1183          UBHWIT0094462                      11/10/2015   BPAC Meeting Minutes 10, November, 2015 (Draft)
  1184          UBHWIT0094617                      11/24/2015   BPAC Meeting Minutes 24, November, 2015
  1185          UBHWIT0601694                      12/6/2015    Email re OON FL Strategy - Sober Homes/IOPs/FL labs




                                                                                                                28 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 29 of 40


                                                                        Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                     Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                           Joint Trial Exhibit List
                                                                                                      October 17, 2017
Trial Ex.                                                                                                                                                              Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates     Date                                         Description                                       Depo. Exhibit(s)                                            Limitations on Use
   No.                                                                                                                                                                     Evidence            Evidence
  1186          UBHWIT0509437                       1/1/2016    Utilization Management Program 2016
  1187          UBHWIT0615316                      1/19/2016    BPAC Meeting Minutes 19, January, 2016
                                                                Email from Niewenhous re RE: Review of 2016 UBH LOC Guideliens sent on
  1188          UBHWIT0493643                      3/15/2016
                                                                3/15/2016 (w/ attachment)
  1189          UBHWIT0493689                      3/17/2016    Email on 3-17-2016 re BSAC Agenda for 3/25 (w/ attachments)
  1190                                                          Intentionally Left Blank
  1191          UBHWIT0623988                       8/5/2016    MD Peer Reviewer Results: Clinical Documentation Review 1st-2nd Quarter 2016
  1192                                                          Intentionally Left Blank
  1193                                                          Intentionally Left Blank
  1194          UBHWIT0457980                      1/00/2012    Management of Behavioral Health Benefits
  1195          UBHWIT0160286                      10/00/2012   BPAC Description
                                                                Care Advocacy Policy and Procedures Gathering and Documentation of
  1196          UBHWIT0445740                      12/00/2012
                                                                Information Used to Make Care Advocacy Decisions
  1197                                                          Intentionally Left Blank
  1198                                                          Intentionally Left Blank
  1199          UBHWIT0099413                      3/00/2013    BPAC Update Bulletin: March, 2013
  1200          UBHWIT0078161                      5/00/2010    Standard Operating Procedure: Benefit Determinations
  1201          UBHWIT0009007                      5/00/2014    Determining Appropriate Level of Care - Clinical Learning May 2014
  1202          UBHWIT0136637                      6/00/2012    White Paper: OptumHealth's Clinical Guidelines (June, 2012) [Draft 2]
                                                                Care Advocacy Policy Clinical Guidelines: Development and Approval,
  1203          UBHWIT0544111                      6/00/2014
                                                                Dissemination and Use [Draft 1]
  1204          UBHWIT0072526                      9/00/2014    BPAC Update Bulletin: September, 2014
                                                                ALERT Major Depressive Disorder CDG - Care Advocacy Intervention Script
  1205      UBHALEXANDER0040284                     Undated
                                                                (Undated)
  1206          UBHWIT0008988                       Undated     Coverage Determination Guidelines New Hire Orientation
  1207          UBHWIT0072606                       Undated     Behavioral Policy & Analytics Committee - Q2 2013 Report
  1208          UBHWIT0090045                       Undated     2014 Optum/USBHPC Guidelines Substantial Changes from 2013 Edition
                                                                Standards of Practice for Intensive Outpatient Program, Day Treatment and Partial
  1209          UBHWIT0097192                       Undated
                                                                Hospital Program
  1210                                                          Intentionally Left Blank
  1211          UBHWIT0125063                       Undated     Guideline Deviations, CDG Guideline Evidence, LOC Guideline Evidence
  1212          UBHWIT0129101                       Undated     Oversight of Optum's Clinical Guidelines
  1213                                                          Intentionally Left Blank
  1214          UBHWIT0349971                       Undated     Questions & Considerations for AABH
  1215          UBHWIT0352277                       Undated     Feedback for the 2015 Guidelines
  1216          UBHWIT0430919                       Undated     SUDS Group: Talking Points
  1217                                                          Intentionally Left Blank
  1218          UBHWIT0047990                                   Technology Assessment - TMS
  1219          UBHWIT0076315                                   BPAC Committee Meeting Minutes 19, March, 2013
  1220          UBHWIT0088929                                   Process for Developing and Disseminating Optum's Clinical Guidelines (2013)
  1221                                                          Intentionally Left Blank
  1222          UBHWIT0101727                                   2014 Clinical Guidelines Reference List [Draft]
  1223                                                          Intentionally Left Blank
  1224                                                          Intentionally Left Blank
                                                                2012 OptumHealth/USBHPC Guidelines Substantial Changes from the 2011
  1225          UBHWIT0149562
                                                                Edition
  1226          UBHWIT0181860                                   Professional Society Feedback on 2011 Guidelines
  1227                                                          Intentionally Left Blank
  1228          UBHWIT0192348                                   2012 Staff Feedback Chart
  1229                                                          Intentionally Left Blank
  1230                                                          Intentionally Left Blank
  1231                                                          Intentionally Left Blank
                                                                Technology/Service Assessment - Developmental Therapy Programs for
  1232          UBHWIT0578041
                                                                Individuals with Autism Spectrum Disorders (ASDs)
  1233          UBHWIT0611999                                   2016 Optum/USBHPC Guidelines Substantial Changes from the 2015 Edition
  1234                                                          Intentionally Left Blank
                                                                Optum Staff Who Were Invited to Give Input for the 2016 Optum/OptumHealth
  1235         UNBHWIT0488688
                                                                Behavioral Solutions of California Guidelines
  1236                                                          Intentionally Left Blank
  1237                                                          Intentionally Left Blank
  1238                                                          Intentionally Left Blank
  1239          UBHWIT0072596                                   Feedback on Practice Guidelines (2010)
  1240          UBHWIT0339053                                   Consumer Feedback for the 2010 Guidelines
                                                                Provider and Staff Feedback on the 2010 LOC Supplemental and Testing
  1241          UBHWIT0340955
                                                                Guidelines
  1242                                                          Intentionally Left Blank




                                                                                                                29 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 30 of 40


                                                                Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                             Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                  Joint Trial Exhibit List
                                                                                            October 17, 2017
Trial Ex.                                                                                                                                  Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates   Date                                   Description                    Depo. Exhibit(s)                                            Limitations on Use
   No.                                                                                                                                         Evidence            Evidence
  1243                                                   Intentionally Left Blank
  1244                                                   Intentionally Left Blank
  1245                                                   Intentionally Left Blank
  1246         UBHWIT0341353                             Staff Feedback for the 2010 Guidelines
  1247                                                   Intentionally Left Blank
  1248                                                   Intentionally Left Blank
  1249                                                   Intentionally Left Blank
  1250                                                   Intentionally Left Blank
  1251         UBHWIT0342450                             Provider Feedback for the 2011 UBH USBHPC Guidelines (Final)
  1252         UBHWIT0261302                             Staff and Provider Guideline Input (2011)
  1253         UBHWIT0265753                             Staff Consumer and Provider Clinical Input (2012)
  1254         UBHWIT0347524                             Staff and Provider Guideline Input (2013)
  1255                                                   Intentionally Left Blank
  1256                                                   Intentionally Left Blank
  1257                                                   Intentionally Left Blank
  1258                                                   Intentionally Left Blank
  1259                                                   Intentionally Left Blank
  1260         UBHWIT0289882                             Summary of Guideline Input (2015)
  1261                                                   Intentionally Left Blank
  1262         UBHWIT0534441                             2016 Guideline Feedback Revised
  1263                                                   Intentionally Left Blank
  1264                                                   Intentionally Left Blank
  1265                                                   Intentionally Left Blank
  1266                                                   Intentionally Left Blank
  1267                                                   Intentionally Left Blank
  1268                                                   Intentionally Left Blank
  1269                                                   Intentionally Left Blank
  1270                                                   Intentionally Left Blank
  1271                                                   Intentionally Left Blank
  1272                                                   Intentionally Left Blank
  1273                                                   Intentionally Left Blank
  1274                                                   Intentionally Left Blank
  1275                                                   Intentionally Left Blank
  1276                                                   Intentionally Left Blank
  1277                                                   Intentionally Left Blank
  1278                                                   Intentionally Left Blank
  1279                                                   Intentionally Left Blank
  1280                                                   Intentionally Left Blank
  1281                                                   Intentionally Left Blank
  1282                                                   Intentionally Left Blank
  1283                                                   Intentionally Left Blank
  1284                                                   Intentionally Left Blank
  1285                                                   Intentionally Left Blank
              UBHWIT0059504-
  1286                                                                               Denial Letters - 659
              UBHWIT0059510
              UBHWIT0059650-
  1287                                                                               Denial Letters - 828
              UBHWIT0059658
              UBHWIT0053367-
  1288                                                                               Denial Letters - 986
              UBHWIT0053368
              UBHWIT0060141-
  1289                                                                               Denial Letters - 1010
              UBHWIT0060146
              UBHWIT0052246-
  1290        UBHWIT0052247                                                          Denial Letters - 1027

              UBHWIT0059911-
  1291                                                                               Denial Letters - 1060
              UBHWIT0059915
              UBHWIT0060074-
  1292                                                                               Denial Letters - 1655
              UHBWIT0060086
              UBHWIT0059929-
  1293                                                                               Denial Letters - 2427
              UBHWIT0059931
              UBHWIT0060109-
              UBHWIT0060111,
  1294                                                                               Denial Letters - 3262
              UBHWIT0060105-
              UBHWIT0060108
              UBHWIT0059520-
  1295                                                                               Denial Letters - 3435
              UBHWIT0059528




                                                                                                       30 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 31 of 40


                                                            Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                         Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                        Joint Trial Exhibit List
                                                                                  October 17, 2017
Trial Ex.                                                                                                                             Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates   Date                         Description                         Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                     Evidence            Evidence
              UHBWIT0060087-
  1296                                                                     Denial Letters - 3703
              UBHWIT0060095
              UBHWIT0059855-
  1297                                                                     Denial Letters - 3867
              UBHWIT0059874
              UBHWIT0041945-
  1298                                                                     Denial Letters - 4176
              UBHWIT0041988
              UBHWIT0059541-
  1299                                                                     Denial Letters - 5117
              UBHWIT0059556
               UBHWIT005984-
  1300                                                                     Denial Letters - 5618
              UBHWIT0059607
              UBHWIT0059923-
  1301                                                                     Denial Letters - 6032
              UHBWIT0059928
              UBHWIT0059758-
  1302                                                                     Denial Letters - 6355
              UBHWIT0059769
              UBHWIT0059890-
  1303                                                                     Denial Letters - 6600
              UBHWIT0059895
              UBHWIT0060115-
  1304                                                                     Denial Letters - 6943
              UHBWIT0060132
              UBHWIT0059660-
  1305                                                                     Denial Letters - 8179
              UBHWIT0059681
              UBHWIT0062906-
  1306                                                                     Denial Letters - 8301
              UBHWIT0062920
              UBHWIT0060291-
  1307                                                                     Denial Letters - 8355
              UBHWIT0060299
              UBHWIT0059529-
  1308        UBHWIT0059540                                                Denial Letters - 8617

              UBHWIT0060165-
  1309                                                                     Denial Letters - 8697
              UBHWIT0060173
              UBHWIT0060059-
  1310                                                                     Denial Letters - 8873
              UBHWIT0060073
              UBHWIT0060174-
  1311                                                                     Denial Letters - 8891
              UBHWIT0060182
              UBHWIT0060448-
  1312                                                                     Denial Letters - 8895
              UBHWIT0060462
              UBHWIT0060442-
  1313                                                                     Denial Letters - 8963
              UBHWIT0060447
              UBHWIT0050645-
  1314                                                                     Denial Letters - 8988
              UBHWIT0050652
              UBHWIT0060270-
  1315                                                                     Denial Letters - 9011
              UBHWIT0060281
              UBHWIT0060430-
              UBHWIT0060433
              UBHWIT0043052-
              UBHWIT0043055
              UBHWIT0043048-
  1316                                                                    Denial Letters - 10769
              UBHWIt0043051
              UBHWIT0043024-
              UBHWIT0043027
             UBHWIT000027132-
              UHBWIT0027134
              UBHWIT0026038-
              UBHWIT0026043
  1317                                                                    Denial Letters - 10922
              UBWHIT0026058-
              UBHWIT0026064
              UBHWIT0026363-
  1318                                                                    Denial Letters - 11164
              UBHWIT0026365
              UBHWIT0042863-
              UBHWIT0042868
  1319                                                                    Denial Letters - 11251
              UHBWIT0042852-
              UBHWIT0042858
              UBHWIT0027014-
              UBHWIT0027020
  1320                                                                    Denial Letters - 11276
              UBWHIT0026109-
              UBWHIT0026111




                                                                                             31 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 32 of 40


                                                             Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                          Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                         Joint Trial Exhibit List
                                                                                   October 17, 2017
Trial Ex.                                                                                                                              Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates   Date                         Description                         Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                      Evidence            Evidence
               UBHWIT0041232-
  1321                                                                     Denial Letters - 11582
               UBHWIT0041238
               UBHWIT0025914-
  1322                                                                     Denial Letters - 12102
               UBHWIT0025920
               UBHWIT0050869-
  1323                                                                     Denial Letters - 12310
               UBHWIT0050869
               UBHWIT0042533-
               UBHWIT0042540
               UBHWIT0042550-
  1324                                                                     Denial Letters - 12446
               UBHWIT0042555
               UBHWIT0042542-
               UBHWIT0042547
               UBHWIT0026793-
  1325                                                                     Denial Letters - 12533
               UBHWIT0026799
               UBHWIT0015164-
               UBHWIT0015178
  1326                                                                     Denial Letters - 12562
               UBHWIT0059608-
               UBHWIT0059634
               UBHWIT0026670-
               UBHWIT0026676
  1327                                                                     Denial Letters - 12605
               UBHWIT0025816-
               UBHWIT0025822
               UBHWIT0026156-
  1328                                                                     Denial Letters - 12649
               UBHWIT0026163
               UBHWIT0014944-
  1329                                                                     Denial Letters - 13042
               UBHWIT0014951
               UBHWIT0014741-
               UBHWIT0014752
  1330                                                                     Denial Letters - 13290
               UBHWIT0015118-
               UBHWIT0015128
               UBHWIT0026720-
  1331                                                                     Denial Letters - 13292
               UBHWIT0026734
               UBHWIT0060148-
  1332                                                                     Denial Letters - 13949
               UBHWIT0060152
               UBHWIT0014821-
  1333                                                                     Denial Letters - 14568
               UBHWIT0014827
               UBHWIT0015187-
  1334                                                                     Denial Letters - 15332
               UBHWIT0015193
            UBHALEXANDER0039210-
  1335                                                                      Denial Letters - 187
            UBHALEXANDER0039212
            UBHALEXANDER0036462-
  1336                                                                      Denial Letters - 1252
            UBHALEXANDER0036465
            UBHALEXANDER0031694-
  1337                                                                      Denial Letters - 1535
            UBHALEXANDER0031699
            UBHALEXANDER0030665-
  1338                                                                      Denial Letters - 1568
            UBHALEXANDER0030666
            UBHALEXANDER0024047-
  1339                                                                      Denial Letters - 1584
            UBHALEXANDER0024066
            UBHALEXANDER0036219-
  1340                                                                      Denial Letters - 1758
            UBHALEXANDER0036219
            UBHALEXANDER0031683-
  1341                                                                      Denial Letters - 1870
            UBHALEXANDER0031693
            UBHALEXANDER0030804-
  1342                                                                      Denial Letters - 2331
            UBHALEXANDER0030804
            UBHALEXANDER0030302-
  1343                                                                      Denial Letters - 2607
            UBHALEXANDER0030304
            UBHALEXANDER0037951-
  1344                                                                      Denial Letters - 2883
            UBHALEXANDER0037953
            UBHALEXANDER0036360-
  1345                                                                      Denial Letters - 2928
            UBHALEXANDER0036361
            UBHALEXANDER0030609-
  1346                                                                      Denial Letters - 3034
            UBHALEXANDER0030610
            UBHALEXANDER0030670-
  1347                                                                      Denial Letters - 3038
            UBHALEXANDER0030672
            UBHALEXANDER0030769-
  1348                                                                      Denial Letters - 3039
            UBHALEXANDER0030770




                                                                                              32 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 33 of 40


                                                             Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                          Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                         Joint Trial Exhibit List
                                                                                   October 17, 2017
Trial Ex.                                                                                                                              Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates   Date                         Description                         Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                      Evidence            Evidence
            UBHALEXANDER0030521-
  1349                                                                      Denial Letters - 3197
            UBHALEXANDER0030522
  1350      UBHALEXANDER0033533                                             Denial Letters - 3265
            UBHALEXANDER0040730-
  1351                                                                      Denial Letters - 3299
            UBHALEXANDER0040732
            UBHALEXANDER0038372-
  1352                                                                      Denial Letters - 3501
            UBHALEXANDER0038374
            UBHALEXANDER0030587-
  1353                                                                      Denial Letters - 3661
            UBHALEXANDER0030588
            UBHALEXANDER0039321-
  1354                                                                      Denial Letters - 3739
            UBHALEXANDER0039325
  1355      UBHALEXANDER0030324                                             Denial Letters - 3895
            UBHALEXANDER0023556-
  1356                                                                      Denial Letters - 3958
            UBHALEXANDER0023557
            UBHALEXANDER0024124-
  1357                                                                      Denial Letters - 4013
            UBHALEXANDER0024134
            UBHALEXANDER0024080-
  1358                                                                      Denial Letters - 4076
            UBHALEXANDER0024081
            UBHALEXANDER0023368-
  1359                                                                      Denial Letters - 4141
            UBHALEXANDER0023369
            UBHALEXANDER0023615-
  1360                                                                      Denial Letters - 4263
            UBHALEXANDER0023616
            UBHALEXANDER0023537-
  1361                                                                      Denial Letters - 4723
            UBHALEXANDER0023543
            UBHALEXANDER0032375-
  1362                                                                      Denial Letters - 4854
            UBHALEXANDER0032376
            UBHALEXANDER0032515-
  1363                                                                      Denial Letters - 5031
            UBHALEXANDER0032517
            UBHALEXANDER0023491-
            UBHALEXANDER0023492
  1364                                                                      Denial Letters - 5058
            UBHALEXANDER0023498-
            UBHALEXANDER0023499
            UBHALEXANDER0024000-
            UBHALEXANDER0024001
            UBHALEXANDER0024016-
  1365                                                                      Denial Letters - 5165
            UBHALEXANDER0024017
            UBHALEXANDER0024008-
            UBHALEXANDER0024009
            UBHALEXANDER0024139-
            UBHALEXANDER0024141
  1366                                                                      Denial Letters - 5282
            UBHALEXANDER0024147-
            UBHALEXANDER0024149
            UBHALEXANDER0023635-
            UBHALEXANDER0023636
            UBHALEXANDER0023658-
            UBHALEXANDER0023659
  1367                                                                      Denial Letters - 5927
            UBHALEXANDER0023664-
            UBHALEXANDER0023665
            UBHALEXANDER0023670-
            UBHALEXANDER0023671
            UBHALEXANDER0023969-
            UBHALEXANDER0023970
            UBHALEXANDER0023987-
  1368                                                                      Denial Letters - 5956
            UBHALEXANDER0023988
            UBHALEXANDER0023977-
            UBHALEXANDER0023978
            UBHALEXANDER0030558-
  1369                                                                      Denial Letters - 6003
            UBHALEXANDER0030560
            UBHALEXANDER0032588-
  1370                                                                      Denial Letters - 6098
            UBHALEXANDER0032593
            UBHALEXANDER0032390-
  1371                                                                      Denial Letters - 6215
            UBHALEXANDER0032404




                                                                                              33 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 34 of 40


                                                                     Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                  Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                       Joint Trial Exhibit List
                                                                                                  October 17, 2017
Trial Ex.                                                                                                                                                        Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates    Date                                      Description                                     Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                Evidence            Evidence
            UBHALEXANDER0032447-
            UBHALEXANDER0032448
            UBHALEXANDER0032453-
            UBHALEXANDER0032455
            UBHALEXANDER0032458-
  1372                                                                                    Denial Letters - 6254
            UBHALEXANDER0032460
            UBHALEXANDER0032470-
            UBHALEXANDER0032472
            UBHALEXANDER0032475-
            UBHALEXANDER0032477
            UBHALEXANDER0030287-
  1373                                                                                    Denial Letters - 6326
            UBHALEXANDER0030288
            UBHALEXANDER0031717-
  1374                                                                                    Denial Letters - 6329
            UBHALEXANDER0031722
            UBHALEXANDER0030219-
  1375                                                                                    Denial Letters - 7292
            UBHALEXANDER0030221
            UBHALEXANDER0030543-
  1376                                                                                    Denial Letters - 7787
            UBHALEXANDER0030544
            UBHALEXANDER0030394-
  1377                                                                                    Denial Letters - 8242
            UBHALEXANDER0030395
  1378      UBHALEXANDER0030462                                                           Denial Letters - 8357
  1379      UBHALEXANDER0030263                                                           Denial Letters - 8489
            UBHALEXANDER0030194-
  1380                                                                                    Denial Letters - 8623
            UBHALEXANDER0030195
            UBHALEXANDER0032068-
  1381                                                                                    Denial Letters - 8878
            UBHALEXANDER0032071
            UBHALEXANDER0030451-
  1382                                                                                    Denial Letters - 9294
            UBHALEXANDER0030453
            UBHALEXANDER0031828-
  1383                                                                                    Denial Letters - 9836
            UBHALEXANDER0031836
            UBHALEXANDER0024185-
  1384                                                                                    Denial Letters - 10477
            UBHALEXANDER0024192
            UBHALEXANDER0024293-
  1385                                                                                    Denial Letters - 10533
            UBHALEXANDER0024296
            UBHALEXANDER0032073 -
  1386                                                                                    Denial Letters - 10756
            UBHALEXANDER0032074
            UBHALEXANDER0024167-
  1387                                                                                    Denial Letters - 10939
            UBHALEXANDER0024176
            UBHALEXANDER0024341-
            UBHALEXANDER0024347
  1388                                                                                    Denial Letters - 11000
            UBHALEXANDER0024367-
            UBHALEXANDER0024371
            UBHALEXANDER0024206
            UBHALEXANDER0024215-
  1389      UBHALEXANDER0024223                                                           Denial Letters - 12342
            UBHALEXANDER0024207-
            UBHALEXANDER0024223
            UBHALEXANDER0032130-
            UBHALEXANDER0032143
  1390                                                                                    Denial Letters - 12404
            UBHALEXANDER0032156-
            UBHALEXANDER0032169
            UBHALEXANDER0024420-
  1391                                                                                    Denial Letters - 12944
            UBHALEXANDER0024431
            UBHALEXANDER0024244-
  1392                                                                                   Denial Letters - 13025
            UBHALEXANDER0024285
                                                               American Society of Addiction Medicine. ASAM Patient Placement Criteria for
  1393                                              2001      the Treatment of Substance-Related Disorders, (ASAM PPC-2R), Second Edition –
                                                              Revised, 2001.
  1394                                             4/3/2017   “What is CONTINUUM?,” ASAM Continuum, April 3, 2017.
                                                              “Bibliography and Brief Description: The ASAM Criteria & CONTINUUM,”
  1395                                             Undated
                                                              ASAM Continuum.
                                                               CALOCUS, Version 1.5 Child and Adolescent Level of Care Utilization System,
  1396                                              2001
                                                              2001
  1397                                                        Intentionally Left Blank
  1398                                                        Intentionally Left Blank
  1399                                                        Intentionally Left Blank




                                                                                                            34 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 35 of 40


                                                                       Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                    Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                           Joint Trial Exhibit List
                                                                                                      October 17, 2017
Trial Ex.                                                                                                                                                               Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates     Date                                           Description                                       Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                       Evidence            Evidence
                                                               Medicare Benefit Policy Manual, Chapter 2 – Inpatient Psychiatric Hospital
  1400                                             Undated
                                                               Services – Crosswalk
                                                               Medicare Benefit Policy Manual, Chapter 6 – Hospital Services Covered Under
  1401                                             Undated
                                                               Part B – Crosswalk
                                                               Medicare Benefit Policy Manual, Chapter 16 – General Exclusions From Coverage
  1402                                             Undated
                                                               – Crosswalks
                                                                Center for Substance Abuse Treatment. Detoxification and Substance Abuse
                                                               Treatment. Substance Abuse and Mental Health Services Ad ministration (US),
  1403                                              2006
                                                               2006. (Treatment Improvement Protocol (TIP) Series, No. 45.) 2 Settings, Levels
                                                               of Care, and Patient Placement.
                                                                 American Association of Community Psychiatrists, Child and Adolescent Level of
  1404                                              2010
                                                               Care Utilization Systems (CALOCUS) (20 I O);
  1405                                             Undated     18 V.S.A § 710 I
                                                                "Glossary: Medically necessary", Medicare.gov.
  1406                                             Undated
                                                               American Society of Addiction Medicine. The ASAM Criteria for Addictive,
  1407                                              2013
                                                               Substance- Related and Co-Occurring Conditions , Third Edition, 2013.
                                                               APA Position Statement on Medical Necessity Definition, Approved by the Board
  1408                                            7/00/2015
                                                               of Trustees, July 2015.
                                                                American Psych iatric Association Practice Guideline for the Treatment of
  1409                                            10/00/2010   Patients with Major Depressive Disorder; 1993, Revised Oct 2010, Reaffirmed
                                                               Oct 2015.
                                                               World Health Organization (WHO). Mental health care law: ten basic principles
  1410                                              1996
                                                               with annotations suggesting selected actions to promote their implementation.
                                                                American Association of Communi ty Psychiatrists. LOCUS: Level qf Care
  1411                                              2009       Utilizationfor Psychiatric and Addiction Services Adult Version 2010. American
                                                               Association of Community Psychiatrists, 2009.
                                                               American Society of Addiction Medicine, The ASAM Treatment Criteria for Add
  1412                                              2013       ictive, Substance-Related, and Co-Occurring Conditions, Third Edition, 2013 22.


  1413                                                         Intentionally Left Blank
                                                               World Health Organization. International statistical classification of diseases and
  1414                                              2004       related health problems. Vol. I. World Health Organization, 2004;

  1415                                                         Intentionally Left Blank
                                                               "Mental Health Services," Department of Health and Human Services Centers for
  1416                                             Undated
                                                               Medicare and Medicaid ServicesServices
                                                               Program Memorandum Intermediaries/Carriers, Transmittal AB-03-037: Provider
                                                               Ed ucation Article: Medicare Payments for Part B Mental Health Services (CMS
  1417                                            3/28/2003
                                                               Pub. 60AB)," Department of Health and Human Services Centers for Medicare and
                                                               Medicaid Services
  1418                                                         Webpage: Continuum - The ASAM Criteria Decision Engine - About
  1419                                                         Intentionally Left Blank
                                                                “CMS Manual System Pub. 100-07 State Operations Provider Certification,
  1420                                            1/16/2015    Transmittal 131,” Department of Health and Human Services, Centers for
                                                               Medicare and Medicaid Services, January 16, 2015.
  1421                                             4/7/2017    The ASAM Criteria & CONTINUUM - The ASAM Criteria Decision Engine
                                                               McCarty et al., 2014, “Substance Abuse Intensive Outpatient Programs,”
  1422                                             6/1/2014
                                                               Psychiatric Services, Vol. 65, No. 6.
                                                               Willenbring, M. et al., 2004, “Beliefs About Evidence-Based Practices in Addiction
  1423                                            3/00/2004    Treatment: A survey of Veterans Administration Program Leaders,” Journal of
                                                               Substance Abuse Treatment, Vol. 26.
                                                               “Addiction Medicine: Closing the Gap between Science and Practice,” The
  1424                                            6/00/2012    National Center on Addiction and Substance Abuse at Columbia University, June
                                                               2012.
                                                               “Detoxification and Substance Abuse Treatment, A Treatment Improvement
  1425                                              2006       Protocol (TIP) Series, No. 45. HHS Publication No. (SMA) 134131,” Substance
                                                               Abuse and Mental Health Services Administration, Rockville, MD, 2006.
                                                               U.S. Department of Health and Human Services, CSAT’s Knowledge Application
  1426                                              2001
                                                               Program, KAP Keys for Clinicians, 2001.
                                                               U.S. Department of Health and Human Services, “National Survey of Substance
  1427                                              2015       Abuse Treatment Services (N-SSATS): 2015, Data on Substance Abuse Treatment
                                                               Facilities,” 2015.




                                                                                                                 35 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 36 of 40


                                                                 Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                              Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                    Joint Trial Exhibit List
                                                                                               October 17, 2017
Trial Ex.                                                                                                                                                       Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates   Date                                      Description                                      Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                               Evidence            Evidence
                                                         U.S. Department of Health and Human Services, “Facing Addiction in America,
  1428                                            2016
                                                         The Surgeon General’s Report on Alcohol, Drugs, and Health,” 2016.
  1429                                                   Intentionally Left Blank
  1430                                                   Intentionally Left Blank
  1431                                                   Intentionally Left Blank
  1432                                                   Intentionally Left Blank
                                                         American Academy of Child and Adolescent Psychiatry. (1997). Practice
  1433                                            1997   Parameters for the Assessment and Treatment of Children and Adolescents with
                                                         Conduct Disorder.
  1434                                                   Intentionally Left Blank
                                                         American Academy of Child and Adolescent Psychiatry. (1999). Practice
  1435                                            1999   Parameters for the Assessment and Treatment of Children. Adolescents and
                                                         Adults with Autism and Other Pervasive Developmental Disorders.
  1436                                                   Intentionally Left Blank
              UBHWIT0315278;                             American Psychiatric Association. (2000). Practice Guideline for the Treatment of
  1437                                            2000
              UBHWIT0315293                              Patients with Major Depressive Disorder
  1438                                                   Intentionally Left Blank
  1439                                                   Intentionally Left Blank
                                                         American Academy of Child and Adolescent Psychiatry. (2001). Practice
  1440                                            2001   Parameters for the Assessment and Treatment of Children and Adolescents with
                                                         Schizophrenia.
                                                         American Psychiatric Association. (2001) The Practice of Electroconvulsive
  1441                                            2001   Therapy: Recommendations for Treatment, Training, and Privileging (Third
                                                         Edition).
  1442                                                   Intentionally Left Blank
  1443                                                   Intentionally Left Blank
  1444                                                   Intentionally Left Blank
                                                         American Psychiatric Association. (2002). Practice Guideline for the Treatment of
  1445         UBHWIT0312512                      2002
                                                         Patients with Bipolar Disorder (Second Edition). Guideline Watch (2005)
  1446                                                   Intentionally Left Blank
  1447                                                   Intentionally Left Blank
                                                         American Psychiatric Association (2004). Practice Guideline for the Treatment of
  1448                                            2004   Patients with Acute Stress Disorder and Posttraumatic Stress Disorder. Guideline
                                                         Watch (2009)
                                                         American Psychiatric Association. (2004). Practice Guideline for the Treatment of
  1449                                            2004
                                                         Patients with Schizophrenia (Second Edition) Guideline Watch (2009).
                                                         Center for Substance Abuse Treatment. Clinical Guidelines for the Use of
                                                         Buprenorphine in the Treatment of Opioid Addiction. Treatment Improvement
  1450                                            2004   Protocol (TIP) Series 40. DHHS Publication No. (SMA) 04-3939.
                                                         Rockville, MD: Substance Abuse and Mental Health Services Administration,
                                                         2004.
                                                         Hales, R, Yudofsky, S. (2004). Essential of Clinical Psychiatry (Second Edition)
  1451                                            2004

  1452                                                   Intentionally Left Blank
  1453                                                   Intentionally Left Blank
                                                         American Psychiatric Association (2006). Practice Guideline for the Treatment of
  1454                                            2006   Patients with Substance Use Disorders: Alcohol, Cocaine, Opioids. Guideline
                                                         Watch (2007).
  1455                                                   Intentionally Left Blank
                                                         American Psychiatric Association. (2006). Practice guideline for the treatment of
  1456         UBHWIT0300027                      2006
                                                         patients with substance use disorders.
                                                         American Psychiatric Association. (2006). Practice guideline, Psychiatric
  1457                                            2006
                                                         evaluation of adults.
  1458                                                   Intentionally Left Blank
                                                         Canadian Psychiatric Association. (2006) Clinical Practice Guideline for the
  1459                                            2006   Management of Anxiety Disorders.

  1460                                                   Intentionally Left Blank
                                                         American Academy of Child & Adolescent Psychiatry. (2007). Practice Parameter
  1461                                            2007
                                                         for the treatment of substance abuse disorders.
  1462                                                   Intentionally Left Blank
  1463                                                   Intentionally Left Blank
  1464                                                   Intentionally Left Blank
  1465                                                   Intentionally Left Blank




                                                                                                          36 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 37 of 40


                                                                 Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                              Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                    Joint Trial Exhibit List
                                                                                               October 17, 2017
Trial Ex.                                                                                                                                                        Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates   Date                                     Description                                        Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                Evidence            Evidence
                                                         American Psychiatric Association (2007). Practice Guideline for the Treatment of
  1466                                            2007   Patients with Obsessive Compulsive Disorder

  1467                                                   Intentionally Left Blank
  1468                                                   Intentionally Left Blank
                                                         American Psychiatric Association. Guideline watch (April 2007): Practice guideline
  1469                                            2007   for the treatment of patients with substance use disorders, 2nd edition. 2007;
                                                         Arlington, VA: American Psychiatric Publishing.
                                                         Joy, C, Adams, C & Rice, K. (2007). Crisis intervention for people with severe
  1470                                            2007
                                                         mental illness.
  1471                                                   Intentionally Left Blank
  1472                                                   Intentionally Left Blank
  1473                                                   Intentionally Left Blank
  1474                                                   Intentionally Left Blank
                                                         Saddock, B , Saddock, V (2009). Comprehensive Textbook of Psychiatry
  1475                                            2009
                                                         (Seventh Edition).
  1476                                                   Intentionally Left Blank
                                                         American Association of Community Psychiatrists. Child and adolescent level of
  1477                                            2010
                                                         care utilization system (CALOCUS) 2010.
  1478                                                   Intentionally Left Blank
  1479                                                   Intentionally Left Blank
                                                         Substance Abuse and Mental Health Services Administration. (2011 ). Treatment
  1480                                            2011   improvement protocol 31, Screening and assessing adolescents for substance use
                                                         disorders.
                                                         Substance Abuse and Mental Health Services Administration. (2011 ). Treatment
  1481                                            2011   improvement protocol 35, Enhancing motivation for change in substance abuse
                                                         treatment.
                                                         Substance Abuse and Mental Health Services Administration. SAMHSA's National
  1482                                            2011   Registry of Evidence-based Programs and Practices (NREPP). Traumatic Incident
                                                         Reduction 2011.
  1483                                                   Intentionally Left Blank
                                                         Murphy S, Irving CB, Adams CE, & Driver R. Crisis intervention for people with
  1484                                            2012
                                                         severe mental illnesses. Cochrane Database Syst Rev 2012; (S):CD001087.
                                                         Substance Abuse and Mental Health Services Administration. An Introduction to
  1485                                            2012   Extended-Release Injectable Naltrexone for the Treatment of People with Opioid
                                                         Dependence. Advisory 2012; Volume 11, Issue 1.
  1486                                                   Intentionally Left Blank
                                                         Jonas DE, Cusack K, Forneris CA, Wilkins TM, Sonis J, Middleton JC, Feltner C,
                                                         Meredith D, Cavanaugh J, Brownley KA, Olmsted KR, Greenblatt A, Weil A, &
                                                         Gaynes BN. Psychological and pharmacological treatments for adults with
                                                         posttraumatic stress disorder (PTSD). Comparative Effectiveness Review No. 92.
  1487                                            2013
                                                         (Prepared by the RTI International-University of North Carolina Evidence-based
                                                         Practice Center under Contract No. 290-2007-10056-1.) AHRQ Publication No. 13-
                                                         EHC011-EF. Rockville, MD: Agency for Healthcare Research and Quality; April
                                                         2013.
  1488                                                   Intentionally Left Blank
                                                         Rizvi SL, Steffel LM, & Carson-Wong A. An overview of dialectical behavior
  1489                                            2013   therapy for professional psychologists. Professional Psychology: Research and
                                                         Practice 2013; 44(2):73-80.
                                                         Center for Substance Abuse Treatment. Medication-Assisted Treatment for Opioid
                                                         Addiction in Opioid Treatment Programs. Treatment Improvement Protocol (TIP)
  1490                                            2014   Series 43. HHS Publication No. (SMA) 12-4214. Rockville, MD: Substance Abuse
                                                         and Mental Health Services Administration, 2014 (Original Publication Printed
                                                         2005).
                                                         Centers for Medicare and Medicaid Services. (2014 ). Local coverage
  1491                                            2014
                                                         determination (L34552), Outpatient observation bed/room services.
  1492                                                   Intentionally Left Blank
                                                         Centers for Medicare and Medicaid Services. (2014). Local coverage
  1493                                            2014
                                                         determination, Psychiatric inpatient hospitalization.
                                                         Association for Ambulatory Behavioral Healthcare. (2015). Standards and
  1494                                            2015   guidelines for partial hospital programs (5th ed.). Association for Ambulatory
                                                         Behavioral Healthcare.
                                                         Centers for Medicare and Medicaid Services. (2015). Local coverage
  1495                                            2015
                                                         determination, Home health psychiatric care.




                                                                                                         37 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 38 of 40


                                                                      Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                   Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                         Joint Trial Exhibit List
                                                                                                     October 17, 2017
Trial Ex.                                                                                                                                                             Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates     Date                                         Description                                       Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                     Evidence            Evidence
                                                              Centers for Medicare and Medicaid Services. (2015). Local coverage
  1496                                              2015
                                                              determination, Psychiatric diagnostic evaluation and psychotherapy services.
                                                              Centers for Medicare and Medicaid Services. (2015). Local coverage
  1497                                              2015
                                                              determination, Psychiatric partial hospitalization program.
  1498                                                        Intentionally Left Blank
                                                              Commission on Accreditation of Rehabilitation Facilities. (2015). Behavioral
  1499                                              2015
                                                              health standards manual, Tucson, AZ: CARF International.
                                                              Management of Substance Use Disorders Work Group. VA/DOD Clinical Practice
                                                              Guideline for the Management of Substance Use Disorders, version 3.0.
  1500                                              2015
                                                              Washington, DC: Veterans Health Administration and Department of
                                                              Defense; 2015.
                                                              Substance Abuse and Mental Health Services Administration; U.S. Department of
  1501                                              2016      Health and Human Services. Medication Assisted Treatment for Opioid Use
                                                              Disorders; 42 CFR Part 8 FR 44738, July, 2016.
                                                              Centers for Medicare and Medicaid Services, Local Coverage Determination
  1502
                                                              (L34183; L33975; L33624; L34570) for Psychiatric Inpatient Hospitalization.
  1503                                                        Intentionally Left Blank
                                                              Centers for Medicare and Medicaid Services, Medicare Benefit Policy Manual,
  1504
                                                              Chapter 2, Inpatient Psychiatric Hospital Services.
                                                              Centers for Medicare and Medicaid Services. Local Coverage Determination
  1505
                                                              (LCD): Home Health - Psychiatric Care (L34561).
                                                              Centers for Medicare and Medicaid Services. Local Coverage Determination
  1506
                                                              (LCD): Psychiatric diagnostic evaluation and psychotherapy services (L33252).
                                                              Centers for Medicare and Medicaid Services. Local Coverage Determination
  1507
                                                              (LCD): Psychiatric Partial Hospitalization Programs (L33972; L34196; L33626).

                                                              Centers for Medicare and Medicaid Services. National Coverage Determination
  1508
                                                              (NCD) for Withdrawal Treatments for Narcotic Addictions (130.7)

                                                              Centers for Medicare and Medicaid Services. National Coverage Determination
  1509
                                                              (NCO) for Inpatient Hospital Stays for Treatment of Alcoholism (130.1).
                                                              MacPherson HA, Cheavens JS, & Fristad MA. Dialectical behavior therapy in
  1510
                                                              adolescents: Theory, treatment adaptations, and empirical outcomes.
                                                              Parameters for the Assessment and Treatment of Children and Adolescents with
  1511
                                                              Substance Use Disorders.
                                                              UnitedHealthcare Custodial and Skilled Care Services Coverage Determination
  1512
                                                              Guideline.
                                                              Brandt Pfeifer's Verified Responses and Objections to UBH's First Set of
  1513                                            1/11/2015
                                                              Interrogatories
                                                              Brian Muir's Verified Responses and Objections to UBH's First Set of
  1514                                            1/21/2015
                                                              Interrogatories
                                                              Cecilia Holdnak's Verified Responses and Objections to UBH's First Set of
  1515                                            1/21/2015
                                                              Interrogatories
                                                              David Wit's Verified Revised Responses and Objections to UBH's First Set of
  1516                                            2/3/2015
                                                              Interrogatories
  1517                                            1/19/2016   Plaintiffs' Consolidated Supp. Responses to Def.'s Second Set of Interrogatories
                                                              Ex. A Plaintiffs' Consolidated Supp. Responses to Def.'s Second Set of
  1518                                            1/19/2016
                                                              Interrogatories
                                                              Plaintiffs Second Consolidated Supp. Responses to Def.'s Second Set of
  1519                                            3/2/2017
                                                              Interrogatories
                                                              Ex. 1 to Plaintiffs' Second Consolidated Supp. Resp. to Def.'s Second Set of
  1520                                            3/2/2017
                                                              Interrogatories
                                                              Ex. 2 to Plaintiffs' Second Consolidated Supp. Resp. to Def.'s Second Set of
  1521                                            3/2/2017
                                                              Interrogatories
                                                              Lori Flanzraich's Verified Responses and Objections to UBH's First Set of
  1522                                            1/21/2015
                                                              Interrogatories
                                                              Natasha Wit's Verified Revised Responses and Objections to UBH's First Set of
  1523                                            3/3/2015
                                                              Interrogatories
  1524                                            8/10/2015   Corinna Klein's Responses to Defendant's First Set of Interrogatories
  1525                                            1/21/2015   David Wit's Responses and Objections to Defendant's First Set of Interrogatories

  1526                                            1/21/2015   Natasha Wit's Responses and Objections to Defendant's First Set of Interrogatories




                                                                                                               38 of 40
                                         Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 39 of 40


                                                                      Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                                   Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                                          Joint Trial Exhibit List
                                                                                                     October 17, 2017
Trial Ex.                                                                                                                                                               Date Offered Into   Date Received Into
            Beginning Bates / Range   End Bates     Date                                          Description                                        Depo. Exhibit(s)                                            Limitations on Use
  No.                                                                                                                                                                       Evidence            Evidence
  1527                                            3/9/2016    Linda Tillitt's Responses and Objections to Defendant's First Set of Interrogatories
                                                              Linda Tillitt's Revised Responses and Objections to Defendant's First Set of
  1528                                            3/9/2016
                                                              Interrogatories
                                                              Brandt Pfeifer's Amended and Supplemental Responses and Objections to
  1529                                            9/3/2015
                                                              Defendant's First Set of Interrogatories
                                                              Brian Muir's Amended and Supplemental Responses and Objections to Defendant's
  1530                                            9/3/2015
                                                              First Set of Interrogatories
                                                              Cecilia Holdnak's Amended and Supplemental Responses and Objections to
  1531                                            9/10/2015
                                                              Defendant's First Set of Interrogatories
                                                              David Wit's Amended and Supplemental Responses and Objections to Defendant's
  1532                                            9/3/2015
                                                              First Set of Interrogatories
                                                              Lori Flanzraich's Amended and Supplemental Responses and Objections to
  1533                                            9/9/2015
                                                              Defendant's First Set of Interrogatories
                                                              Natasha Wit's Amended and Supplemental Responses and Objection to Defendant's
  1534                                            9/3/2015
                                                              First Set of Interrogatories
  1535        UBHWIT0015451                                   Plan -659
  1536        UBHWIT0015579                                   Plan -659
  1537        UBHWIT0015451                                   Plan -659
  1538        UBHWIT0031103                                   Plan- 828
  1539        UBHWIT0018744                                   Plan- 986
  1540        UBWHIT00222082                                  Plan- 1010
  1541        UBHWIT0031705                                   Plan- 1027
  1542        UBHWIT0032847                                   Plan- 1060
  1543        UBHWIT0033193                                   Plan -1060
  1544        UBHWIT0021115                                   Plan-1655
  1545        UBHWIT0034142                                   Plan -2427
  1546        UBHWIT0033362                                   Plan -2427
  1547        UBHWIT0035573                                   Plan -3262
  1548        UBHWIT00153839                                  Plan -3435
  1549        UBHWIT0034513                                   Plan -3703
  1550        UBHWIT0018297                                   Plan -3867
  1551        UBHWIT0018970                                   Plan -4176
  1552        UBHWIT0019146                                   Plan -4176
  1553        UBHWIT0016388                                   Plan -5117
  1554        UBHWIT0031041                                   Plan -5618
  1555         UBHWIt0018403                                  Plan -6032
  1556        UBHWIT0032299                                   Plan -6355
  1557        UBHWIT0032709                                   Plan -6600
  1558         UBHWIt0021374                                  Plan -6943
  1559        UBHWIT0031899                                   Plan -8179
  1560        UBHWIT0024663                                   Plan -8301
  1561        UBHWIT0023679                                   Plan -8355
  1562        UBHWIT0030083                                   Plan -8617
  1563        UBHWIT0036546                                   Plan -8697
  1564        UBHWIT0036702                                   Plan -8697
  1565        UBHWIT0020577                                   Plan -8873
  1566        UBHWIT0022366                                   Plan -8891
  1567        UBHWIT0039982                                   Plan -8895
  1568        UBHWIT0025410                                   Plan -8963
  1569        UBHWIT0015341                                   Plan -8988
  1570        UBHWIT0039358                                   Plan -9011
  1571        UBHWIT0046130                                   Plan -10769
  1572        UBHWIT0037286                                   Plan -10922
  1573        UBHWIT0017835                                   Plan -11164
  1574        UBHWIT0042869                                   Plan -11251
  1575        UBHWIT0038323                                   Plan -11276
  1576        UBHWIT0041249                                   Plan -11582
  1577        UHBWIT0070230                                   Plan -12102
  1578        UBHWIT0040975                                   Plan -12310
  1579        UBHWIT0023075                                   Plan -12446
  1580        UBHWIT0023375                                   Plan -12446
  1581        UBHWIT0022312                                   Plan -12533
  1582        UBHWIT0040269                                   Plan -12562
  1583        UBHWIT0019960                                   Plan -12605
  1584        UBHWIT0038771                                   Plan -12649
  1585        UBWHIT0042022                                   Plan -13042




                                                                                                                39 of 40
                                          Case 3:14-cv-02346-JCS Document 359 Filed 10/17/17 Page 40 of 40


                                                                 Wit, et al. v. United Behavioral Health , No. 14-cv-02346-JCS
                                                              Alexander, et al. v. United Behavioral Health , No. 14-cv-05337-JCS
                                                                             Joint Trial Exhibit List
                                                                                      October 17, 2017
Trial Ex.                                                                                                                                  Date Offered Into   Date Received Into
             Beginning Bates / Range   End Bates   Date                            Description                          Depo. Exhibit(s)                                            Limitations on Use
   No.                                                                                                                                         Evidence            Evidence
  1586         UBHWIT0045789                              Plan -13292
  1587         UBHWIT0064381                              Plan -13949
  1588         UBHWIT0032013                              Plan -14568
  1589         UBHWIT0041704                              Plan -15332
  1590      UBHALEXANDER0013045                           Plan -187
  1591      UBHALEXANDER0018235                           Plan -388
  1592      UBHALEXANDER0024579                           Plan -1252
  1593      UBHALEXANDER0034360                           Plan -1535
  1594      UBHALEXANDER0005562                           Plan -1568
  1595      UBHALEXANDER0012709                           Plan -1584
  1596      UBHALEXANDER003767                            Plan -1758
  1597      UBHALEXANDER0007725                           Plan -1870
  1598      UBHALEXANDER0011993                           Plan -2331
  1599      UBHALEXANDER0016515                           Plan -2607
  1600      UBHALEXANDER0010170                           Plan -2883
  1601      UBHALEXANDER0034717                           Plan -2928
  1602      UBHALEXANDER003840                            Plan -3034
  1603      UBHALEXANDER0006336                           Plan -3038
  1604      UBHALEXANDER0010637                           Plan -3039
  1605      UBHALEXANDER0020413                           Plan -3197
  1606      UBHALEXANDER0015898                           Plan -3265
  1607      UBHALEXANDER0016238                           Plan -3299
  1608      UBHALEXANDER0025812                           Plan -3501
  1609      UBHALEXANDER0022766                           Plan -3661
  1610      UBHALEXANDER0011503                           Plan -3739
  1611      UBHALEXANDER0017279                           Plan -3895
  1612      UBHALEXANDER0002854                           Plan -3958
  1613      UBHALEXANDER0031176                           Plan -4013
  1614      UBHALEXANDER0026593                           Plan -4076
  1615      UBHALEXANDER0024439                           Plan -4141
  1616      UBHALEXANDER0008291                           Plan -4263
  1617      UBHALEXANDER0005083                           Plan -4463
  1618      UBHALEXANDER0004721                           Plan -4463
  1619      UBHALEXANDER0024623                           Plan -4723
  1620      UBHALEXANDER0027184                           Plan -4854
  1621      UBHALEXANDER0003090                           Plan -5031
  1622      UBHALEXANDER0004539                           Plan -5058
  1623      UBHALEXANDER0012406                           Plan -5165
  1624      UBHALEXANDER0003154                           Plan -5282
  1625      UBHALEXANDER0009118                           Plan -5927
  1626      UBHALEXANDER0012305                           Plan -5956
  1627      UBHALEXANDER0022135                           Plan -6003
  1628      UBHALEXANDER0020118                           Plan -6098
  1629      UBHALEXANDER0009890                           Plan -6215
  1630      UBHALEXANDER0002944                           Plan -6254
  1631      UBHALEXANDER0030062                           Plan -6326
  1632      UBHALEXANDER0028435                           Plan -6329
  1633      UBHALEXANDER0034082                           Plan -7292
  1634      UBHALEXANDER0021695                           Plan -7787
  1635      UBHALEXANDER0017978                           Plan -8242
  1636      UBHALEXANDER0019202                           Plan -8357
  1637      UBHALEXANDER0015595                           Plan -8489
  1638      UBHALEXANDER0029554                           Plan -8623
  1639      UBHALEXANDER0015158                           Plan -8878
  1640      UBHALEXANDER0019007                           Plan -9294
  1641      UBHALEXANDER0028759                           Plan -9836
  1642      UBHALEXANDER0014293                           Plan -10477
  1643      UBHALEXANDER0027778                           Plan -10533
  1644      UBHALEXANDER0026935                           Plan -10756
  1645      UBHALEXANDER0013889                           Plan -10939
  1646      UBHALEXANDER0019192                           Plan -11000
  1647      UBHALEXANDER0035732                           Plan -12342
  1648      UBHALEXANDER0016914                           Plan -12404
  1649      UBHALEXANDER0017027                           Plan -12404
  1650      UBHALEXANDER0028903                           Plan -12944
  1651      UBHALEXANDER0026742                           Plan -13025




                                                                                                 40 of 40
